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                    IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF KANSAS

MIGUEL COCA and                        )
ALEJANDRO RANGEL-LOPEZ,                )
                                       )
                    Plaintiffs,        )     Case No. 6:22-cv-01274-EFM-RES
                                       )
vs.                                    )
                                       )
CITY OF DODGE CITY,                    )
                                       )
                    Defendant.         )
                                       )


                        DODGE CITY’S RESPONSE TO
      PLAINTIFFS’ PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW
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                                        INTRODUCTION

       Plaintiffs have not met their burden to establish that the at-large voting system in place in

Dodge City violates section 2 of the Voting Rights Act. Plaintiffs did not show that the three-factor

test set forth in Gingles v. Thornberg, 478 U.S. 30 (1986), is met. Second, Plaintiffs have failed to

establish a violation based on the totality of the circumstances. There is no discernible structural

impediment to Latino success at the polls.

       The Latino community in Dodge City is large, vibrant, and fully integrated into the

community. It is a plurality of the Citizen Voting Age Population (“CVAP”), and there is no

evidence that it does not have “equality of opportunity” to elect minority candidates of its choice.

       Gingles II and III require Plaintiffs to establish that Latinos are “politically cohesive” and

that the White majority votes sufficiently as a bloc to enable it to usually defeat the minority

preferred candidate. Plaintiffs did not establish these elements. Moreover, Whites no longer

constitute the majority of the CVAP, and Latinos are no longer the minority of the CVAP. As

shown at trial, there is very little data to determine racially-polarized voting and voter cohesion in

this case. Dodge City is a small community. There are few voters. There are only eight precincts.

Vote totals in those precincts are small, and the margins between the first-place vote-getter in those

precincts and the fourth-place vote-getter in City Commission elections is frequently statistically

insignificant. Moreover, each voter has the opportunity to vote for multiple candidates.

       As accurately stated by Dr. Katz, the fundamental problem here with regard to Gingles II

and III is that we do not have enough “data points.” Trial Tr. Vol. IV at 151:8-16. The data points

“are actually the individual precincts. So you only have eight precincts in the elections . . . for the

City [Commission, which means that] you have eight data points to identify somewhere on the

order of 12 to 21 parameters, that is 12 to 21 candidate vote shares, by group.” Id. Accordingly,



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we “have less data than [we] have parameters that [we are] interested in estimating. Id. at 151:17-

152:1. This problem is magnified by the fact that there “are no homogenous precincts. Not even

close to homogenous.” Id. at 152:19-153:15. Plus, City Commission voters are free to cast one,

two, or three votes. See id. at 155:3-10. “What that means is, the identification, that is the point

estimates that I get, are coming purely from the strong assumption of constancy,” which “no one

believes is true,” id. at 152:16-18, “and that the model is linear,” id. at 151:17-152:1. Put simply,

“the lack of data [in this case] means there are lots of statistical uncertainty.” Id. at 152:19-153:15.

As a result, “[w]e just don’t know how Latinos or Whites voted in particular elections. We do not

see clear winners of which candidate is the preferred candidate of any group. So it’s more about

the level of statistical uncertainty. We just don’t know.” Id. at 158:18-159:6.

        Dr. Barreto acknowledges the challenges of his task in a circumstance like this with little

data, stating: “Even though we have few precincts, that’s all we have. We can’t double or triple

the precincts here. We just try to do the best we can with the data and draw a conclusion.” Trial

Tr. Vol. II at 173:14-174:3. Despite this acknowledgement, though, Dr. Barreto claims that “the

level of the uncertainty in [his] conclusions is none.” Id. at 147:14-20. As Dr. Katz noted, and

should be obvious, without a “presentation of measured statistical uncertainty,” which is the case

for all of Dr. Barreto’s analysis, “you can’t make such a claim.” Trial Tr. Vol. IV at 160:8-13.

        In short, Plaintiffs have not put forward reliable data with regard Gingles II and III.

Moreover, even if one accepts the vote percentages that Dr. Barreto includes in his tables, those

vote totals do not demonstrate either that Latinos are politically cohesive in their votes for City

Commission or that the White majority votes sufficiently as a bloc to enable it to usually defeat

Latino-preferred candidates.




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        In reviewing the analysis of Dr. Barreto, the Court can and should weigh that this case

arises out of a “class project” in one of Dr. Barreto’s classes at UCLA, that the organization that

Dr. Barreto co-founded—the UCLA Voting Rights Project—is representing Plaintiffs in this case,

and that the Voting Rights Project attorneys will seek a recovery of attorneys’ fees if they prevail.

Thus, Dr. Barreto has a vested interest in the success of Plaintiffs’ case—evident by the fact that

he is the only witness on the Plaintiffs’ side (expert or otherwise) that was present throughout the

entire trial and served as the Plaintiffs’ rebuttal witness at the conclusion of the evidence. The

named Plaintiffs were similarly not present throughout the trial. Dr. Barreto’s involvement in this

case goes well beyond that of a disinterested expert and is a fair consideration for the Court. Dr.

Barreto’s role, coupled with all the other identified shortcomings in his analysis, militates strongly

in favor of discounting entirely his testimony, which was the only statistical testimony Plaintiffs

produced on Gingles II and III, as well as the “performance analysis” of the proposed maps put

forth for Gingles I.

        Contrary to the Plaintiffs’ argument, Dodge City is not “unresponsive to the interest and

needs of its Latino constituents.” The overwhelming weight of the evidence in this case is that

Latinos are welcome in the community, are active in political parties, community groups and

organizations, and that a large percentage of downtown business owners as well as union leaders

are Latino. The National League of Cities just recognized Dodge City as a finalist for its cultural

diversity award, and the City’s efforts to be welcoming to the immigrant community–and Latinos

specifically–are unmatched in Kansas and have been the model for other diverse cities throughout

Kansas. In other words, Dodge City is nothing like how Plaintiffs’ counsel and experts perceive

it. In light of this, and Plaintiffs’ failure to show a section 2 violation, judgement should be entered

in the City’s favor.



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              RESPONSE TO PLAINTIFFS’ PROPOSED FINDINGS OF FACT

        The Court has heard the evidence and has had the opportunity to weigh it. Accordingly,

this is unlike a summary judgment motion, and Dodge City does not respond individually to each

of Plaintiffs’ proposed findings of fact. With that said, Dodge City does address a number of

Plaintiffs’ proposed factual findings below. As certain of Plaintiffs’ proposed findings share

common deficiencies, Dodge City groups them together and sets forth the deficiencies that are

common to that particular group. 1

        RPFoF ¶ 12: This finding omits that Dr. Barreto formed the UCLA Voting Rights Project

with Mr. Chad Dunn and that Mr. Dunn and the UCLA Voting Rights Project are counsel for

Plaintiffs. See DFoF ¶ 239. Additionally, this finding omits that Plaintiff Rangel-Lopez met with

Michael Rios, the “lead data scientist” for the UCLA Voting Rights Project and someone who Dr.

Barreto “work[s] very closely with in 2021 to discuss voting-related issues in Dodge City. DFoF

¶ 241. During this meeting, Mr. Rios indicated to Plaintiff Rangel-Lopez that, “from just a glance

at Dodge City, you know, that there [i]s potential for a lawsuit there.” Id.

        RPFoF ¶ 13: This finding omits that Dr. Barreto has published at least four academic

papers with Dr. Oskooii. DFoF ¶ 192. Additionally, this finding omits that Dr. Barreto has

published at least ten academic papers with Dr. Loren Collingwood, see Pls.’ Ex. 111 at 2-6, who

is also a former student of Dr. Barreto’s, id. at 14, as well as co-developer, along with Dr. Oskooii,

of the EI software that Dr. Barreto used in this case and others, see Trial Tr. Vol II at 89:4-7. The

article that Plaintiffs rely upon in an attempt to impeach Dr. Kim Nelson’s testimony regarding the




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        References to “PFoF” in this document are to the corresponding proposed findings of fact in Plaintiffs’
Proposed Findings of Fact & Conclusions of Law, CM/ECF Doc. 211. References to “DFoF” are to the corresponding
proposed findings of fact in Dodge City’s Proposed Findings of Fact & Conclusions of Law, CM/ECF Doc. 212.
References to “RDFoF” are to Dodge City’s responses to those PFoF’s that it controverts.

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efficacy of switching to district-based elections, see PFoF ¶ 252, is one that Dr. Collingwood

drafted, see Trial Tr. Vol. IV at 57:14-61:3.

       RPFoF ¶ 15-16: These findings are irrelevant to Dr. Barreto’s reliability or credibility in

this case. Dodge City would note that the one Kansas case that Plaintiffs do cite, Fish v. Kobach,

309 F. Supp. 3d 1048 (D. Kan. 2018), was not a section 2 case and thus he did not offer any

testimony related to Gingles. Furthermore, while Dr. Barreto has been found reliable and credible

by some courts, other courts, including this one, have found his analysis to be unreliable. For

instance, with regard to Dr. Barreto’s homogenous precinct analysis, this Court found it to be

“unreliable” and “would not assist the trier of fact because it is based on insufficient facts and

data.” CM/ECF Doc. 158 at 8. Approximately one month after this Court made that finding, the

Eastern District of North Carolina reached a similar conclusion, but instead of limiting its critique

to just one of Dr. Barreto’s analyses, it found that “all of [his] conclusions” were “undercut” by

the manner in which he performed his analysis. Pierce v. North Carolina State Board of Elections,

--- F. Supp. 3d ----, 2024 WL 307643, at *19 (E.D.N.C. Jan. 26, 2024), aff’d, --- F.4th ----, 2024

WL 1321267 (4th Cir. Mar. 28, 2024).

       RPFoF ¶ 18: For the reasons stated in DFoF ¶¶ 201-37, Dr. Barreto’s analysis, opinions,

and testimony are not “largely uncontested,” and such conclusions are not entitled to any weight.

As Dr. Jonathan Katz alluded to, Dr. Barreto’s work in this case is not consistent with the standard

in the field, and Dr. Barreto’s utter disregard for any “measure or discussion of statistical

uncertainty in his report” is “[m]ost problematic.” Trial Tr. Vol. IV at 160:1-7.

       RPFoF ¶ 20: This finding omits that Dr. Barreto was Dr. Oskooii’s dissertation advisor

and the two have maintained a long-standing relationship, DFoF ¶ 192, which has included, among

other things, the two co-authoring at least four academic papers together, id.; Trial Tr. Vol. III at



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29:24-30:17, co-developing the “eiCompare package” that Dr. Barreto used in this case, see Trial

Tr. Vol. II at 89:4-7, and the two being retained in the majority of cases that Dr. Oskooii has served

as an expert in and actually co-authoring expert reports in two of the cases, see id. at 25:3-26:13.

       RPFoF ¶ 23: This finding is irrelevant to Dr. Oskooii’s reliability or credibility in this

case. This finding omits that Dr. Oskooii advised the State of Maryland on a Congressional Map

that was ultimately adopted by the State and later found to be an “extreme gerrymander.” Trial Tr.

Vol. III at 43:3-45:3. Additionally, it omits that, while it appears that a Washington court did finally

approve a revised remedial map that Dr. Oskooii put forward in a case where a section 2 violation

had already been found, see PFoF ¶ 24; see also Trial Tr. Vol. III at 12:16-17:6, prior to this case,

Dr. Oskooii had never been qualified as a testifying expert for purposes of Gingles I. See Trial Tr.

Vol. II at 227:1-11; see also Trial Tr. Vol. III at 20:17-24:23. Thus, while it is true, as Dr. Oskooii

says, that “no one has rejected [his mapping] opinions,” id. at 17:7-13, it is equally true that “no

Court[ has] ever accepted his demonstrative . . . maps” because, prior to this case, he had never

produced any, id. at 17:14:17.

       RPFoF ¶ 24: The district court’s holding in Soto Palmer v. Hobbs, No. 3:22-cv-05035,

2024 WL 1138939 (W.D. Wash. Mar. 15, 2024), is irrelevant to Dr. Oskooii’s reliability or

credibility in this case. This finding omits that the UCLA Voting Rights Project and Ms. Sonni

Waknin are also counsel in Soto Palmer. Trial Tr. Vol. III at 12:8-15. Additionally, the “remedial

map” that was ultimately approved was part of a set of proposed “remedial maps” that Dr. Oskooii

had to revise because they double-bunked incumbents, which remedial maps should not do. Id. at

13:10-14:15. Although Dr. Oskooii initially contested that the Yakima Nation objected to his

revised “remedial maps,” he later admitted that the Nation had indicated that his “remedial maps”

did respect its various “communit[ies] of interest.” Id. at 14:16-16:12.



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         RPFoF ¶ 25: Dr. Oskooii’s prior testimony on racially polarized voting is irrelevant

because Dr. Oskooii did not opine on racially polarized voting in this case for the purpose of

Gingles factors II or III. See Trial Tr. Vol. II at 228:18-229:1; see also PFoF ¶ 120 (“Plaintiffs

presented testimony regarding Gingles II and III through their witness, Dr. Matthew Barreto.”).

Regardless, it further omits that Dr. Oskooii has given the State of Maryland advice on racially

polarized voting that led to maps that were rejected as an unconstitutional gerrymander. See RPFoF

¶ 23.

         RPFoF ¶ 26: Dr. Oskooii’s testimony did not establish that Gingles I was met. See DFoF

¶¶ 175-200.

         RPFoF ¶¶ 27-28: For the reasons stated in DFoF ¶¶ 175-200, Dr. Oskooii’s maps do not

satisfy Gingles I, and the Court should not accept Dr. Oskooii’s testimony.

         RPFoF ¶¶ 31-34: It is uncontroverted that Dr. Bejarano has taught courses on Latinos. It

is controverted, though, that beyond general trends that she has observed through her review of

the subject, she knows anything specific about how Dodge City generally operates or Latinos’

involvement in political life in that community, as she has never been to Dodge City, including

when she lived and taught in Kansas for 12 years, Trial Tr. Vol. I at 139:23-140:1, she has never

spoken to anyone working for the City about how it operates, id. at 139:1-22, she does not “know

what an election campaign in Dodge City typically looks like,” id. at 163:10-12, she did not review

what role, if any, Latinos play “in the types of community organizations that sometimes can be

influential in local elections,” id. at 163:13-19, she is “[un]aware of any barriers to Latinos filing

to run for City Commission in Dodge City,” id. at 163:20-22, she is unaware whether Dodge

Citians can vote by absentee ballot and that the City will drive residents to the polling location, id.

at 164:15-24, she does not know what the specific turnout rate is for Latinos in on-cycle elections



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or off-cycle elections, id. at 171:11-15, she did not analyze how many Latino “candidates [have]

placed their name on the ballot in Dodge City,” id. at 172:19-23, and she performed no analysis

regarding the likelihood that Latinos or so-called Latino preferred candidates would perform better

if Dodge City moved from at-large elections to district-based elections, id. at 162:10-15. As

discussed throughout this Response, as well as Dodge City’s proposed findings and conclusions,

there is substantial testimony from witnesses who actually live, work, and serve in Dodge City,

such as Rick Sowers, Nick Hernandez, Melissa McCoy, Ernestor De La Rosa, David Rebein,

Cherise Tieben, Fernando Jurado, and Sharon Seibel-Robb, that rebut the application of Dr.

Bejarano’s general trends.

       RPFoF ¶¶ 35-36: Dr. Bejarano was not a credible or reliable witness. For example: (1)

Dr. Bejarano refused to answer basic questions because she believed they were unclear, see Trial

Tr. Vol. I at 158:2-160:7; see also Trial Tr. Vol. III at 201:9-11 (noting the Court was “troubled

by [Dr. Bejarano’s] obstinate refusal to answer questions on the pretense that they were unclear”);

(2) Dr. Bejarano would not make a determination whether Joe Nuci was Latino, Trial Tr. Vol. I at

172:24-173:7, even though Mr. Nuci has self-identified as Latino, Trial Tr. Vol. III at 236:4-10;

(3) her opinions are based largely on her general understanding of Latinos, as opposed to a local

assessment of Latinos in Dodge City, RPFoF ¶¶ 31-34; and (4) the NALEO tables that Dr.

Bejarano “rel[ied] pretty heavily on,” DFoF ¶ 60, did not include any of the three Latinos that had

served on the Commission over the past 25 years, see Trial Tr. Vol. I at 172:24-173:11 & 81:2-15;

Pls. Ex. 55. Regarding example 4, while Dr. Bejarano added parentheticals in Plaintiffs’ Exhibit

55 to note that Fernando Jurado and Blanco Soto had served on the Commission, she refused to

add Joe Nuci to Exhibit 55 of her Expert Report, opting instead to relegate him to a footnote (which




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is not included on Plaintiffs’ Exhibit 55) because “there was some confusion and debate possibly

over whether [Mr. Nuci’s] self-identification was acknowledged by everybody.” DFoF ¶ 60 & n.1.

       RPFoF ¶¶ 41-43: Dr. Martinez was not a reliable or credible witness. As the Court noted,

Dr. Martinez “had very little to say about Dodge City in the last 50 years.” Trial Tr. Vol. V at

11:24-12:2. Nor did Dr. Martinez give the Court any reason to infer that Dr. Martinez’s testimony

has any bearing on Dodge City specifically. Rather, Dr. Martinez admitted that he did not find any

evidence of official discrimination in Dodge City that post-dates the Civil Rights Act or any

discrimination that could possibly have any connection to the present -ay Latino population in

Dodge City. See DFoF ¶ 93.

       RPFoF ¶ 50: Dodge City does not have a clear north-south divide between its White and

Latino populations. As testified to by lifetime Dodge City resident and former Dodge City

Manager, Cherise Tieben, Latinos do not primarily live “south of Comanche Street,” but, rather,

live “[a]ll over the community.” Trial Tr. Vol. III at 242:6-243:6. Ms. Tieben is uniquely qualified

to testify about Dodge City housing and the inhabitants that fill those homes as, starting in the mid-

2000s, she spent approximately 10 years addressing various housing issues in Dodge City. Id.

242:24-243:14. Plaintiffs’ only evidence to the contrary is Dr. Barreto’s “Heat Map,” Pls.’ Ex.

115, which is incomplete and misleading and deserves no weight. Dr. Barreto admitted that he

chose the colors green and red specifically to show “high contrast,” Trial Tr. Vol. II at 119:14-25,

and the “Heat Map” does not include the actual percentages of Whites and Latinos in any given

neighborhood, see id. Rather, Dr. Barreto’s “Heat Map” is designed to show neighborhoods as

effectively segregated from one another even if the neighborhoods are highly integrated. For

instance, even if Whites only comprise 50% plus one of the population and Latinos comprise 50%

minus one, the area is still shaded red. See id. at 122:13-23. This appears to have occurred



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frequently, as much of the “Heat Map” is a dull red or green. See Pls.’ Ex. 115. Further

compounding the problem is that the “Heat Map” is based on nearly 10-year old data derived from

the 2015 American Community Survey regarding total population. Id. at 123:14-16. Additionally,

Dr. Barreto’s “Heat Map” does not reflect the actual number of people that live in any given

neighborhood, allowing the “Heat Map” to show that substantial areas like the Boot Hill Casino

or the land around Dodge City’s wastewater treatment plant are majority white when virtually no

one lives there. See id.; see also Trial Tr. Vol. II at 118:13-16; id. at 119:6-13; id. at 120:1-6; id.

at 125:22-126:2.

       RPFoF ¶ 51: The record does not support this fact. The cited transcript section merely

says what PFoF ¶ 52 says—namely, that 34% of registered voters live below Comanche Street.

Other than the “Heat Map,” which, as set forth in RPFoF ¶ 50, is incomplete and misleading, and

does not actually include voting-related numbers, such as CVAP or registered voters, but, rather,

is simply based on total population, see Trial Tr. Vol. II at 123:14-16, there is nothing in the record

reflecting what percentage of the registered voters in Dodge City are Latino. The closest Plaintiffs

get to producing any numbers regarding Latino registration in Dodge City is Dr. Bejarano’s Table

9, Pls.’ Ex. 53. However, as Dr. Bejarano stated at trial, these numbers are not Dodge City specific,

but rather are statewide numbers for the State of Kansas. Trial Tr. Vol. I at 170:22-171:15. Thus,

the record does not permit a conclusion to be drawn regarding what the registration rate of Latinos

is in Dodge City.

       RPFoF ¶ 52: The citation for this fact does not support the assertion that “South Dodge”

has “a high density of Latinos”—whatever that may mean. The citation for this fact merely says

that 34% of registered voters in Dodge City live south of Comanche. Nothing in the record assigns

a percentage to how many Latinos live in “South Dodge.” Plaintiffs offered only two exhibits that



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could even arguably be viewed as addressesing this issue: Dr. Barreto’s “Heat Map” and Pls.’ Ex

114. As mentioned above in RPFoF ¶ 50, Dr. Barreto’s “Heat Map” is incomplete and misleading.

As for Pls.’ Ex. 114, it does not actually provide Census Block Group information for the entire

City; no, it is a cherry-picked list of those Census Block Groups, “the smallest unit of census

geography,” Feldman v. Ariz. Secr. of State’s Office, 2016 WL 5900127, at *4 (D. Ariz. Oct. 11,

2016), that Plaintiffs believe have the starkest demographic differences. The population in Pls.’

Ex. 114, which is just total population, is just a fraction of Dodge City’s population (roughly 20%,

as the cited Census Block Groups account for just 5,720 people). Accordingly, we cannot

reasonably infer from an incomplete table like Pls.’ Ex. 114 how dense the Latino population is in

“South Dodge.” Rather, Pls.’ Ex. 114 merely permits us to say what percentage of Dodge City

Latinos live in the 6 Census Block Groups that Plaintiffs chose and no one has testified is

representative of the whole City. As noted by lifelong Dodge Citian, and former City Manager

Cherise Tieben, who has spent years working on housing issues in Dodge City, Latinos do not live

“primarily south of Comanche Street”—they live “[a]ll over the community.” Trial Tr. Vol. III at

242:6-244:2.

       RPFoF ¶ 53: The citation for this fact does not support the assertion that “North Dodge”

is a “a high density non-Hispanic white area”—whatever that may mean. For essentially the same

reasons that we do not know how dense the Latino population is in “South Dodge,” we do not

know how dense the “non-Hispanic white” population is in “North Dodge.” See RPFoF ¶ 52.

       RPFoF ¶ 54: This fact is not supported by the record. First, the transcript citation says

nothing about “odd-numbered years elections years,” as Dr. Barreto was testifying just about “the

November 2022 general election.” Trial Tr. Vol. II at 85:10-13. Second, this fact’s assertion that

Latino “voter turnout is extremely low” is based on Dr. Barreto’s “estimate[] that Latinos



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accounted for 30 percent of all voters on Dodge City [sic], while Whites accounted for 64 percent

of all voters in Dodge City.” Id. at 85:5-9. Dr. Barreto did not provide the basis for his “estimate”

at trial, but, based on his testimony, see id. at 84:20-85:9 (indicating that Dr. Barreto’s 64/30 voter

turnout “estimate” came from the same paragraph in his expert report as the 66/34 North/South

divide), it appears that the former was derived from the latter. As set forth in RPFoF ¶¶ 53 and 54,

since we do not know what percentage of the 34% of registered voters in “South Dodge” are Latino

and what percentage of the 66% of registered voters in “North Dodge” are “non-Hispanic white,”

we cannot extrapolate out what percentage voted in the 2022 general election.

       RPFoF ¶ 55: This fact is not supported by the record. The record does not establish that

Latinos accounted for just 30% of actual Dodge City voters in the 2022 election, or, conversely,

that 64% of actual Dodge City voters in that same election were White. These are merely Dr.

Barreto’s “estimates,” which, as discussed in RPFoF ¶ 54 are based on a faulty premise.

       RPFoF ¶ 56: Dr. Barreto did not establish a “stark divide” between the North and South

side of Comanche Street, and the testimony does not support the assertion. See RPFoF ¶ 50.

       RPFoF ¶¶ 57-60: These facts are based on Dr. Barreto’s “Heat Map,” which, as set forth

in RPFoF ¶ 50, should not be credited because it is incomplete and misleading, as well as Pls.’ Ex.

114, which, as set forth in RPFoF ¶ 52, is incomplete and does not reflect citywide numbers, but

rather only those Census Block Groups—the smallest Census geographical area—that Plaintiffs

believe show the starkest demographic differences in the entire City. Thus, the misleading “Heat

Map” and limited Census Block Group information in this case, which accounts for roughly only

20% of the City’s total population, do not prove the north/south divide that PFoF ¶¶ 57-60 attempt

to show.




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         RPFoF ¶¶ 62-118: For the reasons stated in DFoF ¶¶ 175-200, Dodge City opposes

Plaintiffs’ factual findings supporting Gingles I.

         RPFoF ¶ 121: Dr. Barreto did not demonstrate that Latino voters in Dodge City are

cohesive or that White voters in Dodge City vote as a bloc to usually defeat Latino-preferred

candidates. See DFoF ¶¶ 213-37.

         RPFoF ¶ 122: This fact asserts an erroneous legal conclusion. As set forth in Dodge City’s

proposed findings and conclusions, courts have established thresholds for determining whether a

population is sufficiently cohesive. See CM/ECF Doc. 212 at 82 (collecting cases). 2 While there

may be cases in which it is a close call whether cohesion exists, this is not such a case, where the

“point estimates” are closely grouped and the confidence intervals for these “estimates” not only

overlap but, with regard to the confidence intervals for White voters, falls completely within the

confidence interval for Latino voters with only one minor exception. 3 See, e.g., DFoF ¶¶ 229-30.

         RPFoF ¶¶ 124-25: King’s EI is not an appropriate tool for multi-candidate elections like

the Dodge City Commission elections. See Def’s FoF ¶¶ 206-12, 226-228. Moreover, there is

simply not enough data to draw reliable conclusions from an ecological inference analysis. As

accurately stated by Dr. Katz, the problem here with regard to Gingles II and III is that we do not

have enough “data points.” Trial Tr. Vol. IV at 151:8-16. The data points “are actually the

individual precincts. So you only have eight precincts in the elections . . . for the City Council[,

which means that] you have eight data points to identify somewhere on the order of 12 to 21



2
          For citations to Dodge City’s proposed conclusions of law, CM/ECF Doc. 212, the pincite is to the page
number listed in the document’s CM/ECF timestamp, as opposed to the page number in the document’s footer. There
is a difference between the two because the former includes the document’s table of contents, while the latter does
not. There is no difference between the two in Plaintiffs’ proposed findings and conclusions.
3
          The one exception occurred in 2017 and regarded Liliana Zuniga, the candidate who did not actually
campaign that year. DFoF ¶ 63. For Ms. Zuniga, the confidence interval for White voters fell outside of the confidence
interval for Latino voters by .9% on the left boundary. Def.’s Ex. 465 at 4.

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parameters, that is 12 to 21 candidate vote shares, by group.” Id. Accordingly, we “have less data

than [we] have parameters that [we are] interested in estimating. Id. at 151:17-152:1. This problem

is magnified by the fact that there “are no homogenous precincts. Not even close to homogenous.”

Id. at 152:19-153:15. Plus, City Commission voters are free to cast one, two, or three votes. See

id. at 155:3-10. “What that means is, the identification, that is the point estimates that I get, are

coming purely from the strong assumption of constancy,” which “no one believes is true,” id. at

152:16-18, “and that the model is linear.” Id. at 151:17-152:1. Put simply, “the lack of data [in this

case] means there are lots of statistical uncertainty.” Id. at 152:19-153:15. As a result, “[w]e just

don’t know how Latinos or Whites voted in particular elections. We do not see clear winners of

which candidate is the preferred candidate of any group. So it’s more about the level of statistical

uncertainty. We just don’t know.” Id. at 158:18-159:6.

       RPFoF ¶ 126: “Point estimates” tell us nothing here because there is insufficient data, they

are closely grouped, and the confidence intervals for these “estimates” do not merely overlap at

the tails, but, with regard to the confidence intervals for White voters, fall completely within the

confidence interval for Latino voters with only one exception. See DFoF ¶¶ 217-222, 229, 230.

Tellingly, Dr. Barreto did not include confidence intervals for any of his analysis, despite that

being the standard in the field. DFoF ¶ 223; see also Mo. State Conf. of the N.A.A.C.P. v. Ferguson-

Florissant Sch. Dist., 201 F. Supp. 3d 1006, 1042 (E.D. Mo. 2016) (“A statistical estimate with a

95% degree of confidence employs the level of statistical certainty that is consistent with generally

accepted standards for EI in the field of political science, and is consistent with peer-review

standards for research in that field.”), aff’d, 894 F.3d 924 (8th Cir. 2018); Benavidez v. Irving

Indep. Sch. Dist., 2014 WL 4055366, at *11 n. 20 (N.D. Tex. Aug. 15, 2014) (“It is standard in the

area of political science for confidence intervals to be set at 95%.”); Fabela v. City of Farmers



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Branch, Tex., 2012 WL 3135545, at *10 (N.D. Tex. Aug. 2, 2012) (“According to Dr. Engstrom,

it is standard in the area of political science for confidence intervals to be set at 95%.”).

       RPFoF ¶ 127: Dr. Barreto’s “point estimates” do not demonstrate with statistical or legal

certainty the support that candidates received from White and Latino voters in Dodge City. The

“point estimates” represent a possible likely outcome, which, for the reasons discussed in RPFoF

¶¶ 124-26, are of little probative value here.

       RPFoF ¶¶ 128-135: The value of Bayesian Improved Surname Geocoding (“BISG”) is

limited to determining the probability of a voter’s race. See DFoF ¶¶ 224-25. It merely improves

the inputs into Dr. Barreto’s calculations by purportedly making Dr. Barreto better able to unmask

the racial identity of Dodge City voters and to purportedly estimate, through his EI analysis, how

much of the electorate Latinos represent. BISG does not resolve the issue of uncertainty with

limited data points nor does it provide any additional indications regarding how a particular person

voted. Id. It simply assists the analyst in determining whether the voter file is likely Latino. Id.

Regarding uncertainty or scarcity of the available data in this case, BISG is of no assistance

because the two things are “totally unrelated.” Trial Tr. Vol. IV at 171:17-172:12. Contrary to

Plaintiffs’ indication otherwise, BISG was not developed to address any surname issue that the

court identified with Dr. Barreto’s Gingles II or III analysis in Cisneros v. Pasadena Indep. Sch.

Dist., 2014 WL 1668500 (S.D. Tex. Apr. 25,2014). In Cisneros, the Court accepted Dr. Barreto’s

surname analysis for purposes of Gingles III, it only rejected such analysis with regard to Gingles

I. 2014 WL 1668500, at *13 n.5 (discussing why its “refutation of Spanish-surname data to analyze

the first factor of Gingles [did not] contradict the Court’s acceptance of Spanish-surname data to

analyze the third factor of Gingles”). Thus, as noted by Dodge City in its proposed findings and

conclusions, Plaintiffs’ repeated assertion that BISG somehow fixes the ails that the Cisneros court



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identified in Dr. Barreto’s analysis there is false. See CM/ECF Doc. 212 at 85; see also Cisneros,

2014 WL 1668500, at *24.

         RPFoF ¶¶ 136-139: The overwhelming majority of the 24 elections that Dr. Barreto

analyzed are not informative on the question of whether racially polarized voting is occurring in

Dodge City Commission elections. For starters, only 4 of Dr. Barreto’s 24 reviewed elections relate

to the elections in question. DFoF ¶ 214. Of the remaining 20, 17 were for state or federal, partisan

offices involving two candidates and one vote. 4 Id. at ¶¶ 214, 233-34. An additional election was

for a partisan, local office involving two candidates and one vote. Id. These types of elections are,

as even Dr. Barreto admits and his own analysis shows, “quite different contest[s].” Id. at ¶¶ 234-

35, 237. An admission that Dr. Barreto’s own analysis supports. Id. at ¶ 235. As set forth in Dodge

City’s proposed findings and conclusions, see CM/ECF Doc. 212 at 86, as well in RPFoF ¶¶ 157-

61, these partisan elections should carry no weight in this case. As for Dr. Barreto’s two remaining

exogenous elections—the 2021 School Board and 2019 Dodge City Community College Trustees

(“DCC Trustees”) elections, they do not reveal any discernable form of cohesion. See, e.g., DFoF

¶ 236. Thus, the simple fact that Dr. Barreto chose a particular exogenous election to analyze does

not make it relevant. Rather, as Dr. Katz stated, exogenous elections “may or may not provide

relevant information about the voting behavior of various groups.” Trial Tr. Vol. IV at 156:7-25.

Exogenous elections “can be useful in so far as those exogenous elections are similar in kind and;

therefore, voters display similar voting behavior.” Id. Here, 18 of Dr. Barreto’s 20 exogenous

elections clearly do not fit that bill, and the two that more closely match the elections in question

do not show any cohesion.




4
          The 2016 United States Senate race did apparently have a third-party candidate, but that candidate was clearly
not a factor in the election. See Pls.’ Ex. 121 at 3. Every other federal or state election had just two candidates.

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       RPFoF ¶ 142: Dr. Barreto’s King’s EI methodology should be disregarded in this case as

it is not reliable for elections like the ones at issue in this case. RPFoF ¶¶ 124-25. Even if this

methodology is considered, neither it nor the RxC method show that Latino voters in Dodge City

are politically cohesive. See DFoF ¶¶ 226-37; see also id. at ¶¶ 48-49; RPFoF ¶¶ 147-50.

       RPFoF ¶¶ 143-46: King’s EI is not appropriate nor is it the most accurate model for multi-

candidate, multi-vote elections like those for Dodge City Commission. RPFoF ¶¶ 124-25. The

RxC method is a form of ecological inference that is adapted specifically “for multiple groups and

multiple candidates,” and, as even noted by Dr. Barreto, is viewed as the “second version of

ecological inference” that was developed “some years” after Professor King had first developed

King’s EI. DFoF ¶ 209. There has been no showing that any court, federal or state, has accepted

the King’s EI methodology for multi-candidate, multi-vote elections like those for Dodge City

Commission where there are significant differences between its results and those from RxC, the

latter of which was specifically designed for multi-candidate, multi-vote elections. A comparison

between the two methods’ results and actual election results in this case confirms that RxC’s single

“regression for all [] candidates across Latinos and non-Latinos” is in fact better than King’s EI’s

binary approach of running each candidate “versus the field” in multiple regressions for elections

like those for Dodge City Commission because the results from RxC more closely track the actual

results. Trial Tr. Vol. II at 99:22-100:22; compare Pls.’ Ex. 40 (showing a tight pattern of voting

in the most homogenously Latino precinct in all of Dr. Barreto’s analysis, Precinct 3, see also

Def.’s Ex. 465, at 1) with Pls.’ Ex. 121 (RxC method showing that the top candidates were

separated by just a few percentage points, which, in an election with a small number of voters,

reveals a tight vote count).




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       RPFoF ¶¶ 147-50: The record does not support these facts’ assertion that the candidate

identified therein was in fact the “most preferred” Latino candidate nor does it show that racially-

cohesive voting is occurring in Dodge City. First, Dr. Barreto did not analyze the most recent,

most probative City Commission election, the one that occurred in November 2023. Trial Tr. Vol.

II at 137:5-15. Second, there is insufficient data in this case to draw reliable conclusions from an

ecological inference analysis about any of the cited elections. See, e.g., RPFoF ¶¶ 124-25, 126,

127. Third, King’s EI is not appropriate for a multi-candidate, multi-vote case like this. See, e.g.,

RPFoF ¶¶ 124-25, 143-46. Fourth, there is essentially nothing in the record to support these facts’

assertion that the aforementioned candidates were actually the “most preferred candidate by

Latinos.” Charles Sellens’ name had not been uttered once in this litigation until Plaintiffs’ post-

trial briefing. Adam Hessman was mentioned once at trial, but only while Dr. Barreto was

discussing his EI table. See Trial Tr. Vol. II at 136:18-137:4.

       As for Liliana Zuniga, nothing was mentioned about her campaign (other than she did not

campaign in 2017 due to health issue, DFoF ¶ 63), what platform she ran on, or whether Latinos

in Dodge City actually supported her. Outside of Dr. Barreto discussing his expert analysis, and

Melissa McCoy discussing Ms. Zuniga’s attempt to drop out of the 2017 campaign, the only person

to mention Ms. Zuniga was Plaintiff Coca. Plaintiff Coca offered only two things about Ms.

Zuniga: that she “is in the Hispanic community” and that she “lost her election.” Trial Tr. Vol. III

at 131:9-17. What Plaintiff Coca meant by “in the Hispanic community” is unclear, but what is

clear that he likely has no idea whether Latinos strongly preferred Ms. Zuniga, a person Plaintiff

Coca admits he only “somewhat knows,” id. at 131:11-14, and didn’t vote for, id. at 130:11-17.

       Regarding Ms. Scoggins, unlike the other so-called “most preferred” candidates, she did

take the stand and both Plaintiffs did testify that they had voted for her. Remarkably, though, other



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than saying that she campaigned in “South Dodge,” just like she had in “North Dodge,” id. at

159:10-11, Ms. Scoggins offered no reason to believe that she was in fact the “most preferred”

Latino candidate in 2021, or any other year that she had run for that matter. In fact, her utter lack

of testimony regarding what issues Latinos face in Dodge City, how she addressed those issues

while in office, and what things she hoped to improve for Latinos while a Commissioner suggests

the opposite. Further militating against the notion that Ms. Scoggins was the “most preferred”

Latino candidate is that, when she spoke to “civic[,] social[,] and church group[s], she apparently

only spoke to groups whose members “were all Caucasian.” Id. at 158:3-13. Ms. Scoggins implied

that other candidates did not campaign in “South Dodge” in 2021, id. at 159:180-23, but Chuck

Taylor, unlike Ms. Scoggins, actually lives in “South Dodge,” Trial Tr. Vol. I at 60:25-61:2, which

may explain why he was the so-called “most preferred” Latino candidate that year under Dr.

Barreto’s RxC analysis. Furthermore, despite Ms. Scoggins not seeing them in “South Dodge,”

three other candidates in addition to Mr. Taylor (Michael Burns, Joe Nuci, and Blanco Soto)

outperformed her in the precincts in “South Dodge,” Precincts 2 and 3, see Trial Tr. Vol. II at

135:4-5, 136:2-3, in 2021. Pls.’ Ex. 40. What’s more, Taylor, Burns, and Nuci were the top vote

getters in Precincts 5 and 6, which are in “North Dodge.” Id. at 136:4-6, 135:23-24. The fact that

Ms. Scoggins is the only so-called “most preferred” candidate that Plaintiffs presented, and Ms.

Scoggins’ testimony gave no basis to conclude that she was in fact the candidate that Latinos “most

preferred,” further refutes the notion that Dr. Barreto’s analysis should be given any weight in this

case.

        RPFoF ¶¶ 151-53: King’s EI is not appropriate nor is it the most accurate model for multi-

candidate, multi-vote elections like those for Dodge City School Board or DCCC Trustees for the

same reasons stated above with regard to City Commission elections. See RPFoF ¶¶ 143-46. The



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inaccuracy of King’s EI in this case is further confirmed by the single “slate” advertisement in this

case that Kansans for Liberty PAC put out. Plaintiffs contend that Nicole Nagel was “the highest

vote getter among Latinos but received extremely low support among Whites.” PFoF ¶ 152.

However, this is belied by the other candidates that are listed on the “slate” that included Ms.

Nagel. See Pls.’ Ex. 137. For instance, the “slate” included the person who purportedly was the

so-called “least preferred” Latino candidate for School Board that year under King’s EI, Jeanie

Zortman, as well as the “most preferred” White candidate for City Commission that year under

King’s EI, Joe Nuci. Pls.’ Ex. 121. Assuming that the Kansans for Liberty PAC’s purpose in

circulating its slate was to indicate what candidates it believed shared a common political ideology,

see Trial Tr. Vol. II at 157:7-13) (Dr. Barreto describing the “slate” as “the Republican slate”), it

would indeed seem strange that the candidate who was allegedly “most preferred” by Latinos but

one of the “least preferred” by Whites would be lumped together with the “least preferred” Latino

candidate for School Board and the “most preferred” candidate for City Commission if voters are

voting along racial lines.

       Similarly, the results for DCCC Trustees under King’s EI make no sense. According to

Plaintiffs, racial bloc voting is occurring because Mr. Garcia, who we know nothing about, had

the highest “point estimate” for Latinos and the lowest “point estimate” for Whites and lost his

election. PFoF ¶ 153. However, the candidates with the second and third highest “point estimates”

for Latinos in that race, which, under Dr. Barreto’s own standard, should be considered Latino

preferred, DFoF ¶ 216, were the so-called “most-preferred” White candidates. See Pls.’ Ex. 121.

There may be a logical reason for this, but it is far from obvious.




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        RPFoF ¶ 154: This fact mischaracterizes Dr. Katz’s testimony. Dr. Katz’s complete

testimony is that, with regard to Ms. Zuinga, “we don’t know for Whites either” because “[t]hey

all overlap.” Trial Tr. Vol. IV at 168:10-13.

        RPFoF ¶ 155: This fact is inconsistent with the record and existing precedent. Starting

with the record, the cited testimony was that the “differences get smaller [because of] the

methodological reasons inside the [RxC] regression,” not because of how real voters actually vote.

Trial. Tr. Vol. II at 100:18-22. This distinction matters because Dr. Barreto attempted to persuade

this Court to believe that King’s EI is more accurate because it does less “averaging,” indicating

that RxC’s results were not representative of the underlying voters’ voting preferences. Id. If, as

Plaintiffs allege, multi-candidate, multi-vote elections neutralize “numerical cohesions,” that

concession further confirms the inappropriateness of Plaintiffs’ reliance on Kings’ EI.

Furthermore, as set forth in Section I.A below, as well as DFoF ¶¶ 226-237 and RPFoF ¶¶ 147-

150, no cohesion has actually been shown through Dr. Barreto’s statistical analysis. As for existing

precedent, as discussed below in Section I.A, no court has adopted the methodologies used by Dr.

Barreto in a case similar to this.

        RPFoF ¶¶ 156-61: The fact that King’s EI seemingly created consistent results in two-

candidate, one-vote partisan elections is not surprising or relevant to the analysis in this case. As

even Dr. Barreto admitted at trial, “multi-candidate elections, where you get three votes[, are] quite

different contest[s] than just a two-person vote for one.” DFoF ¶ 234. This admission is bore out

in Dr. Barreto’s own analysis. Id. at ¶ 235. Further distinguishing the two-candidate, one-vote

elections that Dr. Barreto reviewed is the fact that they are partisan and involved some of the most

polarizing candidates that this Country and State have ever seen. DFoF ¶ 237. As should be

obvious and as stated by Dr. Katz, two-candidate, one-vote partisan elections “tend[] to lead to



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very polarized elections especially given there is racial differences, racial and ethnic differences

in party registration” that reflect preferences “for the party not for candidates.” Trial Tr. Vol. IV

at 158:3-10. When the exogenous elections are as different from the endogenous elections as Dr.

Barreto’s are, courts have refused to give much, if any, weight to them and certainly do not allow

them to establish patterns that are not seen in the endogenous elections. See, e.g., CM/ECF Doc.

212 at 86.

       RPFoF ¶¶ 162-63: King’s EI results are not appropriate for multi-candidate, multi-vote

elections like the one at issue here. RPFoF ¶¶ 143-46, 147-50, 151-53. Furthermore, results from

two-candidate, one-vote partisan elections are not relevant in this case. RPFoF ¶¶ 156-61. On both

of these points, Dr. Katz offered testimony against Dr. Barreto regarding them. See Trial Tr. Vol.

IV at 175:3-176:13 (King’s EI should not be used); id. at 156:17-158:17 (two-candidate, one-vote

partisan elections should not be used). In addition to these two specific points, Dr. Katz also

generally refuted Dr. Barreto’s claim that he had sufficient data in this case to draw any reliable

conclusions. See id. at 158:18-161:1, 167:1-10. Due to the limited number of precincts and the

lack of homogeneity in them, “the ballots are not providing any real information about how Latinos

voted in that election[, rather,] the driver of the estimation of the vote share is coming from the

strong cost assumption of ecological regression.” Id. at 163:24-164:8; accord RPFoF ¶¶ 124-25;

DFoF ¶¶ 208, 212.

       RPFoF ¶¶ 164-173: These facts are not supported by the record because there is

insufficient data in this case to draw statistically and legally significant conclusions, RPFoF ¶¶

162-63, two-candidate, one-vote partisan elections are not relevant to this case since they are

fundamentally different, RPFoF ¶¶ 156-61, King’s EI is not appropriate for this multi-candidate,

multi-vote case, RPFoF ¶¶ 143-46, 151-53, King’s EI does not credibly reveal who is the “most



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preferred” Latino candidate, RPFoF ¶¶ 147-50, 136-139, and the RxC Method does not reveal any

voting cohesion in endogenous elections, DFoF ¶¶ 227-231, or exogenous multi-candidate, multi-

vote elections, DFoF ¶ 236, or any cohesive voting patterns in multi-candidate, multi-vote

elections, RPFoF ¶¶ 147-50. For many of the same reasons that Dr. Barreto’s Kings EI analysis

did not show racially polarized voting, Dr. Barreto’s RxC analysis did not show racially polarized

voting. See DFoF ¶¶ 213-37. Contrary to Plaintiffs’ representation that there is just “some

variations between King’s EI and RxC results,” PFoF ¶ 173, as alluded to by the Court, and as

shown in the record, the variations are quite stark, DFoF ¶¶ 226, 228, 236.

       RPFoF ¶¶ 174-89: These facts are not supported by the record because there is insufficient

data in this case to draw statistically and legal significant conclusions, RPFoF ¶¶ 162-63, two-

candidate, one-vote partisan elections are relevant to this case since they are fundamentally

different, RPFoF ¶¶ 156-61, King’s EI is not appropriate for this multi-candidate, multi-vote case,

RPFoF ¶¶ 143-46, 151-53, and the RxC Method does not reveal any voting cohesion in endogenous

elections, DFoF ¶¶ 227-231, or exogenous multi-candidate, multi-vote elections, DFoF ¶ 236.

       Regarding Plaintiffs’ claim that “white voters located in North Dodge have clear electoral

preferences that differ from the heavily Latino South Dodge,” PFoF ¶ 186, it is unmoored from

the record. While Dr. Barreto did testify to this, like so much of his testimony it is belied by the

actual election results in Dodge City Commission elections. In 2021, the most homogenously

Latino of the City Commission election precincts were Precincts 2 and 3. RPFoF ¶¶ 147-50. These

two precincts are in “South Dodge.” Id. The precincts with the most White voters were Precincts

5 and 6. Id. These precincts are in “North Dodge.” Id. Completely contrary to what Dr. Barreto

indicated, the top three vote-getters in Precincts 2 and 3 in 2021 (Chuck Taylor, Michael Burns,

and Joe Nuci) were the same top three vote-getters in Precincts 5 and 6 in 2021. Id.



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        In 2019, it was a similar story. The most homogenously Latino of the 2019 City

Commission election precincts were Precincts 2 and 3. Ex. 465 at 1. The precincts with the most

White voters were again Precincts 5 and 6. Id. Nevertheless, the top two vote-getters in Precincts

2 and 3 (Kent Smoll and Rick Sowers) were the same top two vote-getters in Precincts 5 and 6.

Pls.’ Ex. 36. Thus, the only two election results in this case’s record reveal that voters in “South

Dodge” seem to prefer the same candidates that voters in “North Dodge” do, not that “White voters

in North Dodge have clear electoral preferences that differ from the heavily Latino South Dodge,”

as Plaintiffs claim is the case.

        Finally, contrary to Plaintiffs’ claim that “Hispanic-preferred candidates rarely are

successful,” PFoF ¶ 187, the evidence that so-called Latino preferred candidates win half of the

seats in the races that Dr. Barreto analyzed. DFoF ¶ 229. Similarly, Latino candidates have won

half of the seats in elections that they have actually ran in during the time reviewed by Dr. Barreto.

This rate is either greater than or equal to the “success rate” of White candidates of the time, which,

depending on whether Michelle Salinas identifies as Latino or White, is 10 out of 20 or 10 out of

21. See Pls.’ Ex. 121.

        Finally, the “point estimates” from Dr. Barreto’s RxC analysis do not show that “White

voters within Dodge City do not vote for identified Latino-preferred candidates.” No, they show

that, during the City Commission elections that Dr. Barreto reviewed, half of the so-called Latino

preferred candidates were also the alleged candidates of choice for Whites.

        RPFoF ¶ 190: This fact is not supported by the record for the reasons stated in RPFoF ¶¶

191-203.

        RPFoF ¶ 191: This fact does not provide a basis to limit the weight of Dr. Katz’s

testimony. As set forth in RPFoF ¶¶ 124-25, 143-46 and DFoF ¶ 212, it is not proper to use King’s



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EI in a case like this. Thus, the fact that Dr. Katz opted not to perform such an analysis tells us

nothing. As for Dr. Barreto’s exogenous elections, 18 out of 20 were two-candidate, one-vote

partisan elections, which are fundamentally different than the elections at hand here. RFPoF ¶¶

136-39. As for the two local multi-candidate, multi-vote nonpartisan elections that Dr. Barreto

analyzed but Dr. Katz did not, the RxC method, which is the one proper for multi-candidate, multi-

vote elections, did not show “clear evidence of polarization” as Plaintiffs’ allege, as the clustering

of candidates in those elections were arguably tighter than those in the City Commission race. See

Pls.’ Ex. 121 at 1-2. Additionally, 3 of the 7 so-called Latino-preferred candidates were also

allegedly the White preferred candidate and with a change of less than .6% of the Latino vote, 4

out of 7 candidates would have been the same. See id. This is hardly the case where the unreviewed

elections make a material difference. As shown in Pierce v. North Carolina State Board of

Elections, --- F. Supp. 3d ----, 2024 WL 307643 (E.D.N.C. January 26, 2024), the fact that Dr.

Barreto ran more models here than Dr. Katz does not bear on his credibility because the

overwhelming majority of the elections he reviewed are not representative of the elections at issue

in a particular case. 2024 WL 307643, at *19 (finding that “all of Dr. Barreto’s conclusions” were

“undercut” because it had been “demonstrate[d] that fuller data sets could change his estimated

outcomes,” despite the fact that Dr. Barreto had performed “more than 350 ecological inference

statistical models . . . across 31 recent elections”).

        RPFoF ¶ 192: As stated the in RPFoF ¶ 191, the fact that Dr. Katz did not review the two

local multi-candidate, multi-vote nonpartisan elections that Dr. Barreto analyzed does not make a

material difference in this case. As for the Ford County Clerk election case, it was a two-candidate,

one-vote partisan election just like 17 of Dr. Barreto’s other 20 exogenous elections. For the

reasons stated in RPFoF ¶¶ 136-39, 191, not reviewing those cases is of no moment.



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        RPFoF ¶ 193: The “stark pattern” Plaintiffs distill from two-candidate, one-vote partisan

elections is not informative of how Dodge Citians vote in local, multi-candidate, multi-vote non-

partisan elections. This is evident from the results in Dr. Barreto’s EI table, as well as Dr. Barreto’s

concession that gross majority of his exogenous elections are “quite different” than City

Commission ones. DFoF ¶ 234.

        RPFoF ¶ 194: The fact that Dr. Katz’s “point estimates” were similar to Dr. Barreto’s does

not confirm the propriety of Dr. Barreto’s analysis. “Point estimates” tell us nothing here because

there is insufficient data, they are closely grouped, and the confidence intervals for these

“estimates” do not merely overlap at the tails, but, with regard to the confidence intervals for White

voters, fall completely within the confidence interval for Latino voters with only one exception.

See RPFoF ¶¶ 126, 127; DFoF ¶¶ 217-222, 229, 230. Tellingly, Dr. Barreto did not include

confidence intervals for any of his analysis, despite that being the standard in the field. See, e.g.,

DFoF ¶ 223; see also Mo. State Conf. of the N.A.A.C.P. v. Ferguson-Florissant Sch. Dist., 201 F.

Supp. 3d 1006, 1042 (E.D. Mo. 2016) (“A statistical estimate with a 95% degree of confidence

employs the level of statistical certainty that is consistent with generally accepted standards for EI

in the field of political science, and is consistent with peer-review standards for research in that

field.”), aff’d, 894 F.3d 924 (8th Cir. 2018); Benavidez v. Irving Indep. Sch. Dist., 2014 WL

4055366, at *11 n. 20 (N.D. Tex. Aug. 15, 2014) (“It is standard in the area of political science for

confidence intervals to be set at 95%.”); Fabela v. City of Farmers Branch, Tex., 2012 WL

3135545, at *10 (N.D. Tex. Aug. 2, 2012) (“According to Dr. Engstrom, it is standard in the area

of political science for confidence intervals to be set at 95%.”).

        RPFoF ¶ 195: For the reasons stated in RPFoF ¶¶ 191-94, 196-203, this fact is not

supported by the record.



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       RPFoF ¶ 196: This fact is not supported by the record and mischaracterizes Dr. Katz’s

testimony. Dr. Katz’s testimony is not that you have to have a certain number of homogenous

precincts in order to do an EI analysis. If that were the case, you would just run a homogenous

analysis and take the guessing and assumptions out of the analysis. What Dr. Katz actually said is

that, when you have few precincts and these precincts “are [not] anywhere homogenous,” “the

ballots are not providing any real information about how Latinos voted in that election, but, rather,

“the driver of the estimation of the vote share is coming from the strong cost assumption of

ecological regression.” Trial Tr. Vol. IV at 162:24-163:8.

       As this Court has already recognized in rejecting Dr. Barreto’s homogenous precinct

analysis, there are no homogenous precincts in this case. CM/ECF Doc. 158, at 7-8. So this case

is not about, and Dr. Katz did not say, that there must be a set number of homogenous precincts

before an EI analysis can take place, but there must be something close to that so that an analyst

does not “dip[] heavily into speculation,” id. at 8, as Dr. Barreto has done here. The prevalence of

speculation and corresponding lack of reliability and certainty of Dr. Barreto’s “point estimates”

is confirmed by the fact that the confidence interval for them are extremely broad and not only

overlap but, with regard to the confidence intervals for White voters, falls completely within the

confidence interval for Latino voters with only one exception. See, e.g., DFoF ¶¶ 229-30. Dr.

Barreto does not despute a single one of Dr. Katz’s confidence intervals, despite Plaintiffs calling

him in rebuttal. As Dr. Katz testified, you expect broad confidence intervals in cases where you

have very little data and underlying assumptions are driving the analysis because:

       [a]s the sample size of my pole gets bigger, my margin of error, my pole gets
       smaller. That is a general principle which holds for all statistical analysis as I get
       more data, right, my uncertainty, my statistical uncertainty around my estimates
       decrease.

Trial Tr. Vol. IV at 153:1-5.


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        RPFoF ¶ 197: As noted in RPFoF ¶ 196, Plaintiffs set up a straw-man argument that

neither Dr. Katz nor Dodge City has made and then attempt to knock it down. The problem here

is not that there is not enough homogenous precincts, but, rather, that there are no precincts

remotely close to being homogenous. It is uncontroverted that of the 31 precincts in which votes

were cast for City Commissioner from 2014 to 2021, every one of them had a Latino voter turnout

less than 60%. %. Def.’s Ex. 465 at 1. Only 3 of the 31 precincts had a Latino voter turnout greater

than 50%. Id. Only 7 of the 31 precincts had a Latino voter turnout greater than 40%. Id. One can

quibble about whether precincts that 80% or 85% are sufficiently homogenous to permit reliable

conclusions to be drawn, but that is not our case and those are not our facts.

        Even the court in Luna v. Cnty of Kern, 291 F. Supp. 3d 1088, 1123 (E.D. Cal. 2018),

“recognize[d] the obvious—that larger numbers of homogeneous precincts produce more accurate

EI estimates.” As the Luna court curiously did not say how many precincts were at issue in that

case and gave no indication if the precincts in that case or anything like the ones here, its persuasive

value in this case is muted. Further militating against giving that case any weight is that, from a

population standpoint, Dodge City is nothing like Kern County, as Kern County grew “roughly

178,000 residents from 2000 to 2010.” Id. at 1101. Thus, the insufficient data issue we have in our

case presumably was not an issue in Luna. Regardless, we know too little about Luna to give

anywhere near the weight to it that Plaintiffs attempt to.

        RPFoF ¶ 198: This is a strawman argument that does not contradict anything that Dr. Katz

testified to at trial. Again, the testimony is not that there were too few homogenous precincts, but,

rather, that the precincts in question “are [not] anywhere homogenous,” RPFoF ¶ 196, which

requires strong assumptions to made and for the analysis to be driven by those assumptions, not

the actual votes that are cast. RPFoF ¶ 196. As discussed below, there is not a single court that has



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countenanced what Dr. Barreto and Plaintiffs are doing in this case. See infra Sect. I.A. This Court

should not be the first.

         RPFoF ¶ 199: This fact mischaracterizes Dr. Katz’s testimony and uncontroverted work

in this case. As shown in Def.’s Ex. 465 at 2-5, it is not Dr. Katz’s opinion that “some of the

confidence intervals overlap.” No, it is not that the confidence intervals here merely overlap at the

tail, but, rather, that, with regard to the confidence intervals for White voters, they fall completely

within the confidence intervals for Latino voters with only one minor exception. See id.

         RPFoF ¶ 200: It is not contested that Dr. Barreto testified to the assertions set forth in this

fact. However, it is uncontroverted that Dr. Barreto’s failure to provide a confidence interval for

his analysis is not consistent with the standard in the field. Mo. State Conf. of the N.A.A.C.P. v.

Ferguson-Florissant Sch. Dist., 201 F. Supp. 3d 1006, 1042 (E.D. Mo. 2016) (“A statistical estimate

with a 95% degree of confidence employs the level of statistical certainty that is consistent with

generally accepted standards for EI in the field of political science, and is consistent with peer-review

standards for research in that field.”), aff’d, 894 F.3d 924 (8th Cir. 2018); Benavidez v. Irving Indep.

Sch. Dist., 2014 WL 4055366, at *11 n. 20 (N.D. Tex. Aug. 15, 2014) (“It is standard in the area

of political science for confidence intervals to be set at 95%,”); accord Fabela v. City of Farmers

Branch, Tex., 2012 WL 3135545, at *10 (N.D. Tex. Aug. 2, 2012) (“According to Dr. Engstrom,

it is standard in the area of political science for confidence intervals to be set at 95%.”).

         Additionally, while point estimates may be informative when the points are distinct and

not closely grouped, that is not the case here. Furthermore, as noted in RPFoF ¶ 199, it is not that

there is mere overlap at the tails of the confidence intervals for Dr. Barreto’s “point estimate,” the

problem here is that, with regard to the confidence intervals for White voters, they fall completely

within the confidence intervals for Latino voters with only one minor exception. Def.’s Ex. 465 at

2-5.

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       RPFoF ¶ 201: This fact both overstates the overlap involved in the peer-reviewed Article

that Dr. Katz wrote and understates the amount of overlap in this case. As even Dr. Barreto

acknowledged, what Dr. Katz said in this article is that, “judging from the very little overlap, it is

quote: ‘highly likely that the Conservatives will out poll Labour and Alliance.” Trial Tr. Vol. IV

at 209:7-21; accord id. at 183:20-184:2 (Katz: “I think the statement is actually rather

straightforward. There’s some overlap. There’s slightly more – there’s a slightly higher chance

that in this analysis that the Labour candidate did better than the Alliance candidate but it could

have been the other way.”). “Very little overlap” or “some overlap” is not what we have in this

case. No, the problem here is that, with regard to the confidence intervals for White voters, they

fall completely within the confidence intervals for Latino voters with only one minor exception.

Def.’s Ex. 465 at 2-5. Thus, this is not a case with disparate “point estimates” and slender

confidence intervals. It is the opposite—closely clustered “point estimates” and wide intervals.

This is nothing like the estimates and intervals in the peer-reviewed article that Plaintiffs tried to

impeach Dr. Katz with.

       RPFoF ¶ 202: This fact is incomplete and mischaracterizes Dr. Katz’s testimony. The

fundamental difference between “point estimates” for candidate preference and number of voters

in a precinct is that the former is unknown and the latter, for purposes of the EI analysis, is treated

as a “known,” or “accepted value.” Trial Tr. Vol. IV at 180:6- 18. This is so because the latter “is

the data that was input into [the] EI” versus being the product of it. Id. Plaintiffs are comparing

apples and oranges here.

       RPFoF ¶ 203: For the reasons stated in RPFoF ¶¶ 191-203, this fact is not supported by

the record.




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       RPFoF ¶¶ 204-07: As explained elsewhere, the so-called “demographic and physical

divisions” in Dodge City are not how Dr. Barreto and Plaintiffs make them out to be. See RPFoF

¶¶ 50-53, 57-60. Looking at the actual election results for Dodge City Commission, versus

listening to Dr. Barreto and Plaintiffs’s description of them, paints a much different picture. For

instance, in 2021, the most homogenously Latino of the City Commission election precincts were

Precincts 2 and 3. RPFoF ¶¶ 147-50. These two precincts are in “South Dodge.” Id. The precincts

with the most White voters were Precincts 5 and 6. Id. These precincts are in “North Dodge.” Id.

Completely contrary to what Dr. Barreto indicated in his testimony, the top three vote-getters in

Precincts 2 and 3 in 2021 (Chuck Taylor, Michael Burns, and Joe Nuci) were the same top three

vote-getters in Precincts 5 and 6 in 2021. Id. 2019 was a similar story. The most homogenously

Latino of the City Commission election precincts then were Precincts 2 and 3. Ex. 465 at 1. The

precincts with the most White voters at that time were again Precincts 5 and 6. Id. Nevertheless,

the top two vote-getters in Precincts 2 and 3 (Kent Smoll and Rick Sowers) were the same top two

vote-getters in Precincts 5 and 6. Pls.’ Ex. 36. Thus, the only two election results in this case’s

record reveal that voters in “South Dodge” seem to prefer the same candidates that voters in “North

Dodge” do, not that “White voters in North Dodge have clear electoral preferences that differ from

the heavily Latino South Dodge,” as Plaintiffs claim is the case.

       Dr. Barreto’s “demonstrative exhibits,” which are the genesis for PFoF ¶¶ 204-07,

obviously are not answer, as they could not and were not admitted into evidence. Trial Tr. Vol. II

at 76:21-77:19. Even if they had, like Dr. Barreto’s “Heat Map,” they are incomplete and

misleading. This is so because the “demonstrative exhibits” are based on “ratios, not raw

numbers.” Trial Tr. Vol. II at 118:13-16. Furthermore, Dr. Barrato’s “demonstrative exhibits” do

not disclose what he used as the “average vote share” nor do they set forth how many voters are



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actually in a given area. Thus, if an area has only a couple of voters and those couple of voters

deviate from Dr. Barreto’s undisclosed “average vote share,” then Dr. Barrato’s “demonstrative

exhibits” gave the impression that an area either strongly favored or disfavored a candidate,

though, we may be only talking about one or two votes. Trial Tr. Vol. II at 126:9-23. This

possibility is not just some undergraduate hypothetical, as we learned on Dr. Barreto’s cross. For

instance, in the “demonstrative exhibit” that Dr. Barreto presented on direct of Liliana Zuniga in

2014, it appeared that she was very much favored by the residents of the far west side of town by

the Boot Hill Casino based on the roughly 20 plus signs in that region. Trial Tr. Vol. II at 118:1-

21. However, we learned on cross that that area “might have been seven votes.” Id. Likewise, at

the northern-most end of Dr. Barreto’s “demonstrative exhibit,” it looked like Ms. Zuniga was

strongly disfavored there based on the roughly 15 red dots in that area. Id. at 118:22-119:13.

However, this was, as Dr. Barreto ultimately admitted, “also a lower-populated area” that is where

the “wastewater treatment plant was” located, as well as a “big park.” Id. Without actual vote

numbers, as well as what the undisclosed “average vote share” was, it is impossible to make any

sense of the “demonstrative exhibits” or Dr. Barreto’s testimony regarding them. Accordingly, no

weight should be given to the testimony based on Dr. Barreto’s “demonstrative exhibits.”

       RPFoF ¶¶ 208-13: Dr. Barreto’s “performance analysis” should not be accepted at all.

First, it is based on demonstrative maps in which race impermissibly predominated. DFoF ¶¶ 175-

200. It was necessary for race to predominate in the demonstrative maps drawn by Dr. Oskooii,

Dr. Barreto’s former student, frequent colleague in section 2 cases, and co-developer of the EI

software used in this case because without Latinos or Latinos plus African Americans having a

CVAP of at least double that of Whites, none of the districts in Dr. Oskooii’s 14 demonstrative

maps would have performed. See DFoF ¶ 200; RPFoF ¶ 13. Even when Latinos or Latinos plus



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African Americans have twice the CVAP of Whites, Dr. Barreto’s “performance analysis” reveals

that they are still barely able to clear 50%. See Pls.’ Exs. 122-35.

       Second, while Dr. Barreto claims that his “performance analysis” is “based on real data of

Latinos and Whites vote in Dodge City,” what is really driving this analysis is the results of Dr.

Barreto’s review of exogenous elections, not Dodge City Commission elections, as should be the

case. DFoF ¶ 195-98. We know that exogenous elections are the driver because not a single City

Commission election gets anywhere near the 75%/25% assumption that Dr. Barreto applied in his

“performance analysis.” Id.

       Third, Dr. Barreto’s “elevated turnout” analysis made up of an enhancement that Dr.

Barreto still has never disclosed and is unmoored to any voting patterns observed in Dodge City.

Rather, it is an undisclosed number that Dr. Barreto has made up based on his “past [non-Dodge

City related] analysis” and so-called “real-world examples.” Id. at ¶ 198. The fact that Dr. Barreto

performed and Plaintiffs’ presented a “performance analysis” confirms, what the Supreme Court

indicated in Abbott v Perez, 585 U.S. 579, 617 (2018), and circuit courts have since held, that

“performance analyses” are necessary to show a section 2 violation because, without them, there

is no reason to believe that “the alternative to the districting decision at issue would [actually]

enhance the ability of minority votes to elect the candidates of their choice,” which directly relates

to “the ultimate question [of section 2 of] whether a districting decision dilutes the votes of

minority votes.”

       Fourth, the “November – Even Years” columns in Dr. Barreto’s “performance analysis”

tables should be disregarded as they are completely irrelevant to any issue that remains in the case.

       RPFoF ¶¶ 216-33: In describing the Senate Factors of significance to this case in closing

argument, Plaintiffs’ counsel did not address Factor 1. Trial Tr. Vol. V at 9-10; 49. Dodge City



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does not have a history of official discrimination that has touched the right of Latinos to vote or

participate in the democratic process. For good reason, therefore, Plaintiffs’ counsel did not even

address this factor in closing argument. See Trial Tr. Vol. V at 49:12-17. Notably, Plaintiffs’

proposed Senate Factor 1 findings ignore that Dr. Martinez admitted he did not find evidence of

official discrimination in Dodge City in voting or elections. DFoF ¶ 93.

         RPFoF ¶¶ 218: There is no evidence in the record that the decision to have one polling

location in Dodge City from 1998 to 2018 was intended to discriminate against Latinos. DFoF

¶ 148.

         RPFoF ¶¶ 219: The Department of Justice’s poll monitors monitored many elections in

Ford County and never gave any indication that Latino voters were being discriminated against or

that their votes were being depressed or that there were any impermissible barriers to Latino voting

in Dodge City. Trial Tr. Vol. II at 22:6-24:18.

         RPFoF ¶ 220-223: Ford County’s decision to move its polling location was not

discriminatory. To start, there is no evidence that the polling-location change in 2018 prevented a

single voter from voting. DFoF ¶ 141. Moreover, Ford County moved the polling location in an

even-numbered year, so the change could not have impacted a Dodge City Commission election.

DFoF ¶ 139.

         RPFoF ¶¶ 224-25: The DOJ raised Section 203 compliance with the County in the early

2000s, and since that time, Ford County election materials have been available in Spanish and

English. At the time of Ms. Seibel-Robb’s retirement, Ford County provided all documents related

to elections—including those on how to run for office—in Ford County and Dodge City in English

and Spanish. The Ford County Clerk’s Office had access to County employees who were fluent in

Spanish and available to translate documents. Trial Tr. Vol. I at 233:7-22; Vol. II at 17:9-22



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        RPFoF ¶ 226-233: Plaintiffs’ anecdotal, lay-opinion evidence attempts to show that

Dodge City otherwise discriminates against Latinos in its provision of services or maintenance of

public areas, but the evidence from Dodge City itself proves that it does not. DFoF ¶ 94. Their

remaining evidence is similarly too isolated and attenuated to show a nexus between a history of

alleged discrimination and Latinos’ ability to vote today, particularly where Dodge City’s growing

Latino population is a relatively recent phenomenon. See DFoF ¶¶ 11-17. For example, Plaintiffs’

assertion that Dodge City schools were historically segregated overlooks that Dodge City’s public-

school enrollment is now 80% Latino and Mr. Rangel-Lopez testified that they gave him a great

education. DFoF ¶¶ 19, 37-38. Plaintiffs also ignore the plethora of evidence that Ford County and

Dodge City actively advertise and assist Latinos in exercising their right to vote. See DFoF ¶¶ 127-

35.

        RPFoF ¶ 234: The City incorporates its Findings of Fact that relate to the second and third

Gingles preconditions. DFoF ¶¶ 201-244.

        RPFoF ¶ 236-239: There is no evidence in this case that Dodge City’s at-large election

system has ever prevented an interested Latino from running for office. DFoF ¶¶ 103-04, 170-71.

Plaintiffs did not call any witnesses to testify that they chose not to run for election because of the

at-large method. Campaigns for Dodge City Commission are inexpensive, and the evidence is that

it is hard to get people to run for the Dodge City Commission generally, let alone Latinos

specifically. DFoF ¶¶ 167-68. Dodge City is also a small community—it takes 15 minutes or less

to get from one side of Dodge City to the other. DFoF ¶¶ 22-23. Unlike a metropolitan area like

Kansas City or Wichita, it is not cost- or time-prohibitive to campaign for election in a community

the size of Dodge City.




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       RPFoF ¶¶ 240-52: At-large elections were not designed to suppress minority voting

power; they were designed to facilitate the election of leaders who look out for the interests of the

whole community. DFoF ¶ 99. Nor does Dodge City maintain at-large elections to suppress

minority voting power. Rather, if anything, the evidence shows that White voters are currently

enhancing Latino voting power. See RPFoF ¶¶ 174-89. Moreover, Dodge City’s at-large elections

foster a sense of unity and give each resident of Dodge City—a community of just 27,000 people—

five commissioner-representatives. DFoF ¶¶ 15, 100-02.

       Switching from an at-large system to a district-voting system would not have an effect on

descriptive representation in Dodge City. DFoF ¶ 102. Finally, substantive representation is not an

issue in Dodge City, where Plaintiffs adduced no evidence that any Latino has ever felt that the

Dodge City Commission has faced a racially divisive issue or otherwise failed to represent Latino

interests. DFoF ¶¶ 54-57. Thus, Dr. Bejarano’s selective review of political science literature—

without any application to the actual realities in Dodge City—should be rejected.

       RPFoF ¶¶ 253-257: Dodge City’s use of odd-year elections for the Dodge City

Commission is mandated by the Kansas Legislature. DFoF ¶ 123. The Court thus correctly granted

Dodge City’s motion for judgment on partial findings on Plaintiffs’ request to move Dodge City

Commission elections to even-numbered years. Trial Tr. Vol. III at 217:13-24. Notably, off-cycle

elections avoid municipal elections from being at the bottom of ballot and lumped in with party

politics in what is intended to be nonpartisan elections. Trial Tr. Vol. III at 175:3-176:13.

       Plaintiffs cite no evidence of specific turnout disparities in Dodge City for even- and odd-

year elections. See Trial Tr. Vol. I at 171:10-13. But combined with the fact that White voters tend

to enhance the prospects for Latino-preferred candidates attaining office in Dodge City, the




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evidence does not support a finding that odd-year elections for Dodge City Commission enhance

the opportunity for discrimination against Latinos.

        RPFoF ¶¶ 259-311: Plaintiffs’ proposed findings do not show that any history of

discrimination in Dodge City has resulted in in adverse impact on Latinos with respect to

education, employment or health, nor do they show any causal connection between any alleged

history of discrimination in Dodge City and any socioeconomic disparity between Latinos and

Whites today. Latinos did not begin migrating to Dodge City in substantial numbers until the

meatpacking plants created employment opportunities in Dodge City sometime in the early 1980s.

DFoF ¶¶ 11-17, 25-26. Since then, the Latino population has been increasing and, as Latinos move

on from an initial employment foothold to find other opportunities in the community, their

socioeconomic metrics have substantially improved across the board. DFoF ¶¶ 25-49. Dodge City

prides itself on being a community that welcomes new immigrants with open arms. Its economic

opportunities and extensive immigrant services make it an appealing new home for immigrants

from numerous countries every year. New immigrants often arrive with few resources and some

arrive without immigration status. Trial Tr. Vol. IV at 17:5-25; 18:25-19:6; Vol. I at 163:3-13.

        RPFoF ¶¶ 277-285: Dr. Martinez’s testimony is unhelpful to Plaintiffs, as Dr. Martinez

concedes that he did not find any evidence of official discrimination in voting or elections in Dodge

City; he did not find any policy of school segregation in Dodge City or ban on children from the

Mexican Village attending Dodge City public schools; and he offered no testimony regarding any

discrimination that Latinos faced in employment or receiving healthcare. His source of authority for

restrictive covenants in Dodge City was an unidentified article from the 1980s, but he did not review

any actual covenants to confirm their existence. DFoF 93. Dr. Martinez’s testimony about “other

centuries, other states, and other cities” should be rejected as irrelevant. Trial Tr. Vol. V at 11:24-12:2.



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       RPFoF ¶ 300: Mr. Rangel-Lopez himself is a campaign manager for New Frontiers who

works “in southwest Kansas to build youth power,” and he works “with folks in Garden City and

Dodge City to figure out ways to get them involved and get their voices heard on the issues and

policies that they care about.” Trial Tr. Vol. I at 11:24-12:6.

       RPFoF ¶ 307: Plaintiffs omit that the “slate” included: (1) Joe Nuci, a Latino; and (2)

Michelle Salinas, a woman with a Hispanic surname. The slate proves that Latinos do not face

unique barriers to any slating processes or running for the Dodge City Commission. See DFoF

¶¶ 170-72.

       RPFoF ¶ 309: Mr. Rangel-Lopez is incorrect. See DFoF ¶¶ 128-29.

       RPFoF ¶ 311: This conclusory fact is not supported by the record and should be rejected

by the Court. What Plaintiffs’ proposed findings establish is that Latinos migrate to Dodge City

for work opportunities and begin their lives with less socioeconomic opportunity at the start. See

PFoF ¶ 285 (noting even Dr. Martinez “found that while Latinos originally came to Dodge City to

work on the railroads, they are now the force that sustains the meatpacking plants”). None of the

policies that Plaintiffs point to—for example, segregation at Dodge City’s founding, PFoF ¶ 278;

the existence of the Mexican Village, PFoF ¶ 279-80; discriminatory restrictive covenants, PFoF

¶ 281; sundown towns that were not Dodge City, PFoF ¶ 284; or a Latino-only school in Kansas

City, Kansas, PFoF ¶ 284—have any bearing on the socioeconomic conditions that Latinos have

in Dodge City today.

       RPFoF ¶¶ 315-17; 322-33: Despite Dr. Barreto’s attempt to rehabilitate it, the National

Association of Latino Elected and Appointed Officials directory is not reliable. In Dodge City

alone, Dr. Bejarano testified that NALEO omitted: (1) Fernando Jurado as a City Commissioner

between 1999 and 2001; (2) Joe Nuci as a City Commissioner from 2019 to 2023; and (3) Blanca



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Soto as a City Commissioner in 2021. See Pls.’ Ex. 55. Its conclusions about Latino officials in

Dodge City—or elsewhere—deserve no weight.

        Plaintiffs never introduced any evidence of the number of Latinos who have run for office

in any election that Dr. Bejarano analyzed. See Trial Tr. Vol. I at 172:19-23 (“I did not do an

analysis of all the candidates.”). Without that information, it is impossible to assess Latino

candidates’ success rates as compared to White candidates’ success rates. At the same time, Dr.

Bejarano agreed that “one of the ways we can get more candidates elected” was to get more Latino

candidates to run for office. Id. at 172:9-18.

        RPFoF ¶ 334: The record does not support a finding that Ms. Soto’s struggle to campaign

for Dodge City Commission was a consequence of Dodge City’s at-large election system. Mr. De

La Rosa never testified that it was a result of Dodge City’s at-large election system, but that Latino

community leaders chose not to support Ms. Soto. See Trial Tr. Vol. IV at 23:16-24:14. Mr. De

La Rosa’s testimony further overlooked that Mr. Rangel-Lopez himself is part of the non-profit

“ecosystem” to promote Latino political causes at New Frontiers. See Trial Tr. Vol. I at 11:22-

12:6.

        RPFoF ¶ 335: Ms. Vargas’s lay opinion testimony of Ms. Gonzalez’s campaign deserves

no weight. Ms. Vargas does not live in Dodge City and cannot credibly opine on the merits of local

elections or campaigns. See Trial Tr. Vol. I at 204:9-25.

        RPFoF ¶¶ 337-38: Mr. De La Rosa testified credibly and noted twice that Latinos in

Dodge City could flip any commission into a unanimously Latino-preferred commission under the

current system “tomorrow.” In Mr. De La Rosa’s view, the issue is voter registration and turnout.

Trial Tr. Vol. III at 318:16-319:16 (“[I]f we wanted to . . . having lived in Dodge City, if we were

an active community, voter community, regardless of what it is, having the 60 percent, 70 percent



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Latino Hispanic and they knew local elections, they were registered to vote, we would flip any

committee or commission in the community tomorrow.” (emphasis added)); Trial Tr. Vol. IV at

25:3-14 (“If my community, again, we have skin in the game too. If my community were to be

educated and showed up to the polls, those boards would look different tomorrow.”). Accordingly,

Mr. Rebein further testified that the issue is not Dodge City’s at-large election system, but putting

resources into registering voters and getting people to vote. Trial Tr. Vol. III at 234:2-237:1 (“Now,

if I was going to put my efforts on something it would be on . . . figuring out who’s eligible to

vote, getting them registered and getting people to vote. And that’s everybody. Everybody needs

to do that. We have a problem with that just like everybody does.”).

       RPFoF ¶ 343: There is no credible evidence that Mr. Nuci revealed himself as Hispanic

and lost election because it became “public information” that Mr. Nuci was Hispanic. Mr. Rangel-

Lopez testified without credibility that “[a]t least I didn’t know” Mr. Nuci was Latino. Trial Tr.

Vol. I at 61:20-22. Similarly, Ms. McCoy’s testimony is about an undisclosed statement in a memo

about this litigation that was only used to “refresh the witness’s recollection” and never entered

into evidence. See Trial Tr. Vol. IV at 82:4-13. Mr. Nuci is, and has always been known in the

community, as Hispanic. Trial Tr. Vol. III at 234:2-237:1 (“Well, you know, I know we laugh,

okay, Joe Nuci, you know, because somebody apparently has questioned whether Joe Nuci is

Hispanic. Joe Nuci says he’s Hispanic, he is Hispanic[.]”); see also Pls.’ Ex. 121 (showing a picture

of Joe Nuci in a candidate advertisement for the 2021 Dodge City Commission, where Joe Nuci

won election).

       RPFoF ¶¶ 345-421: It bears underscoring that Plaintiffs’ proposed factual findings on

Senate Factor 8 almost entirely ignore the many positive actions Dodge City has taken to respond

to the needs of its Latino community and meet the Latino community “where they are.” Trial Tr.



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Vol. III at 316:22-317:25. Plaintiffs thus ask the Court to ignore the reality that, among other

things: (1) Dodge City has been nominated for national awards for its work on cultural diversity,

DFoF ¶ 76; (2) Dodge City offers pay incentives for bilingual employees, DFoF ¶ 77; (3) Dodge

City’s publishes city documents in English and Spanish, DFoF ¶ 78; (4) Dodge City is a member

of the Southwest Kansas Coalition, DFoF ¶ 79; (5) Dodge City brings United States citizenship

and immigration services to Dodge City, DFoF ¶ 80; (6) Dodge City publishes information about

how to become a citizen and how to vote, DFoF ¶ 81; (7) Dodge City hosts of the International

Festival, DFoF ¶ 84; (8) Dodge City hosts a New Americans Dinner, DFoF ¶ 86; (9) Dodge City

offers naturalization scholarships, DFoF ¶ 87; (10) Dodge City hosts both Mexican and

Guatemalan Consulate Services, DFoF ¶ 88; (11) Dodge City’s offers a DACA clinic, DFoF ¶ 89;

and (10) Dodge City stood up the Cultural Relations Advisory Board, DFoF ¶ 85, which is intended

“to work on multicultural affairs, issues in the community,” Trial Tr. Vol. III at 299:17-300:6, and

has, among other things, published a Strategic Plan for Welcoming and Integration for new

immigrants to Dodge City, DFoF ¶ 85.

       RPFoF ¶ 347-49: Dr. Bejarano’s evasive cross-examination testimony and inability to

answer basic questions gives her no credibility. See Trial Tr. Vol. III at 201:9-11 (noting Dr.

Bejarano’s “obstinate refusal to answer questions on the pretense that they were not clear”).

       RPFoF ¶ 350: Plaintiffs’ replete use of the passive voice about who moved the polling

location in 2018 is no mistake—Ford County, not Dodge City, moved the polling location in 2018.

DFoF ¶ 137. Plaintiffs further ignore the herculean efforts Dodge City undertook specifically to

respond to any issues that Ford County’s decision caused, DFoF ¶ 138, and the undisputed fact

that the polling location change did not impact the ability of a single Dodge Citian to vote, DFoF

¶ 145-47.



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         RPFoF ¶ 351: There is no evidence that the 2010 shooting “sparked racial tensions.” At

most, Dr. Bejarano’s testimony shows that Dodge City responded to the 2010 shooting by creating

the Cultural Relations Advisory Board in the same year. See Trial Tr. Vol. I at 109:11-110:11

(noting Dodge City agreed to “create some type of committee to work on addressing creating more

community with Latinos and other diverse communities”); Trial Tr. Vol. III at 299:17-300:6

(noting the Cultural Relations Advisory Board in 2010). The Cultural Relations Advisory Board

has been effective. Trial Tr. Vol. IV at 73:15-74:2.

         RPFoF ¶ 352-53: Dodge City has not failed to respond to concerns about at-large

elections. At-large elections have never been a significant public issue in Dodge City. See DFoF

¶¶ 103-20. Dr. Bejarano’s cited testimony is vague, inconsistent with the testimony of actual

Dodge City residents, and unsupported. It should not be credited. There is no evidence in the record

of Latino Dodge Citians raising concerns about the at-large method of election or the reduced

number of polling locations, nor is there evidence that either factor affected Latinos at all, let alone

disproportionately. The cited testimony similarly does not support the final sentence of paragraph

353.

         RPFoF ¶¶ 354-56: Plaintiffs ignore that President Trump issued an executive order

requiring the meatpacking plants to maintain operations. DFoF ¶¶ 91-92. Apparently, Dr. Bejarano

who testified regarding the City’s response to COVID at the meatpacking plant, was unaware that

the executive order had been issued. Trial Tr. Vol. I at 179:16-180:23. Plaintiff Rangel-Lopez

worked at the meatpacking plants as a COVID compliance officer, and his specific job was to

ensure that “everyone was wearing their masks properly and was social distancing at the time.”

Trial Tr. Vol. I at 12:7-13:14. Additionally, the City engaged the Kansas Governor’s Office to




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ensure that the Governor prioritized meatpacking workers as essential workers who would be

among the first to receive vaccines. DFoF ¶ 92.

       RPFoF ¶ 357-360: Not a single witness at trial from Dodge City described any inadequacy

in how the City responded to the 2010 shooting or that there was any sort of social unrest following

that event. See also RPFoF ¶ 351.

       RPFoF ¶ 358: The Cultural Relations Advisory Board was established in the same year as

the 2010 shooting. Trial Tr. Vol. III at 299:17-300:6. It has been effective. Trial Tr. Vol. IV at

73:15-74:2. Among other accomplishments, the Cultural Relations Advisory Board established the

City’s strategic plan for welcoming immigrants. Trial Tr. Vol. III at 301:5-302:2; see also Def’s.

Ex. 447. Nor is there credible evidence of “racial unease” in Dodge City before 2010 or after. But

see DFoF ¶ 174.

       RPFoF ¶ 359: The facts refute Dr. Bejarano’s opinion that Latinos face a disproportionate

number of arrests and citations. In 2010, Latinos made up 57.5% Dodge City’s population; by

2020, that share increased to 63.9%. DfoF ¶¶ 14-15. The evidence Dr. Bejarano relied on show

that the percentages of the Dodge City Police’s arrest and citation numbers track these statistics.

See Pls.’ Ex. 17 (showing Latinos made up between 52.4% and 62.9% of all stops; between 57.7%

and 69.1% of all citations; and between 57.5% and 75% of arrests).

       RPFoF ¶ 360: This summarized finding is inconsistent with the record and should be

rejected. See RPFoF 357-359.

       RPFoF ¶¶ 361-62: Dodge City’s cooperation with Immigration and Customs Enforcement

(ICE) on one cited occasion in 2017 does not show a lack of responsiveness. See Trial Tr. Vol. I

at 119:4-21 (“[T]he fact that local law enforcement cooperated with immigration authorities is not




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a negative factor.”). Plaintiffs further ignore that Dodge City makes substantial efforts when it

comes to immigration assistance. DFoF ¶¶ 83-89.

         RPFoF ¶¶ 363-65: Ms. Vargas’s testimony that she does not know how to contact the

Dodge City Commission is not credible. “All five [commissioners] are available. They have email

addresses and typically they have their cell phone or their home phone listed on the web page, and

we do share those as well.” Trial Tr. Vol. IV 92:17-22. This fact undermines all of Ms. Vargas’s

testimony. Ms. Vargas’s testimony regarding assistance during the COVID-19 pandemic is also

not credible. See Dodge City’s Response to PFoF 353-56.

         RPFoF ¶¶ 366-368: Dodge City is not a tale of two cities. Trial Tr. Vol. III at 231:25-

234:1 (“As I was coming up here this morning I crossed Comanche, I saw three [$]500,000, million

dollar homes south of Comanche. Our biggest businesses and industries are south of Comanche,

you know, the Chevrolet dealership, Toyota dealership, all of that is south of Comanche. The

courthouse, what I consider our crown jewel in Dodge City, which is the depot, you know, our

historic Santa Fe depot that has completely been renovated, has a theater in it, that is all south of

Comanche. . . . Is there development . . . in the south party of town? Yes, there is. . . .I think we

have either newly constructed or under constructed over 600 living spaces in Dodge City. I don’t

know if its exactly equal but it’s pretty equal north and south. And so I don’t think that you can

say a t[ale] of two cities at all.”). Like all cities, some pockets of town have more expensive homes

than others, but that fact does not support this concept of Dodge City being divided North and

South.

         RPFoF ¶ 369: Plaintiffs omit that Commissioner Chuck Taylor lives south of Comanche

street. DFoF ¶ 69.




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       RPFoF ¶¶ 371-76: Dodge City does not discriminate in its maintenance of roads or other

public spaces, nor do they pay less attention to “South Dodge.” DFoF ¶ 94. The City maintains

brick roads in its historic districts. Trial Tr. Vol. I at 43:20-44:6. And while the City has created a

sidewalk program to assist homeowners, the sidewalks Plaintiff Rangel-Lopez described as

buckled are the responsibility of each homeowner; not the City. Trial Tr. Vol. IV at 97:1-7.

Notably, neither Plaintiffs ever brought any of the alleged perceived issues to the Commission’s

attention. Indeed, Plaintiff Rangel-Lopez worked in the City Manager’s office and never raised

any of these alleged issues. Trial Tr. Vol. III at 278:8-279:1.

       RPFoF ¶¶ 378; 387: Dodge City has four grocery stores dispersed throughout town. DFoF

¶ 24. Mr. Rangel-Lopez’s lay opinion that east Dodge City is a food desert is not credible.

       RPFoF ¶¶ 383-84: Dodge City does not have bad schools. Trial Tr. Vol. IV at 88:2-89:8.

Thus, Mr. Rangel-Lopez “absolutely” agreed that he received a good education at Dodge City

High School and was a high-achieving student at the University of Kansas. DFoF ¶¶ 37-38. This

is consistent with City Manager Nick Hernandez’s assessment, which was that the public schools

were “pretty amazing,” as “they had given [opportunities] to [his] children [that] far exceed[] the

last two communities that [he] ha[d] been in.” Trial Tr. Vol. IV at 88:2-21. As Mr. Hernandez

recounted, his daughter had just been admitted into pharmacy school within a year of graduating

from Dodge City High School, and his son is part of one of the top Junior ROTC programs in the

entire Country. Id at 88:4-21.

       RPFoF ¶ 389: Dodge City is investing significant resources in its parks, including those

in the southern area of Dodge. DFoF ¶ 94.

       RPFoF ¶ 390: The City’s public transportation service serves north and south Dodge City

equally, and runs on time. Trial Tr. Vol. V at 77:20-78:15. Outside of Plaintiff Coca’s testimony



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at trial, there is no evidence that untimely buses are an issue that has been brought to the City’s

attention.

        RPFoF ¶ 391: Dodge City has not failed to respond to public interest in district-based

elections. See DFoF ¶¶ 103-20. If anything, Dodge City maintains an openness to district-based

elections if the public could decide the issue. Trial Tr. Vol. IV at 99:14-16 (“[T]he public should

make that decision.”).

        RPFoF ¶¶ 393-98: Plaintiffs omit that Ford County fully complied with the DOJ’s inquiry.

DFoF ¶¶ 161-62. The DOJ conducted a thorough investigation, examined large volumes of data

spanning more than ten years and numerous election cycles, and ultimately took no action. DFoF

¶ 153-162. As the Court noted during trial, “when the City is under extensive investigation that

results in nothing, I don’t think that puts them on notice that they have a problem.” Trial Tr. Vol.

V, at 20:25-21:2.

        RPFoF ¶ 403-05: After Mr. Rangel-Lopez raised the idea of moving away from at-large

elections to the Cultural Relations Advisory Board Steering Committee in 2021, the Steering

Committee—which was composed of a number of prominent and influential Latinos in the area,

including, but not limited to, Ms. Blanco Soto and Ms. Monica Vargas (who testified at trial)—decided

against including the issue in its final Strategic Plan. DFoF ¶ 106.

        RPFoF ¶ 407: Mr. Rangel-Lopez’s lay opinion that Dodge City’s policies do not match its

welcoming rhetoric is entitled to no weight. Among other issues, Mr. Rangel-Lopez did not point

to a specific policy that conflicted with Dodge City’s rhetoric. See Trial Tr. Vol. I at 26:10-25. To

the extent Mr. Rangel-Lopez complains that Dodge City’s policies do not support undocumented

immigrants, he omits that: (1) immigration is a question of federal law; and (2) Dodge City assists

substantially with immigration-related services. See DFoF ¶¶ 79-81, 87-89.



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       RPFoF ¶ 413: Dodge City provides its services without consideration of race or where

they live. DFoF ¶ 94.

       RPFoF ¶ 414: Dodge City does not administer elections and has no obligation to track

voter turnout rates. DFoF ¶ 121. Regardless, Plaintiffs ignore that Dodge City undertakes

substantial effort to assist its residents with awareness of elections and providing everyone an equal

opportunity to vote. DFoF ¶¶ 130-35.

       RPFoF ¶ 415: Mr. Hernandez acknowledged that in two disparate months in 2018,

February and December, over 70% of police arrests, stops, citations, and warnings involved

Latinos—not the entire year. Trial Tr. Vol. IV at 106:7-13. This percentage is similar to the

percentage of the Latino population in Dodge City. See Pl’s. Ex. 112 (showing Dodge City’s

population was 63.9% Hispanic in 2020). Plaintiffs ignore that in other months, Latinos were

involved in as few as 57.5% of arrests and 52.4% of total stops. Pls.’ Ex. 61 at 1.

       RPFoF ¶¶ 416-17: As the Court remarked at trial, what the Dodge City Police’s use of a

plainclothes officer at a public meeting “is not in any way outside the customary law enforcement

practice and procedures,” Trial Tr. Vol. I at 118:3-15, and the evidence about the Dodge City

Police Chief’s decision to send a plainclothes officer to a public meeting should be entitled to no

weight, see id. at 121:24-122:5.

       RPFoF ¶¶ 418-20: Plaintiffs’ lay-opinion testimony about the responsiveness of the

Dodge City Commission to the needs of Latinos should receive no weight. Among other problems,

Ms. Scoggins and Mr. Rangel-Lopez did not identify a specific issue that the Dodge City

Commission did not respond to. Moreover, the evidence is there have been no issues before the

Dodge City Commission where the Latino community did not feel heard or represented. DFoF

¶¶ 55-57.



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       RPFoF ¶ 421: As stated above, Dr. Bejarano did not provide credible testimony. See

Response to PFoF 35-36.

       RPFoF ¶ 423-24: Dodge City has not been on notice of Latino vote dilution since 2010.

Plaintiffs’ sole citation for this conclusion is Dr. Bejarano’s retelling of an article she allegedly

read—which is not in the trial record—about a shooting in Dodge City. Neither that article nor Dr.

Bejarano’s testimony reflects that the City was on notice of vote dilution.

       RPFoF ¶¶ 425-26: The Department of Justice investigation did not put the City on notice

of any Section 2 violation. Rather, the DOJ conducted a thorough investigation, examined large

volumes of data spanning more than ten years and numerous election cycles, and ultimately took

no action. DFoF 153-162. As the Court noted during trial, “when the City is under extensive

investigation that results in nothing, I don’t think that puts them on notice that they have a

problem.” Trial Tr. Vol. V, at 20:25-21:2.

       RPFoF 427-28: Ms. Tieben testified that at the time of the 2018 polling place lawsuit,

people outside of the community mentioned the City’s lack of districts, but City residents did not

raise the issue. Trial Tr. Vol. III, at 252:23-253:2; 254:13-21.

       RPFoF 429-30: Ms. Scoggins raised the issue of district elections at a Commission

meeting, and the Commission directed City staff to look into the matter. DFoF 112. Notably, not

even Ms. Scoggins described a proposed move to district voting as a solution to Latino vote

dilution. DFoF ¶ 114. Indeed, until this lawsuit, no political party, organization, or individual has

made district-based elections in Dodge City a public issue, let alone given Dodge City an indication

that at-large voting was diluting Latino voting power. DFoF ¶ 115-17.




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        RPFoF ¶¶ 431-34: Dodge City described its policy justifications for maintaining an at-

large system at length. DFoF ¶¶ 99-100. Plaintiffs’ dismissal of these justifications as “minimal”

ignores the record.

        RPFoF ¶ 435: The Trozzolo memo was only used in an attempt to refresh Ms. McCoy’s

recollection in this case and was never admitted into evidence. Trial Tr. Vol. IV at 79:17-81:11.

Moreover, Ms. McCoy testified that she did not recall anything in the memo or how the Trozzolo

firm recommended Dodge City “strengthen” its position. Trial Tr. Vol. IV at 81:4-6. It is thus not

substantive evidence in this case. Regardless, it is entirely unremarkable that a public-relations

firm hired in response to a lawsuit would advise its client to “strengthen” the client’s position in

that lawsuit.

        RPFoF ¶ 436: Having a City Commission that represents the City as a whole is and has

been the will of Dodge Citians. DFoF ¶ 100. The use of at-large elections is entirely consistent

with that goal. See Trial Tr. Vol. III at 234:2-237:1 (describing a potential move to district elections

as “negative because it’s divisive . . . by definition,” and noting that district-based voting “will

hurt the cause” of having a “majority and maybe all five commissioners that would be Hispanic”);

Trial Tr. Vol. IV at 40:13-41:2 (noting “boards generally don’t function as well” in a district-based

system “as they would in an at-large system”).

        RPFoF ¶ 437: Ms. Scoggin’s anecdotal evidence in 2023 does not defeat Dodge City’s

consistent justification for its at-large method. The more telling fact is that Plaintiffs have no

evidence that, despite an alleged “significant socioeconomic divide” in Dodge City, PFoF 436,

any racial appeal has ever been used in a Dodge City campaign in any form—even in campaigns

when Latinos were on the ballot. DFoF ¶ 174.




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          RESPONSE TO PLAINTIFFS’ PROPOSED CONCLUSIONS OF LAW

       Plaintiffs’ attempt to force Dodge City to abandon its 50-plus year practice of at-large City

Commission elections for district-based elections fails for many reasons. First, Plaintiffs have not

sustained their burden of showing that the Gingles preconditions have been met. Second, Plaintiffs

have not shown that switching from at-large elections to district-based ones will actually “enhance

the ability of minority voters to elect the candidates of their choice,” which is the “ultimate

question” in the section 2 analysis. Abbott v. Perez, 585 U.S. 579, 617 (2018). Third, the totality

of the circumstances does not support a finding of a section 2 violation. Accordingly, judgment

should be entered in Dodge City’s favor here.

I. Plaintiffs have not shown that Latinos are politically cohesive.

       There is nothing in the limited data available that tells us anything about how Latinos vote

in City Commission elections. There is nothing that demonstrates that Latinos vote cohesively. As

Dr. Katz noted: “We just don’t know how Latinos or Whites voted in particular elections. We do

not see clear winners of which candidate is the preferred candidate of any group. So it’s more

about the level of statistical uncertainty. We just don’t know.” Trial Tr. Vol. IV at 158:18-159:6.

Here, there are very few precincts. There are no homogenous precincts. Dr. Katz’s opinion on this

matter is well founded and consistent with existing case law. Nevertheless, even if one were to

assume that the “point estimate” numbers used by Dr. Barreto are reliable (a false assumption),

those estimates tell us nothing about racially polarized voting in City Commission elections.

       In their proposed findings and conclusions, Plaintiffs make four primary arguments. First,

Plaintiffs contend that Dodge City’s objection to Dr. Barreto’s analysis based on the limited data

sets in this case “is unpersuasive” because “polarized voting has often been found in comparably-

sized or smaller jurisdictions than Dodge City. CM/ECF Doc. 211 at 119. Second, Plaintiffs allege



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that Dodge City’s argument about confidence intervals is unfounded because “[p]oint estimates

are undisputedly the best estimates in the data,” and, “here the point estimates are consistent across

elections.” Id. at 122. Third, Plaintiffs argue that, based on Dr. Barreto’s King EI analysis, “Latino

voter cohesion was clear in all of the Dodge City Commission elections analyzed,” and, “[i]n all

of those elections, the Latino-preferred candidate did not win election.” Id. at 118. Fourth,

Plaintiffs say that, “[i]n both local and statewide exogenous elections, Latino voters also

demonstrated strong cohesion, upwards of two-thirds and in some cases over 75% cohesion for

preferred candidates.” Id. at 119. As to Dodge City’s contention that Dr. Barreto’s reliance on

exogenous elections is improper, Plaintiffs argue that there is “no authority to support this

proposition.” Id. at 120. Plaintiffs go on to aver that there are “several exogenous elections that

were substantially similar to the Dodge City Commission elections—multi-candidate, local,

nonpartisan, and off-cycle elections—that demonstrated stark evidence of polarization.” Id. at 120-

21. None of Plaintiffs’ arguments withstand scrutiny.

    A. No Court has ever approved of what Dr. Barreto is attempting to do here.

        Plaintiffs’ attempt to conjure up racial polarization findings in a jurisdiction like Dodge

City is truly unprecedented. In its proposed findings and conclusions, Dodge City set forth why

ecological inference analysis was not appropriate in this case because, among other things, of how

little reliable data there is. CM/ECF at 212 at 73-88. 5 According to Plaintiffs, though, “the size of

a jurisdiction population or the number of voting precincts evaluated does not hinder a finding of

political cohesion.” CM/ECF Doc. 211 at 118. In support of this proposition, Plaintiffs cite five




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          For citations to Dodge City’s proposed conclusions of law, CM/ECF Doc. 212, the pincite is to the page
number listed in the document’s CM/ECF timestamp, as opposed to the page number in the document’s footer. There
is a difference between the two because the former includes the document’s table of contents, while the latter does
not. There is no difference between the two in Plaintiffs’ proposed findings and conclusions.

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cases—none of which can shoulder the weight Plaintiffs foist upon them. Id. at 118 n. 601. 6 Two

of the five cases can be dismissed out of hand. Case one, Windy Boy v. Big Horn County, 647 F.

Supp. 1002 (D. Mont. 1986), was actually decided before Gingles. Accordingly, Windy Boy did

not evaluate political cohesion within the context of Gingles II, as Gingles II did not even yet exist.

In case two, Potter v. Washington County, 653 F. Supp. 121 (N.D. Fla. 1986), while the order in

question does post-date Gingles by 11 days, it does not actually apply Gingles, or even discuss

cohesion for that matter, because the County had already “admitted liability under the Voting

Rights Act” in a proposed consent judgment that was submitted well before Gingles was decided.

653 F. Supp. at 122. Thus, Potter offers Plaintiffs no assistance. The same is true for Plaintiffs’

third case, United States v. Blaine County, 363 F.3d 897 (9th Cir. 2004). There, “the County’s

expert witness conceded that American Indians [the minority group in question] voted cohesively

in 100 percent of the County Commissioner elections and 95 percent of exogenous elections for

county, state, and national offices.” 363 F.3d at 910. Obviously, Dodge City has not conceded

away the cohesion issue in this case. Plaintiffs’ fourth case, Cuthair v. Montezuma-Cortez, Colo.

Sch. Dist. No. RE-1, 7 F. Supp. 2d 1152 (D. Colo. 1998), is similarly unhelpful to Plaintiffs. There,

unlike here, “virtually all of the precincts from School District elections [the election at issue in

that case] were homogenous,” which the Court found made “[t]he homogenous precinct analysis .

. . particularly compelling and reliable.” Id. at 1168. Finally, in Plaintiffs’ fifth case, Cane v.

Worcester County, 35 F.3d 921, 921, 925 (4th Cir. 1994), the district court actually disregarded

the experts’ polarization analysis because it “failed to produce reliable statistical evidence because

of the lack of available data and a truncated analysis caused by the small number of districts and



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        Plaintiffs cite to the same exact cases in footnote 603 on page 119 of their proposed findings and conclusions
in support of the idea that “polarized voting has often been found in comparably sized or smaller jurisdictions than
Dodge City.”

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lack of a majority African–American district.” 7 Far from supporting Plaintiffs’ position, Cane

refutes it.

         In addition to the specific distinctions just noted, each of Plaintiffs’ decades-old cases fail

for the common reason that not one of them reviewed the application of the ecological inference

methodologies that Dr. Barreto employed here (either King’s EI or the RxC method), much less

approve of Dr. Barreto’s methodologies in a case involving less than 10 precincts and precincts in

which the most homogenous precinct was less than 60% Latino—an occurrence that happened

only once in a 10-year timeframe. In short, Plaintiffs have provided no support for the proposition

that, contrary to Dr. Barreto’s representations in Cisneros that a “very small number of voting

precincts makes it more difficult to analyze voting patterns and make determinations of racial bloc

voting,” 2014 WL 1668500, at *12, Dr. Barreto’s methodologies are appropriate here.

    B. Dr. Barreto’s point estimates are not reliable in this case.

         Simply put, “point estimates” are not an adequate substitute for confidence intervals in a

case like this. The cases that Plaintiffs cite in support of the proposition that “point estimates are

undisputedly the best estimates in the data,” see CM/ECF Doc. 211 at 122 n. 607, actually confirm

Dodge City’s—and Dr. Katz’s—position by declaring that “[i]t is standard in the area of political

science for confidence intervals to be set at 95%,” Benavidez v. Irving Indep. Sch. Dist., 2014 WL

4055366, at *11 n. 20 (N.D. Tex. Aug. 15, 2014); accord Fabela v. City of Farmers Branch, Tex.,

2012 WL 3135545, at *10 (N.D. Tex. Aug. 2, 2012) (“According to Dr. Engstrom, it is standard

in the area of political science for confidence intervals to be set at 95%.”); see also CM/ECF Doc.



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          Notably, while in the district court, the plaintiff’s expert in Cane, like Dr. Barreto here, tried to offer a
homogenous precinct election analysis. Like this court, the district court in Cane rejected that effort because, in order
for that analysis to be proper, “the actual vote in precincts [must be] at least 90% or more of one race,” which, like
here, was not met in Cane. 840 F. Supp. 1081, 1087 (D. Md. 1994); see also Ala. State Conf. of N.A.A.C.P. v. Ala.,
612 F. Supp. 3d 1232, 1275 (M.D. Ala. 2020) (“The homogeneous precinct analysis requires a geographical unit
where 90% or more of the voters are of a single race.”).

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212 at 77 (collecting cases). Plaintiffs make no attempt to explain why Dr. Barreto ignored this

standard here. Instead, Plaintiffs merely claim that “it is not necessary to ‘rely on confidence

intervals where voting patterns [a]re consistent.’” CM/ECF Doc. 211 at 122 (quoting N.A.A.C.P.,

Spring Valley Branch v. East Ramapo Cent. Sch. Dist., 462 F. Supp. 3d 368, 390 (S.D.N.Y. 2020)).

       In making their consistency argument, though, Plaintiffs leave out the most important part

of their selective quote from East Ramapo: that the consistency that courts care about is the

consistency between the statistics that an expert has created and “the anecdotal evidence year after

year.” 462 F. Supp. 3d at 390. Without anecdotal evidence, the only thing consistent about charts

like Dr. Barreto’s EI table is that the top three “point estimates” are shaded one color, and everyone

else is shaded another. As shown in the most recent City Commission election that Dr. Barreto

reviewed, specifically, the results for Candidate Salinas, the surnames in charts like Dr. Barreto’s

are not enough to gauge whether a candidate is in fact the preferred candidate of the Latino

community. See RPFoF¶¶ 147-50. More is needed, and, as is true of so much of Plaintiffs’ case,

that something more is missing.

       Typically, in these types of cases, the plaintiffs put on evidence that particular candidates

are widely favored by the minority group in question or that the minority group in question tends

to think alike politically. See, e.g., Cane v. Worcester Cnty., Md., 840 F. Supp. 1081, 1089 (D. Md.

1994) (citing testimony from the President of the local chapter of the NAACP that “the County’s

African-American Community is . . . politically active” and that the “African-American

community ‘worked together like a family’” on “a redistricting proposal” when reaching its

conclusion “that African-Americans are politically cohesive in Worcester County”). This is so,

because, as noted by the Tenth Circuit, such evidence “would seem to be required if the court is to




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identify the presence or absence of distinctive minority group interests.” Sanchez v. Bond, 875

F.2d 1488, 1494 (10th Cir. 1989).

         Here, there is an absolute paucity of such evidence. To begin with, Latinos generally, and

Latinos in Dodge City specifically, are not monolithic. DFoF ¶ 20. As noted by Plaintiff Rangel-

Lopez, not all Latinos share the same political ideology, and “the ethnicity of a candidate tells us

nothing about whether a majority of voters of any particular ethnicity support the candidate.” DFoF

¶ 20. Thus, just because a candidate is Latino does not mean that Latinos in the community support

them. DFoF ¶ 20. Furthermore, there is no evidence that there is any issue—including how City

Commissioners are elected—that has divided Whites and Latinos and galvanized a divide between

those two groups. DFoF ¶ 55. With regard to specific candidates, the same is true.

         Initially in this case, the Court was told that “[t]he following Latine-preferred candidates

have unsuccessfully run for the Dodge City Commission: Fernando Jurado in 2000, Jose Vargas

in 2006, Liliana Zuniga in 2014 and 2017, and Blanco Soto in 2021.” CM/ECF Doc. 1 at ¶ 61.

Plaintiffs maintained that position when they later filed their Amended Complaint. CM/ECF Doc.

30 at ¶ 62. At the pretrial stage, Plaintiffs pivoted away from Messrs. Jurado 8 and Vargas and

replaced them with Ms. Jan Scoggins, who Plaintiffs claimed was the Latino preferred candidate

in the 2017 and 2014 City Commission elections. CM/ECF Doc. 140 at 7.

         At trial, Plaintiffs failed to produce any anecdotal evidence that Latinos as a group, as

opposed to the two plaintiffs, supported any of the then-professed Latino preferred candidates of




8
         At least with regard to Mr. Jurado, it is clear why Plaintiffs eventually gave up pursuing their section 2 claim
based on him—Mr. Jurado believes that race had nothing to do with his unsuccessful run. DFoF ¶ 62. Rather, it appears
that Mr. Jurado was initially cited solely because he, like the other three listed, had a Latino surname. Compare Am.
Compl., CM/ECF Doc. 30 at 30 ¶ 62 (listing Fernando Jurado as a Latino-preferred candidate in 2000) with Pls.’ Ex.
121 (omitting analysis of the 2000 Dodge City Commission election) and Jurado Dep., CM/ECF Doc. 199 Ex. A at
15:7-13 (noting Mr. Jurado believed he lost election 2000 because he did not campaign aggressively enough).

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choice. 9 For starters, Plaintiffs did not call Ms. Zuniga or Ms. Soto to talk about their unsuccessful

campaigns or to discuss why they purportedly believed they were the Latino preferred candidate

of choice. While Plaintiffs did call Ms. Scoggins, Plaintiffs never asked for and Ms. Scoggins

never provided a basis to believe she was actually a Latino preferred candidate. Ms. Scoggins did

talk about her campaign, but she indicated that she spoke only with groups that apparently had

White members. DFoF ¶ 166. Ms. Scoggins also testified about her 2019 information request that

we have heard so much about, but she gave no indication that that request was intended to benefit

Latinos. DFoF ¶ 114. Similarly, Ms. Scoggins did not recount anything that she had done as a City

Commissioner to specifically benefit the Latino community in Dodge City. Thus, other than

Plaintiffs’ argument that Ms. Scoggins is the preferred Latino candidate, there is no evidence that

that is indeed true.

         Plaintiffs’ other witnesses do not make up for this lack of candidate testimony. Only two

fact witnesses mentioned Candidate Zuniga. The first, Ms. Melissa McCoy, merely stated that Ms.

Zuniga did not run in 2017 due to health reasons. DFoF ¶ 63. The second, Plaintiff Coca, stated he

“somewhat kn[e]w [Zuniga] personally” and that she was “in the Hispanic Community.” Trial Tr.

Vol. III at 131:9-17. However, he, like Plaintiff Rangel-Lopez, did not testify that he voted for Ms.

Zuniga then or that he knew anyone who had. This testimony (or lack thereof) does not reasonably

lead to the conclusion that Ms. Zuniga was the Latino candidate of choice in 2014 or in 2017,

particularly when it is uncontroverted that she did not actually run in 2017.




9
          Regarding Dr. Barreto’s “demonstrative exhibits” that purportedly “show[ed] the demographic and physical
divisions within the Dodge City,” they were just a repackaging of Dr. Barreto’s flawed “racially polarized voting
analysis.” CM/ECF Doc. 211 at ¶¶ 204-207; see also Trial Tr. Vol. II at 73:2-8 (“These are just visualizations of what
the racially polarized voting data tells us about North Dodge and South Dodge.”). This had to be the case because, if
it were otherwise, Dr. Barreto’s “demonstrative exhibits” would have constituted improper and untimely supplements
to his report. Trial Tr. Vol. II at 76:21-77:19. Accordingly, these “demonstrative exhibits” should not be viewed as
providing additional evidence regarding supposed Latino preference in Dodge City.

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       As for Ms. Soto, both Plaintiffs did at least say that they had voted for her, and Mr. Coca

indicated that she had attended events in the Hispanic community. But once again, neither Plaintiff

said anything about how much support Ms. Soto had received from other Latinos in Dodge City

or what other Latinos thought of her. Ms. Monica Vargas, who has never lived in Dodge City,

Trial Tr. Vol. I at 204:9-12, did testify that the union that she works for endorsed Ms. Soto, id. at

197:2-3. However, this endorsement was based on responses to “a basic questionnaire” and Ms.

Vargas’s apparent belief that Ms. Soto had “shown a lot of commitment to work[ing]” for her

union’s members. Id. at 197:4-9. How Ms. Soto had “work[ed]” for her union’s members or

whether Ms. Soto’s “work[]” was solely on behalf of the union’s Latino members or the

membership as a whole Ms. Vargas did not say. Regardless, as Ms. Vargas indicated that her belief

was that “Dodge City meatpacking workers” are “very little” involved “in local politics,” id. at

196:3-20, it appears that the endorsement decision did not come from the union’s Latino members,

but, rather, someone in the union’s corporate headquarters in Wichita, id. at 206:9-207:1. With

respect to Ms. Scoggins, no one, including Ms. Scoggins, testified about what she had done for

Latinos in Dodge City or why Dodge City Latinos favor her.

       In sum, there is no “consistent” showing that actual Dodge City Latinos supported the

candidates that Dr. Barreto’s tables purportedly showed that they did. The problem with this and

having to rely essentially solely on an expert’s statistics to support a finding of cohesion is

highlighted in Plaintiffs’ own proposed findings and conclusions of law. According to Plaintiffs,

“the most-preferred candidate by Latinos” in the 2017 City Commission election was Mr. Charles

Sellens. CM/ECF Doc. 211 at ¶ 148. If the Court cannot recall hearing that name before, there is

good reason for that: Mr. Sellens’ name was never uttered before in this litigation—not at trial, not

in the Pretrial Order or earlier briefing, and not in Plaintiffs’ Amended and Original Complaints.



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Mr. Sellens is an absolute enigma. The same is true for the so-called “most preferred candidate by

Latinos” in 2019, Mr. Adam Hessman. Id. at ¶ 149. Now, Mr. Hessman did get one shout-out at

trial, but it was just Dr. Barreto discussing his EI tables. Trial Tr. Vol. II at 136:18-137:4. No fact

witness said anything about Mr. Hessman or provided any reason to believe that what Dr. Barreto’s

tables showed for 2019 married up, at all, with reality. As for the so-called “most-preferred

candidate[s] by Latinos in 2021 and 2014, they were Ms. Scoggins and Ms. Zuniga, respectively.

As discussed, other than the fact that Dr. Barreto’s tables say so, there is nothing in the record that

suggest that Mses. Scoggins and Zuniga were the Latino preferred candidates in 2021 or 2014.

Thus, naked “point estimates” like the ones that Dr. Barreto provided tell us nothing, especially in

a case like this where only a few percentage points separate most “point estimates” and, with just

one exception, the confidence interval for every “point estimate” for White voters is completely

subsumed by the corresponding confidence interval for the Latino voters’ “point estimate.”

   C. Dr. Barreto’s EI analysis does not show Latino cohesion or that so-called Latino
      preferred candidates always lose.

       Overlooking for the moment the lack of data and the unreliability of Dr. Barreto’s “point

estimates,” Dr. Barreto’s EI analysis still fails because it does not show Latino voter cohesion or

a lack of success for the so-called Latino preferred candidate. Before getting to that, though,

Plaintiffs’ argument that “King’s EI is the most accurate model to understand multi-candidate

elections” must be addressed. PFoF ¶ 144. Simply put, this argument is false because King’s EI is

not meant for multi-vote, multi-candidate elections like those held for Dodge City Commission.

RPFoF ¶ 143-46. King’s EI may indeed be the “gold standard of voting rights cases” in elections

involving just two candidates and one vote, PFoF ¶ 143, but this case does not involve such

elections. As even Dr. Barreto concedes, elections in which voters “get three votes [are] quite

different contest[s] than just a two-person vote for one.” DFoF ¶ 228. As noted by Dr. Katz, the

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RxC model was specifically designed to address the former—to “generalize[ King’s] ecological

inference to allow for more than two candidates and more than two groups.” DFoF ¶ 211.

       Despite being called to rebut Dr. Katz, Dr. Barreto said nothing about RxC’s origins nor

did he attempt to refute the fact that RxC was created for more multi-candidate, multi-vote races.

Additionally, Dr. Barreto did not opine on why the RxC model was created, why RxC is viewed

as the “second version of ecological inference,” or what problem statisticians, including the

founder of King’s EI, intended to fix by developing the RxC model “some years” after King’s EI

was first formed, DFoF ¶ 210. The reason Dr. Barreto did none of the aforementioned is because

it is well established that the RxC model “is an improved EI technique that can generate estimates

for more racial group and more candidates.” N.A.A.C.P. v. East Ramapo C. Sch. Distr., 462 F.

Supp. 2d 368, 382 (S.D.N.Y. 2020) (a case in which Dr. Barreto and his former student, Dr. Loren

Collingwood, were RPV experts together in favor of the plaintiff). Specifically, the RxC method

is the method that is viewed as being the one “appropriate for analyzing elections with more than

two candidates or more than two racial or ethnic groups.” Petteway v. Galveston County, --- F.

Supp. 3d ----, 2023 WL 6786025, at *15 (S.D. Tex. Oct. 13, 2023) (a case in which Dr. Barreto

was an RPV expert in favor of the plaintiff). Thus, Dr. Barreto’s statement that “King’s EI is the

most accurate model to understand multi-candidate elections” is nonsense, PFoF ¶ 144, and

appears to be an instance in which Dr. Barreto is merely saying what he thinks he needs to “to suit

the exigencies of the moment,” Pierce v. N.C. State Bd. of Educ., --- F.4th ----, 2024 WL 1321267,

at *12 (4th Cir. Mar. 28, 2024).

       Equally nonsensical is Dr. Barreto’s implication that King’s EI should be used here, even

though it is designed for binary elections, DFoF ¶ 211, because his research shows that the results

from King’s EI are “striking[ly] consisten[t]”—“almost identical”—to those from the RxC



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method, DFoF ¶ 210. Clearly, if the results were in fact “almost identical,” there would be no need

to resort to King’s EI—Plaintiffs would just point to the methodology that was specifically

designed for this type of case, the RxC method. The reason Plaintiffs rely on the King’s EI

methodology, see PFoF ¶¶ 147-52 & 157-62, is because it purports to show differences much

greater than those under the RxC method. As the Court noted during trial, “the difference columns

between the two methods are much more in variant than in some of the[] other elections that Dr.

Barreto reviewed.” Trial Tr. Vol. II at 99:22-24. For instance, in the 2021 Dodge City Commission

race, Ms. Jan Scoggins went from purportedly being the clear favorite of Latinos applying the

King’s EI to having her apparent support cut more than in half and barely making the top three

candidates for Latinos under the RxC method. See Pls.’ Ex. 121 at 1. Tellingly, Dr. Barreto has no

answer for this; rather, he only has a “theory.” DFoF ¶ 228.

       Dr. Barreto’s own “theory,” when compared to the actual results in the endogenous

elections he reviewed, cuts against applying King’s EI in this case. According to Dr. Barreto, his

“theory” is that the RxC method does “a little bit more averaging” than King’s EI so “the

differences [between candidates] get smaller.” Trial Tr. Vol. II at 99:22-100:22. Due to the RxC

method purportedly “just r[unning] one regression for all [] candidates across Latinos and non-

Latinos,” Dr. Barreto hypothesizes that King’s EI binary approach of running each candidate

“versus the field” in multiple regressions is “the most accurate way to understand voting

preferences.” Id. However, when the King’s EI results are stood up to actual election results, they

fall down and confirm that the results from King’s EI should not be used here. See, e.g., Cane v.

Worcester County., 35 F.3d 921, 925 (4th Cir. 1994) (affirming a district court’s reliance on actual

election “results” and corresponding rejection of “the two statistical methods used by the parties’

experts to evaluate voting behavior [on the ground the experts] failed to produce reliable statistical



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evidence because of the lack of available data and a truncated analysis caused by the small number

of districts and a lack of a majority African-American district”).

       Looking at the actual election results for 2021, specifically the results in Precinct 3 (the

most homogenously Latino precinct in all of Dr. Barreto’s analysis based on election turnout,

DFoF ¶ 49), it is apparent that the RxC method more accurately captures what occurred than King’s

EI does. King’s EI purportedly shows that Ms. Scoggins was wildly more popular amongst Latinos

than any other candidate. This showing is belied by the actual results, though. In Precinct 3, which,

again, had nearly 60% Latino turnout, Ms. Scoggins was not the clear winner. DFoF ¶ 49. In fact,

she was not even a winner. Rather, she came in fourth—with the top four vote getters all being

closely clustered, which is consistent with the tight clustering that was shown with the RxC

method. As for the person with the least number of actual votes in Precinct 3 (Mr. Dayton Rhoten),

Dr. Barreto’s King’s EI analysis showed him as still having nearly one-and-a-half times the support

of Mr. Jeffrey Reinert, who had received over five times the actual number of votes in Precinct 3

than Mr. Rhoten. See Pls.’ Exs. 40, 121 at 1. Under the RxC method, Mr. Reinert was shown, more

sensibly, to have nearly twice as much support from Latinos as Mr. Rhoten. Pls.’ Ex. 121 at 1.

There may be a perfectly good reason for the counterintuitive results that the application of King’s

EI created in this case, but Dr. Barreto’s “theory” is not it. Accordingly, Dr. Barreto’s King’s EI

analysis should not be credited here.

       1. There is no discernable Latino voter cohesion in this case.

       It is worth noting at the outset that Plaintiffs have offered no evidence of racially polarized

voting or vote counts for the November 2023 City Commission election. Not only was this the

most recent City Commission election, but it was also the first election that Latinos constituted the

largest CVAP in Dodge City. It is recognized that the most “recent elections are the most probative

in determining vote dilution.” Levy v. Lexington Cnty., S.C., Sch. Dist. Three Bd. of Trustees, 2012
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WL 1229511, at *13 (D.S.C. Apr. 12, 2012) (granting judgment to the defendants because the

plaintiffs had failed to show bloc voting in the most recent elections). This is especially true where

“environmental change occurs,” such as a substantial increase in a minority groups’ CVAP

numbers like has transpired in Dodge City, see Def.’s Ex. 518 at 2 (Latino CVAP has nearly

doubled in just twelve years), and does so very in the very recent past. Uno v. City of Holyoke, 72

F.3d 973, 992 (1st Cir. 1995). This failure of proof cuts against Plaintiffs, as it is their burden to

show racially polarized voting.

       Considering the most recent results for the elections that Dr. Barreto reviewed—2021,

2019, and 2017, they do not show Latino voter cohesion. In 2021, Plaintiffs’ self-proclaimed “most

preferred” Latino candidate, Jan Scoggins, was outperformed by Chuck Taylor, Michael Burns,

and Joe Nuci in Precincts 2 and 3, which are located in “South Dodge” and were the most

homogenously Latino of all of the precincts in all of the City Commission races Dr. Barreto

reviewed. RPFoF ¶¶ 147-50. What’s more, Messrs. Taylor, Burns, and Nuci were the top-three

vote-getters in Precincts 5 and 6, which are in “North Dodge” and were two of the most

homogenously White precincts in 2021. Id. Finally, last but certainly not least, a Latino, Mr. Nuci,

was elected in 2021. Thus, the actual results in 2021 do not show racial vote cohesion, at least not

in the way Plaintiffs allege.

       2019 presented a similar story. Again, a Latino candidate, Mr. Nuci, won. Furthermore, the

top vote-getters in the most-Latino precincts, Precincts 2 and 3, see Def.’s Ex. 465 at 1, were the

top voter-getters in two of the most-White precincts, Precincts 5 and 6, see id. See Pls.’ Ex. 36.

       For 2017, Plaintiffs did not present any election results. The only thing that we know about

this campaign is that the so-called “most preferred” Latino candidate in 2014 dropped out of the

2017 race. Pls.’ Ex. 121 at 3 (showing Candidate Zuniga was a Latino-preferred candidate in the



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2014 election); Trial Tr. Vol. IV at 78:2-13 (noting Candidate Zuniga dropped out of the 2017 race

for health reasons).

        The information about the 2014 City Commission election is even more scarce, as no fact

witness or admitted exhibits discuss it. Thus, even if an election that occurred when Latinos likely

had 1.5 times less eligible voters than they do now was probative, which seems like a dubious

proposition, we know nothing about the 2014 election—other than what Dr. Barreto tells us.

        Dr. Barreto’s RxC analysis, though, is not helpful. Under this method, in all but one of the

four City Commission elections that Dr. Barreto reviewed, 5% or less separated the candidate with

the highest “point estimate” from the candidate with the fourth highest “point estimate,” the latter

of whom Dr. Barreto indicated should not be viewed as being Latino preferred. 10 In 2021, the

difference was 3.5%; in 2019, it was 4.8%; and in 2017, it was 2.2%. See Pls.’ Ex. 121 at 1-3. The

one exception in which the difference was greater than 5% occurred nearly ten years ago, where

7.1% separated the first and fourth candidate. Id. at 4. Furthermore, less than 2% separated the

candidate with the third highest “point estimate,” i.e., the last so-called Latino preferred candidate,

and the candidate with the fourth highest “point estimate” in all of Dr. Barreto’s City Commission

elections. DFoF ¶ 216. In 2021, the difference was .6%; in 2019, it was 1.9%; in 2017, it was .6%;

and in 2014, it was .9%. Pls.’ Ex. 121 at 1-4.

        At trial, the Court asked Plaintiffs’ counsel whether there was a “threshold” for determining

cohesion. Trial Tr. Vol V at 7:8-15. Counsel effectively responded with the Justice Potter Stewart

standard: “you’ll know it when you see it, Your Honor.” See id. at 7:16-9:5. In their findings and

conclusions, Plaintiffs provide no support for the Justice Stewart standard or any other one for that

matter. However, courts have made clear that cohesion does not exist if Latino voters “do not


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         According to Dr. Barreto, since there are three open seats, the candidates with the three highest “point
estimates” for Latino support should be viewed as Latino preferred. DFoF ¶ 216.

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coalesce around one particular type of candidate [or, in this case, three candidates],” but, rather,

“split” their vote. Kumar v. Frisco Indep. Sch. Dist., 476 F. Supp. 3d 439, 503 (E.D. Tex. 2020);

see also CM/ECF Doc. 212 at 82 (collecting cases). Counsel is unaware of, and Plaintiffs have not

cited to, any case that has found cohesion where a difference of 7% or less separated the so-called

most preferred candidates from non-preferred candidates, especially when the statistical analysis,

like the one performed by Dr. Barreto here, is based on an extremely small data set, relies on a

myriad of assumptions and estimates, and deviates from standard practice in the field and provides

no confidence interval for the “point estimates.” In fact, the law is to the contrary. See, e.g., Irby

v. Va. State Bd. of Elections, 889 F.2d 1352, 1358 (4th Cir. 1989) (“Most, though not all, of the

statistical disparity would vanish in Petersburg if one more black were appointed to the school

board. The wide statistical swing produced by the addition of a single black school board member

in each of the three jurisdictions raises serious doubts as to whether the disparities are statistically

significant.”).

        2. So-called Latino preferred candidates have won and have done so many times.

        Plaintiffs’ statement that, “[i]n all [reviewed Dodge City Commission] elections, the

Latino-preferred candidate did not win election” is based on a misunderstanding of the testimony.

Dr. Barreto did not say that only the candidate with the highest “point estimate” in his analysis

should be viewed as Latino preferred. No, he said that, in light of the fact that there are three open

seats in each Commission election, the three candidates with the highest “point estimates” should

be viewed as preferred. DFoF ¶ 216. When that standard is applied, the so-called Latino preferred

candidates did not just win seats, they won half of the seats that were available, which, as discussed

more fully below in the bloc voting section, precludes a finding that White voters “usually” vote

to defeat the Latino preferred candidate. See Section II, infra.



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   D. Dr. Barreto’s exogenous elections are not able to show what his endogenous ones do
      not.

       The 20 exogenous elections that Dr. Barreto reviewed are of no help to Plaintiffs. For

starters, 18 of these elections are partisan, two-candidate, one-vote elections, which even Dr.

Barreto recognizes are “quite different” than the type of races at issue here. DFoF ¶ 196. In light

of this difference, as well as the fact that these exogenous elections seemingly show polarization

that looks nothing like what was seen in the endogenous elections, the Court should give them no

weight. Plaintiffs’ claim that there is “no authority to support this proposition” is baseless. As set

forth in Defendants’ proposed findings and conclusions, while it is possible that exogenous

elections may be probative in certain cases, they offer little to no assistance when the exogenous

elections are fundamentally different from the ones in question and show disparities that the

endogenous elections do not. See CM/ECF Doc. 212 at 86 (collecting cases); see also LULAC v.

Clements, 999 F.2d 831, 850 (5th Cir.1993) (indicating that elections results should be discounted

when “partisan affiliation, not race, best explains the divergent voting patterns among minority

and white citizens”). This is so because exogenous elections “should be used only to supplement

the analysis of the specific election at issue,” not serve as a replacement for them as Dr. Barreto’s

exogenous elections clearly are here. Clay v. Bd. of Educ. of City of St. Louis, 90 F.3d 1357, 1362

(8th Cir. 1996) (affirming rejection of expert’s analysis that relied “much” on exogenous

elections); accord Cisneros v. Pasadena Indep. Sch. Dist., 2014 WL 1668500, at *22-23 (S.D.

Tex. Apr. 25, 2014) (finding Dr. Barreto’s “exogenous elections [not] to be particularly probative

of voting patterns for the non-partisan PISD Board elections” because “the exogenous elections

chosen by Dr. Barreto are not similar to the endogenous elections in a critical respect[—they were

partisan], and the results from the exogenous elections run counter to the results from the

endogenous elections”).


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       As for the remaining two exogenous elections that Dr. Barreto reviewed (2021 School

Board and 2019 DCCC Trustees), they provide no “stark evidence of polarization” as Plaintiffs

claim. Before getting to the lack of polarization in these elections, it is worth noting that the same

fluctuations and disparities between King’s EI and the RxC method that the Court highlighted in

the endogenous election context persist with regard to the School Board and DCCC Trustees

elections. For example, in 2021, School Board Candidate Killion went from being one of the least

Latino preferred candidates under King’s EI to having his Latino support doubled by the RxC

method and becoming a Latino preferred candidate. Pls.’ Ex. 121 at 1. Two other candidates in the

2021 School Board race (West and Zortman) also had their percentage of Latino support doubled

when the switch from King’s EI to the RxC method was made. Id. A similar phenomenon occurred

in the 2019 DCCC Trustees race. Id. at 2. Candidate Turley went from being a preferred Latino

candidate under King’s EI to having his support cut nearly in half under the RxC method and no

longer being a Latino preferred candidate. Id. Conversely, Candidate Hampton had his level of

Latino support tripled in the switch from King’s EI to the RxC method and he skyrocketed from

purportedly being one of the lowest Latino supported candidates to being just 1.3% from being a

Latino-preferred candidate. Id. Candidate Wells saw a similar, but not as drastic, jump as Hampton,

as his level of Latino support doubled from the move. Id. Again, Dr. Barreto does not have an

answer for this; he only has a “theory,” a “theory” that, based on the actual results in the multi-

candidate, multi-vote elections that were reviewed, confirms why RxC is more accurate and

reliable than King’s EI in cases like this.

       Looking now at the election results for the School Board and DCCC Trustees, they do not

show polarization. In the 2021 School Board election, only 5.2% of support separated the allegedly

“most preferred” candidate under the RxC method from the “least preferred” candidate in the 10-



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person, 4-seat race. Id. at 1. Remarkably, the so-called least Latino preferred candidate under RxC

(Candidate Roths) was actually a Latino preferred candidate under King’s EI. Id. Additionally,

just .4% of support separated the fourth-place finisher for Latino support under the RxC method,

i.e., the last person Dr. Barreto indicated should be viewed as a Latino preferred candidate, from

the fifth, sixth, and seventh place finishers, persons who Dr. Barreto stated should not be viewed

as being preferred. Id.

       Similar results occurred in the 2019 DCCC Trustees race. 5.9% was the spread between

the purported most and least Latino preferred candidates in this 7-person, 3 seat race. Id. at 2. The

difference between the third-place finisher and the fourth- and fifth-place finisher was 1.4% or

less. Id. at 2. Counsel has not found, and Plaintiffs have not cited to, any cases indicating that

infinitesimal differences like those purportedly found by Dr. Barreto are actionable, especially

when Dr. Barreto’s analysis is based on extremely limited data, relies on a myriad of assumptions

and estimates, and deviates from standard practice in the field. In fact, the law is to the contrary.

See, e.g., Irby, 889 F.2d at 1358.

II. Plaintiffs have not shown that racial bloc voting is occurring.

       Plaintiffs boldly proclaim that “[t]he undisputed evidence shows that White voters in

Dodge City vote cohesively and in opposition to Latino voters in almost all elections and that they

do so at a rate sufficient to defeat the minority-preferred candidate consistently.” CM/ECF Doc.

211 at 125. The evidence does no such thing. Dr. Barreto’s own analysis shows that White and

Latinos favor the same candidate at least half of the time and that Latino preferred candidates win

at least half of the available seats, despite Latinos voting at half the rate of Whites. Sensing that

they cannot win under any objective standard, Plaintiffs argue for a “sliding scale” approach. Id.

at 124. While the Tenth Circuit has stated that “a flexible approach” to Gingles III should be



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employed to avoid “isolated success” of preferred candidates, the approach applied cannot be so

flexible that it effectively does away with Gingles III’s standard, which is: “the white majority

votes sufficiently as a bloc to enable it . . . usually to defeat the minority’s preferred candidate.”

Gingles, 478 U.S. at 51 (emphasis added).

         Where, as is the case here, the Latino preferred candidate wins half of all of the available

seats, courts have found, time and again, that it cannot be said that White voters “usually” defeat

the minority’s preferred candidate. See, e.g., Johnson v. Hamrick, 296 F.3d 1065, 1081 (11th Cir.

2002) (finding “no error in the district court’s finding that the plaintiffs cannot prevail under the

third prong of Gingles” because “the preferences of the White and African–American communities

have often been the same, or extremely close to one another, and that the African–Americans’

candidates of choice have prevailed as frequently as they have lost, some 45.5 percent of the

time”); Lewis v. Alamance County, 99 F.3d 600, 606 n.4 (4th Cir. 1996) (collecting cases and

stating: “[w]e need not in this case specify a meaning for the[] terms [‘usually,’ ‘normally,’ and

‘generally’]; suffice it to say that they mean something more than just 51%”); Clarke v. City of

Cincinnati, 40 F.3d 807, 812-13 (6th Cir. 1994) (“[H]owever, 47 percent of blacks’ preferred black

candidates were elected. This success rate gives us no reason to find that blacks’ preferred black

candidates have ‘usually’ been defeated.”); United States v. Alamosa County, 306 F. Supp. 2d

1016, 1023 (D. Colo. 2004) (“[T]he Court cannot conclude that ethnic bloc voting ‘usually’ results

in the defeat of the minority-preferred candidate” when, “[c]onstruing the evidence most favorably

to the Government, this tally shows that, at most, ethnic bloc voting defeated the Hispanic

candidate in 50% of the elections.”); 11 Armstrong v. Allain, 893 F. Supp. 1320, 1330 (S.D. Miss.



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          Although the Almamosa court stated that it had construed the Gingles III evidence in the light most favorable
to the plaintiff, it appears that it did so only for effect, as, at this point, Plaintiffs’ evidence is no longer reviewed in a
light most favorable to Plaintiffs.

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1994) (“The parties have stipulated that since 1970, 132 of 270 bond issues in this state—nearly

one-half —have been passed. This figure alone suggests that white bloc voting does not exist to

such an extent that a white voting bloc is “usually” able to defeat the minority’s choice on the

ballot.”); see also McConchie v. Scholz, 577 F. Supp. 3d 842, 859 (N.D. Ill. 2021) (three judge

panel) (“Latino-preferred candidates’ electoral victories are powerful evidence that there is an

absence of majority bloc voting (either by a White-bloc or by a non-Latino-bloc).”). Plaintiffs have

not cited any contrary authority; rather, they merely ask for the Court to take into account all of

the relevant “factual circumstances.” CM/ECF Doc. 211 at 124.

       The relevant “factual circumstances” in this case do not help Plaintiffs. Starting with the

statistical evidence, according to Dr. Barreto’s own analysis, a change of merely 1.6% of the Latino

vote in 2021 in favor of Candidates Nuci and Burns would have resulted in Whites and Latinos

favoring the same three candidates and the so-called Latino preferred candidates winning all of the

possible seats. Pls.’ Ex. 121 at 1. Similarly, a change of only 4.8% of the Latino vote in 2019 in

favor of Candidate Nuci would have resulted in Whites and Latinos favoring the same three

candidates and the so-called Latino preferred candidate winning all of the possible seats. Id. at 2.

In 2017, a change of 1.3% of the Latino vote and .2% of the White vote in favor of Candidate

Smoll would have resulted in White and Latinos favoring the same three candidates and the so-

called Latino preferred candidate winning all of the possible seats. Id. These small differences,

coupled with the uncontroverted wide confidence intervals, as well as utter lack of evidence of

racial animosity amongst Dodge City’s many and varied races or divide in the community

regarding any political issue, do not support the notion that Whites and Latinos are consistently

voting for different candidates and that Whites “usually” defeat the Latino candidate of choice.

See, e.g., Irby v. Va. State Bd. of Elections, 889 F.2d 1352, 1358 (4th Cir. 1989) (“Most, though



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not all, of the statistical disparity would vanish in Petersburg if one more black were appointed to

the school board. The wide statistical swing produced by the addition of a single black school

board member in each of the three jurisdictions raises serious doubts as to whether the disparities

are statistically significant.”). As a result, Plaintiffs cannot prevail on Gingles III. See, e.g.,

Johnson v. Hamrick, 296 F.3d 1065, 1074 (11th Cir. 2002) (“[P]laintiffs seeking to establish the

third Gingles factor “must show not only that whites vote as a bloc, but also that white bloc voting

regularly causes the candidate preferred by black voters to lose; in addition, plaintiffs must show

not only that blacks and whites sometimes prefer different candidates, but that blacks and whites

consistently prefer different candidates.” (Emphasis in original)).

       Plaintiffs’ claim that “[t]he lack of Latino candidates being elected in the history of the at-

large voting system in Dodge City is powerful evidence that the non-Latino majority will ‘usually’

defeat the Latino minority’s preferred candidate” falls flat. CM/ECF Doc. 211 at 125. The analysis

is not as myopic as Plaintiffs suggest. “The Court must scrutinize carefully ‘the countervailing

evidence of other causative agents’ that might explain Hispanic lack of success before concluding

that ‘the record sustains a claim that racial politics—specifically, the interaction of race and the

electoral system—have resulted in significantly diminished opportunities for participation in

elective government.’” Vecinos de Barrio Uno v. City of Holyoke, 960 F. Supp. 515, 521 (D. Mass.

1997) (quoting Uno v. City of Holyoke, 72 F.3d 973, 983-84 (1st Cir. 1995)).

       Here, in the four election cycles that Plaintiffs analyzed, three Latino candidates ran: (1)

Joe Nuci in 2021 and 2019, (2) Blanco Soto in 2021, and (3) Liliana Zuniga in 2017 and 2014. As

learned at trial, Ms. Zuniga did not actually campaign in 2017. Thus, Latinos have really only run

for four seats, winning two of them. Both of these facts are significant. See, e.g., United States v.

Alamosa County, 306 F. Supp. 2d 1016, 1032 (D. Colo. 2004) (finding Gingles III in the



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defendants’ favor and noting that “Hispanic candidates have been elected as county commissioners

not once, but three times in the last twenty years” and “ha[d] prevailed in 60% of the elections in

which they competed” (emphasis added)); see also Irby, 889 F.2d at 1358 (affirming the district

court’s rejection of a section 2 claim, despite there being a “‘significant disparity’ in Buckingham

and Halifax counties between the percentage of blacks in the population and the racial composition

of the school boards,” because “[t]he evidence showed that ‘although blacks comprise a large

portion of the population, they are not seeking school board seats in numbers consistent with their

percentage of the population’”).

       As for the two seats that Latinos did not win, the evidence in the record demonstrates that

these losses had nothing to do with race. Regarding Ms. Soto, she did not run an effective campaign

in 2021. As Mr. De La Rosa recounted, people in the community were asking at the time, “why

isn’t she campaigning”? Trial Tr. Vol. IV at 23:16-24:14. Following the defeat, people blamed the

loss on Ms. Soto “start[ing] late to a campaign.” Trial Tr. Vol. III at 317:6-318:15. With respect

Ms. Zuniga’s 2014 campaign, Plaintiffs presented no evidence regarding it. Instead, it appears that

Plaintiffs rely wholly on the fact that Ms. Zuniga is apparently Latino. However, as Plaintiff

Rangel-Lopez agreed, in Dodge City, “the ethnicity of a candidate tells us nothing about whether

a majority of voters of any particular ethnicity support the candidate.” DFoF ¶ 20. Thus, the record

indicates that, on the only two occasions that a Latino ran for and lost a City Commission seat, the

the reason for the loss had nothing to do with race but was attributable to some other cause. See,

e.g., Teague v. Attala County, 1995 WL 1945393, at *8 (N.D. Miss. Mar. 20, 1995) (finding that

Gingles III was not met, despite “no black candidate for county office in Attala County ha[d] ever

received a majority of the White vote or ha[d] been elected in a majority White election district,”




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because “[t]he defendants presented several lay witnesses at trial that testified about factors other

than race which determined political preference and election outcomes in Attala County”).

       To the extent Plaintiffs are asking this Court to infer bloc voting based on the alleged lack

of Latino-preferred candidates on the Commission from 2000 to 2014, there is no basis for doing

so because the “court simply ha[s] no information as to which candidates . . . Hispanic voters had

supported in elections prior to [2014] . . . and it thus ha[s] no evidence which could lead it to

conclude that minority-preferred candidates usually lost races for the [Commission].” Valladolid

v. City of Nat’l City, 976 F.2d 1293, 1297 (9th Cir. 1992). Accordingly, Plaintiffs have not

sustained their burden of showing that racial bloc voting has or is occurring in Dodge City.

III. Plaintiffs did not show that Latinos will perform under a district-based election method,
     as is required.

       Not once in their nearly 150 pages of briefing do Plaintiffs cite to the Supreme Court’s

decision in Abbott v Perez, 585 U.S. 579 (2018), nor do they acknowledge the Supreme Court’s

admonition there that, “[u]nder Gingles, the ultimate question is whether a districting decision

dilutes the votes of minority voters, and it is hard to see how this standard could be met if the

alternative to the districting decision at issue would not enhance the ability of minority votes to

elect the candidates of their choice.” 585 U.S. at 617. Instead, Plaintiffs contend, without citation,

that “courts differ whether a performance analysis—i.e., an analysis proving that at least one of

the majority-minority districts in the illustrative maps gives the minority group an opportunity to

elect preferred candidates—is even necessary at all.” CM/ECF Doc. 211 at 113. There is a reason

that Plaintiffs do not cite to a single post-Abbott case to support their “courts differ” position: such

a division is illusory. As far as counsel has found, in every post-Abbott case in which performance

has been raised, the reviewing Court has required, as part of the plaintiffs’ burden, a showing that

the proposed map will perform in plaintiffs’ favor. See, e.g., Fusilier v. Landry, 963 F.3d 447, 462

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(5th Cir. 2020) (citing to Perez and reversing a section 2 finding because the plaintiffs failed to

carry their burden of showing “that their new districting schemed enhances their ability to elect

candidates of their choosing” as their proposed district had only a black voting age population of

53.33% but “a 56% black voting age population was required to ensure blacks have the opportunity

to elect their preferred candidate”); Anne Harding v. County of Dallas, 948 F.3d 302, 311 (5th Cir.

2020) (affirming denial of section 2 claim because, among other things, the “plaintiffs did not offer

any evidence at trial that would show how Republican candidates would fare in commissioner

elections under their Remedial Plan, and the Defendants did” (emphasis in original and internal

quotation marks omitted)).

       Plaintiffs acknowledge this burden, at least tacitly, by offering at trial Dr. Barreto’s

“performance analysis.” If a performance analysis is not necessary for a section 2 violation to be

found, then there would be no reason to offer such evidence at this stage. With that said, Dr.

Barreto’s “performance analysis” is insufficient to show performance. Plaintiffs do not challenge

and freely admit the fact that Dr. Barreto’s “performance analysis” is based on the proposed maps

that Dr. Oskooii drew. PFoF ¶ 208. To be considered in the Gingles analysis, though, proposed

maps must comply with the applicable districting rules. See Abbott, 585 U.S. at 617 (refusing to

consider performance analysis that is based on a map that would require breaking Texas’ “County

Line Rule”). Here, Plaintiffs concede that Dodge City “is correct that race cannot predominate the

map drawing process” and any map in which it does cannot be relied upon. CM/ECF Doc. 211 at

112. They nevertheless contend that “[t]here is zero evidence of racial predominance here.” Id. at

113. Plaintiffs are wrong.

       Realizing that map drawers, like other actors, rarely readily admit (and usually deny) that

race animated their challenged action, cf. Boss v. Castro, 816 F.3d 910, 916 (7th Cir. 2016)



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(“Direct evidence—an overt admission of discriminatory intent—is rare, and not at issue where,

as here, no supervisor admits racial motivation”), courts do not require direct evidence of racial

predomination in order to find it. Rather, racial predomination can be shown through such things

as “indications that attaining a racial percentage within a given district was nonnegotiable.”

Covington v. North Carolina, 316 F.R.D. 117, 129 (M.D.N.C. 2016), aff’d, 581 U.S. 1015 (2017).

That is exactly what we have here.

       Despite Dr. Oskooii dramatically changing the shape and configuration of his districts, and

Dr. Oskooii purportedly considering race in only two of his maps, the same racial percentages

persisted throughout all of Dr. Oskooii’s maps. As Dodge City showed at trial, and Plaintiffs do

not contest in their proposed findings and conclusions, each one of Dr. Oskooii’s maps share,

among others, the following 7 constants: (1) in Districts 1-3, Hispanics make up more than 55%

of the citizens of voting age population; (2) in Districts 1-3, Whites make up less than 40% of the

citizens of voting-age population; (3) in Districts 4-5, the White citizens of voting-age population

exceeds 60%; (4) in Districts 4-5, the Hispanic voting-age population is less than 30%; (5) in

Districts 1-3, there are approximately one-and-a-half times more Hispanic eligible voters than

White eligible voters; (6) in Districts 4-5, there are approximately two times more White eligible

voters than Hispanic eligible voters; and (7) Districts 4 and 5 always have approximately two times

more White eligible voters than the number of White eligible voters in Districts 1-3. DFoF ¶ 187.

       The aforementioned consistency was necessary because, without it, Dr. Oskooii’s maps

would not perform, as Latino voter turnout is roughly half of White voter turnout. This fact is

confirmed by Dr. Barreto’s “performance” tables, which show that, “based on current turnout,”

only those districts that have twice as many Latino voters or twice as many Latino and Black voters




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will perform and do so at the slimmest of margins. 12 In other words, the racial percentage constants

listed above had to be non-negotiables because, without packing White voters in proposed Districts

4 and 5, Districts 1 through 3 would not perform. Dr. Oskooii, Dr. Barreto’s former student,

frequent colleague in section 2 cases, and co-developer of the EI software used in this case, RPFoF

¶¶ 208-13; RPFoF ¶ 13, knew that and used his “discretion” to draw maps that cleared (ever so

barely) Abbott’s seemingly low performance threshold. As racial considerations predominated, Dr.

Oskooii’s maps cannot be relied upon for a “performance analysis,” nor can they be used to satisfy

Plaintiffs’ burden under Gingles I to put forth a “reasonable alternative voting practice to serve as

the benchmark ‘undiluted’ voting practice,” Reno v. Bossier Par. Sch. Bd., 520 U.S. 471, 480

(1997).

          Even if Dr. Oskooi’s maps and Dr. Barreto’s “performance analysis” could be considered,

though, Plaintiffs still have not shown that their ability to elect their so-called candidate of choice

is enhanced. Plaintiffs misconstrue Dodge City’s “demographic shift[]” argument as it relates to

performance. It is not Dodge City’s position that Latinos will “becom[e] a dominant political

group” sometime in the future; no, the argument is, as Mr. De La Rosa explicitly stated, and others

indicated, Latinos have the ability today to “flip” every seat if they wanted, DFoF ¶ 120, which

absolutely bears on the question of whether Plaintiffs’ proposed election alternative (districts) will

actually enhance Latino voters’ ability to elect their so-called candidate of choice. If minority

voters already have the ability to elect their candidate of choice, and there is no evidence that that

ability is being thwarted by some outside force or lingering vestiges of past discrimination, there

can be no section 2 violation. See, e.g., Salas v. Sw. Tex. Jr. Coll. Dist., 964 F.2d 1542, 1556 (5th



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         As noted in Dodge City’s proposed findings and conclusions, Dr. Barreto’s “enhanced turnout” tables should
not be credited at all, as Dr. Barreto effectively made up his multiplier, a multiplier that even Dr. Barreto cannot say
how big it was.

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Cir. 1992) (“Obviously, a protected class is not entitled to § 2 relief merely because it turns out in

a lower percentage than whites to vote.”).

       Here, as the largest plurality of voters (and near majority), Latinos have the ability to

exercise their political will. Furthermore, there is no evidence that others are attempting or have

attempted to strip Latinos of that ability by preventing them from registering to vote. Likewise,

there is no evidence that anyone in Dodge City has put up barriers to Latinos filing and running

for City Commission, a fact that Dr. Bejarano confirmed. DFoF ¶ 170. In fact, the evidence is to

the contrary, as multiple actors in Dodge City, including the City itself, encourage and assist

Latinos with the registration process. Trial Tr. Vol. III at 284:2-285:17 (City); Trial Tr. Vol. II at

18:22-20:6 (County); Trial Tr. Vol. I at 9:16-10:6 (local clubs) & 189:5-16 (local union).

Furthermore, the evidence shows that elections in Dodge City are intended and designed to

maximize voting from all Dodge Citians, with mail-in and three-week advance voting being

available and the City offering free door-to-door transportation for voters to vote in advance of or

on election day. See DFoF ¶¶ 122 & 128-135. Thus, if a voter wants to vote or a candidate wants

to run in Dodge City, they can.

       Dr. Bejarano’s testimony does not call into question the conclusions that naturally flow

from an assessment of the relevant evidence. Not only is Dr. Bejarano’s testimony regarding the

supposed effect of district-based election on Latino voting wrong as a general matter, but it is also

devoid of any appraisal of the facts unique to Dodge City as set forth above. Accordingly, Dr.

Bejarano’s testimony should not be viewed as credibly predicting what would happen in Dodge

City if the City was forced to abandon its long-held practice of at-large City Commission elections

for newly minted district-based elections.




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        In short, outside of pure speculation, there is no plausible basis to believe that moving to

district-based elections will do anything to positively impact Latino voters’ ability to elect their

candidate of choice.

        As for where exactly the “performance analysis” is performed, Dodge City agrees that the

law on the matter is unsettled. As said in its conclusions of law, Dodge City believes the analysis

fits most comfortably within Gingles I in light of that factor’s focus on the plaintiff’s proposed

maps, which is what a “performance analysis” is derived from. At least one court has stated that

such an approach “makes sense.” Harding v. County of Dallas, 336 F. Supp. 3d 677, 694 n.15

(N.D. Tex. 2018) (ultimately eliding on the issue, though, and “assum[ing] that plaintiffs ha[d]

satisfied each of the three Gingles prongs” on its way to concluding that no section 2 violation had

occurred because plaintiffs’ proposal was not effective), aff’d sub nom. Anne Harding v. Cnty. of

Dallas, Tex., 948 F.3d 302 (5th Cir. 2020). However, at least one other court appears to have

indicated that Abbott adds a fourth consideration to the Gingles preconditions, Anne Harding v.

Cnty. of Dallas, Texas, 948 F.3d 302, 311 (5th Cir. 2020) (analyzing performance apparently

outside of the Gingles preconditions, but not in the totality of the circumstances), while another

has said that the “performance analysis” is part of the totality of the circumstances analysis,

Fusilier v. Landry, 963 F.3d 447, 462 (5th Cir. 2020). Regardless of where the analysis is put, it

must be performed, and the conclusion to the “ultimate question” remains the same: Plaintiffs have

not shown that district-based elections will actually enhance Latino voters’ ability to elect their so-

called candidates of choice.

IV. Plaintiffs have not shown that the Senate Factors favor them.

        “Simply clearing the Gingles hurdles, while necessary to prove a possible violation of § 2,

is not sufficient to establish an actual violation.” Pierce v. N.C. State Bd. of Elections, --- F.4th --



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--, 2024 WL 1321267, at *14 (4th Cir. Mar. 28, 2024) (alteration in original and citation omitted).

“To prove an actual violation, a plaintiff who demonstrates the three preconditions must also show,

based on the totality of circumstances, that the political processes leading to nomination or election

are not equally open to participation by minority voters. Id. (alterations in original and internal

quotation marks omitted). Thus, while Plaintiffs are correct that courts have stated that it is rare

that the Gingles preconditions are met but the totality-of-the-circumstances analysis is not,

Plaintiffs must still “show, under the totality of circumstances, that the political process in not

equally open to minority voters.” Allen v. Milligan, 599 U.S. 1, 18 (2023). When a plaintiff fails

to make such a showing, as Plaintiffs do here, courts have not hesitated to find in the defendant’s

favor solely on totality-of-the-circumstances grounds. See, e.g., Johnson v. De Grandy, 512 U.S.

997, 1009 (1994) (reversing the district court’s section 2 violation, despite crediting the district

court’s “f[inding] that the three Gingles preconditions were satisfied,” because it “part[ed]

company from the district court in assessing the totality of the circumstances”); Fusilier v. Landry,

963 F.3d 447, 459 (5th Cir. 2020) (“Even if all three Gingles preconditions are sustainable, section

2 is not violated unless the totality the circumstances also ‘weigh[s] in favor of a finding that at-

large voting for the 32nd JDC interacts with social and historical factors to cause an inequality in

the political process for black voters.’ At this level, contrasted with the relatively weak support for

the plaintiffs’ position on the Gingles factors, the Attorney General’s arguments become

decisive.”); United States v. Alamosa County, 306 F. Supp. 2d 1016, 1040 (D. Colo. 2004)

(“Although the evidence presented at trial is arguably facially sufficient to satisfy the three Gingles

preconditions, upon consideration of the totality of the circumstances, it does not prove that the at-

large method of electing county commissioners in Alamosa County dilutes the vote of Hispanic

residents.”).



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       Here, despite recognizing that the totality-of-the-circumstances analysis is “peculiarly

dependent upon the facts of each case . . . requires an intensely local appraisal,” CM/ECF Doc.

211 at 127 (citation omitted), Plaintiffs’ arguments are surprisingly wooden and blithely

unattached from what actually has occurred and is occurring in Dodge City. When the record in

this case is applied to the actual standards for the totality-of-the-circumstances analysis, it is clear

that Plaintiffs do not satisfy the second part of Gingles, and their section 2 claim fails on this

independent basis, as well.

   A. Senate Factor 1

       Contrary to Plaintiffs’ intimations, Senate Factor 1 is not some roaming factor that

considers whether any Latino has ever faced any discrimination from any person at any time while

living in Dodge City or elsewhere in Kansas. In full, as opposed to Plaintiffs’ truncated version of

it, Senate Factor 1 simply asks: “the extent of any history of official discrimination in the state or

political subdivision that touched the right of the members of the minority group to register, to

vote, or otherwise participate in the democratic process.” Pierce v. N.C. State Bd. of Elections, ---

F.4th ----, 2024 WL 1321267, at *31 (4th Cir. Mar. 28, 2024). The answer to this question is a

resounding no. Plaintiffs’ own discrimination expert, Dr. Martinez, admitted that he found no

official discrimination. Trial Tr. Vol. II at 216:24-2 (housing) id. at 217:4-7 (education); id. at

221:2-5 (voting) id. at 218:1-5 (official discrimination generally after the Civil Rights Act was

passed). Furthermore, not one of Plaintiffs’ witnesses said that discrimination had impacted Dodge

City Latinos’ ability to register to register, to vote, or otherwise to participate in the democratic

process. That should be the end of the analysis.

       Plaintiffs’ resort to the 2018 lawsuit brought by Plaintiff Rangel-Lopez against Ford

County and the Fish case do not warrant a different conclusion. Beginning with the lawsuit against



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Ford County, Plaintiff Rangel-Lopez conceded at trial that the Court denied him the relief that he

sought: a temporary restraining order (“TRO”). Trial Tr. Vol. I at 10:7-15. Not only did the court

do that, but it did so because, among other things, “the court conclude[d] that plaintiffs ha[d] not

shown that they are likely to prevail” or that “it [wa]s in the public interest to grant plaintiffs the

relief that they s[ought].” Rangel-Lopez v. Cox, 344 F. Supp. 3d 1285, 1291-92 (D. Kan. 2018).

Consistent with that conclusion, and likely most importantly, Plaintiffs did not present a single

witness that stated that Latinos were adversely impacted, in any way, by Ford County’s 2018

polling location decision. Thus, Plaintiff Rangel-Lopez’s 2018 lawsuit proves nothing.

       The same is true for Fish. There, the question was not whether the State of Kansas had

illegally discriminated against Latinos, but, rather, whether a race-neutral voter-ID law exacted an

undue burden on the right to vote and/or was preempted by the National Voter Registration Act.

While the Tenth Circuit answered both questions in the affirmative, there was no indication that

that decision was based, in any way, on some finding of racial discrimination, which is what makes

Fish fundamentally different from the case that Plaintiffs cite for the proposition that Fish is

relevant: Missouri State Conf. of the NAACP v. Ferguson-Florissant District, 201 F. Supp. 3d

1006 (E.D. Mo. 2016). See CM/ECF Doc. 211 at 130 n. 636. In Ferguson, in evaluating Senate

Factor 1, the court considered the “many Missouri statutes and constitutional provisions [that]

permitted—or required—discrimination against Black Missourians.” 201 F. Supp. 3d at 1066.

Obviously, the race-neutral law at issue in Fish is not of the same ilk as those raised in Ferguson,

and thus Ferguson provides no basis to find Fish relevant in this case.

       Ms. Scoggins’ testimony regarding alleged discrimination outside of political participation

is also unavailing. First, conditions of private homes or decisions of business owners are not

relevant to whether a government actor violated section 2. See, e.g., Frank v. Walker, 768 F.3d



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744, 753 (7th Cir. 2014) (“Section 2(a) forbids discrimination by “race or color” but does not

require states to overcome societal effects of private discrimination that affect the income or wealth

of potential voters.”). Second, who could swim in a community pool decades before the

overwhelming majority of the current-day Latino community in Dodge City arrived does not

“touch[ upon] the right[s] of the members of the minority group to register, to vote, or otherwise

participate in the democratic process,” and, thus, is not relevant to the Senate Factor 1 inquiry.

Third, while Ms. Scoggins remembers Latinos not attending public schools until she was in

“kindergarten, first grade,” Trial Tr. Vol. III at 155:7-11, or until roughly 70 years ago, id. at

147:12-13, Plaintiffs’ discrimination expert, Dr. Martinez, was unable to locate during his

investigation any evidence of government-forced school segregation in Dodge City—an

investigation that included, among other things, combing through such obscure sources as Master’s

and Doctoral thesis papers for relevant information, Trial Tr. Vol. II at 185: 1-186:1. Fourth, even

if this information was credited, it is, as even Plaintiffs’ own cases indicate, too stale to impact the

analysis. See Montes v. City of Yakima, 40 F. Supp. 3d 1377, 1409 (E.D. Wash. 2014) (finding that

Yakima County’s persistence “in administering literacy tests to Latino voters for several years

after the passage of the Voting Rights Act of 1965” was “only marginally relevant because it arose

many years ago in the context of newly-enacted legislation limiting (and later prohibiting) the use

of literacy tests by federal and state election authorities”).

        Instead of supporting the notion that official discrimination has impacted Dodge City

Latinos’ ability to participate in the political process, the record does the opposite. With regard to

voting, it was shown at trial that Dodge Citians, including Latinos, have a plethora of options for

voting. Additionally, to the extent a Dodge Citian wants to vote in-person, in advance or on

election day, the City gives free door-to-door transportation to the polling site. Also, all the



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materials associated with elections in Dodge City—from candidate registration, to voting

instructions, to the ballot, to even directions to the polling locations—are in Spanish and English.

Furthermore, City and County officials have engaged in numerous outreach efforts, including, but

not limited to, helping newly naturalized citizens with voter registration and demonstrating how

the voting machines work. In short, Dodge City is nothing like the jurisdictions that were

contemplated when Senate Factor 1 was drafted. See, e.g., France v. Pataki, 71 F. Supp. 2d 317,

330 (S.D.N.Y. 1999) (finding that New York was “[u]nlike jurisdictions typically involved in

Voting Rights Act case” because “New York City has taken steps to encourage minority voting”

and “the election practices in question were not adopted as a part of a racist historical tradition”).

    B. Senate Factor 2

        Relying on Dr. Barreto’s flawed analysis, Plaintiffs contend that this factor “weights very

strongly in [their] favor.” CM/ECF Doc. 211 at 131-32. For the reasons set forth in Defendants’

proposed findings and conclusions, see CM/ECF Doc. 212 at 72-89, as well as those in Sects. I-II

above, racial polarization has not been shown in this case. Accordingly, Senate Factor 2 favors

Defendants. See, e.g., France, 71 F. Supp. 2d at 330 (“Moreover, as discussed above, given the

numerous flaws in plaintiffs’ report, and the evidence presented by defendants regarding the

absence of racial polarization, the Court concludes that this factor tilts against the plaintiffs.”).

    C. Senate Factor 3

        Plaintiffs contend that Dodge City employs the following three voting practices or

procedures that tend to enhance the opportunity for discrimination against Latinos: (1) at-large

elections, (2) off-cycle elections, and (3) differential terms. CM/EMF Doc. 211 at 132. Notably,

not one of these practices are listed in Senate Factor 3, nor do Plaintiffs contend that any of them

are akin to those that are—namely, “unusually large election districts, majority vote requirements,



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and prohibitions against bullet voting.” Nevertheless, Plaintiffs claim that this factor favors them;

it does not.

          Starting with at-large elections, they “are not per se violative of minority voters’ rights.”

Gingles 478 U.S. at 48. Likewise, an at-large election for city-wide offices does not constitute an

“unusually large election district[].” This is because “[d]istrict implies a division that has already

occurred. That is clearly not the case with [city-wide] elections.” Ala. State Conf. of N.A.A.C.P. v.

Ala., 612 F. Supp. 3d 1232, 1275 (M.D. Ala. 2020). Also, there is no evidence that Dodge City

adopted the at-large method to suppress the Latino vote. See Johnson v. DeGrandy, 512 U.S. 997,

1018 (1994) (noting that at-large elections are “censurable when the object of their use is

discriminatory”). Thus, while at-large elections may have been used in other jurisdictions to dilute

minority votes, Plaintiffs did not produce a single example of that happening in the over-50 years

that Dodge Citians have been picking their Commissioners through the at-large method. Therefore,

the simple fact that Dodge City utilizes the at-large election method for election of its City

Commissioners does not result in Factor 3 favoring Plaintiffs. Rather, Plaintiffs must show that

this method of elections, coupled with other relevant facts in this case, leads to enhanced

opportunity to discriminate. Here, the facts do not support such a finding.

          Unlike cases that Plaintiffs cite, the size of the geographical scope of the Dodge City

Commission election—approximately 25 square miles—is not large and does not exact a heavy

burden on Dodge City Commission candidates. See Large v. Fremont Cnty., Wyo., 709 F. Supp.

2d 1176 (D. Wyo. 2010) (indicating that campaigning in a 9,250 square mile county could enhance

the opportunity for discrimination); Blaine, 363 F.3d at 913 (same for a county of 4,638 square

miles).




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       Likewise, this is not a case in which the minority group’s vote is being drowned out by

White voters based on the utilization of at-large elections. As shown by Dr. Barreto’s analysis,

Latinos have been able to elect their so-called candidate of choice to half of the available seats.

Furthermore, Plaintiffs completely ignore the fact that Latinos are now the largest plurality in

Dodge City, and, based on current and sustained trajectories, that lead is going to only increase

with time. See DFoF ¶¶ 11-19. In their proposed findings and conclusions, Plaintiffs say nothing

of this fact, opting instead to merely Pavlonianly cite to Dr. Bejarano’s assertion that a switch to

district-based elections “increases the opportunity for Latinos to win office” when the minority

population is “30-to-40 percent of the population.” Latinos are well past the “30-to-40 percent”

mark now and appear to have the potential, as Messrs. De La Rosa and Rebein stated, to elect all

their preferred City Commission candidates, as opposed to barely being able to elect one like Dr.

Barreto’s “performance analysis” reveals would be the case if Latinos were locked into a single

district. DFoF ¶ 120. Thus, even if Dr. Bejarano’s opinion was credited, which it should not be

because it is inconsistent with the prevailing thought in the field and Dr. Bejarano provided no

examples of where this alleged phenomenon actually occurred in Dodge City, it is far from clear

that moving to district-based elections would actually address the issues that Plaintiffs have raised

with regard to at-large elections.

       Adding the fact that City Commission elections are off-cycle does not change the analysis.

Plaintiffs suggest that there is something nefarious about Dodge City “continu[ing] to utilize . . .

off-cycle elections [when] courts have repeatedly found [it] to enhance the opportunity of

discrimination.” CM/ECF Doc. 211 at 132-33. This is not so. As the Court knows, state law

mandates the off-cycle practice for municipal elections. DFoF ¶ 123. Furthermore, the practice

makes sense, as it prevents what are clearly city-centric elections from being drowned out by



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national politics and issues. As for Plaintiffs’ allegation that Latinos have a “larger drop-off in

turnout in presidential to off-cycle elections as compared to Whites,” it is unfounded. Plaintiffs

claim that Dr. Bejarano’s testimony on this point is “unrebutted.” It is not. As Dr. Bejarano

admitted on the stand, she has no idea what Latino and White turnout is in non-presidential

elections in Dodge City. Thus, there is nothing in the record showing that turnout in off-cycle

elections adversely affects Dodge City Latinos more than Whites.

       Finally, Plaintiffs erroneously claim that Dodge City Commission’s staggered terms

“prevent[] ‘bullet voting’ by the minority group in elections with multiple winners.” CM/ECF Doc.

211 at 134. This argument is based on a misreading of the cases cited in footnote 647, the footnote

that purportedly supports the aforementioned statement. Starting with Plaintiffs’ lead case, Blaine,

363 F.3d at 913, while it did hold that staggered voting effectively stripped the plaintiffs of their

ability to bullet vote, what Plaintiffs miss is that only one of the three commissioners on the county

commission in question there stood for election every two years, as the county commission had

staggered six-year terms. Thus, in Blaine, only one seat was available in each election due to

staggering. In situations like that, “[s]ingle-shot voting is not possible” because the voter only gets

one vote. However, Blaine says nothing about the effect of staggering when voters, like those in

Dodge City, may (but certainly do not have to) vote for up to three candidates in City Commission

elections. The remainder of the other court decisions in footnote 647 of Plaintiffs’ proposed

findings and conclusions are equally uninformative here because they each also involved “majority

vote requirements,” a practice that also prevents “bullet voting” and is explicitly listed in Senate

Factor 3 as a practice that possibly enhances the opportunity for discrimination. Thus, the fact that

Dodge City Commissioners have staggered terms has no bearing on Senate Factor 3. See, e.g.,

United States v. Alamosa County, 306 F. Supp. 2d 1016, 1018 & 1035 (D. Colo. 2004) (finding



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that the fact that board members “serve four-year, staggered terms” acting “in concert with the at-

large election of county commissioners [did not] impair[], impede[] or discourage[] participation

by Hispanic individuals in the electoral process”).

     D. Senate Factor 4

         Plaintiffs concede that “there is no evidence in the record that Latinos have been denied

access to [any City Commissioner] slates.” CM/ECF Doc. 211, at 135. That should be the end of

the analysis with regard to Senate Factor 4. Plaintiffs nevertheless attempt to limit the import of

that concession by arguing that the single candidate slate that they found in over a roughly 25-year

period is somehow evidence of disunity in Dodge City. Plaintiffs do not flesh out how exactly their

single candidate slate is evidence of disunity or how disunity is relevant to the Senate Factor 4

inquiry. Elections by their very nature are not unitive events as they pit candidates against each

other. Furthermore, the fact that a local political organization 13 may have a view on which

candidates it believes would best serve its community is hardly surprising. Regardless, the fact that

local political organizations may occasionally weigh in City Commission elections is of no

moment here. First, local political parties, much less an advocacy group like “Kansas for Liberty

PAC,” do not have a formal role in the City Commission election process as they do not pick the

candidates for it. See France v. Pataki, 71 F. Supp. 2d 317, 331 (S.D.N.Y. 1999) (stating that the

“slating inquiry is whether minorities have been able to get on the ballot”). Second, to the extent a

slate was endorsed on one occasion, Latinos and their preferred candidates are clearly not shut out

of the process. Looking at the single candidate slate introduced into evidence, the candidates listed

for City Commissioner were either Latino (Nuci), the most Latino preferred candidate under Dr.

Barreto’s RxC analysis (Taylor), or had a Latino surname (Salinas). Pls.’ Ex. 137. As for the Dodge


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         It was not even a political party that put out the single candidate slate in the record; rather, it was a seemingly
obscure advocacy group known as the “Kansas for Liberty PAC.” See Pls.’ Ex. 137.

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City School Board, Ms. Nicole Nagel was the most Latino preferred candidate under both Dr.

Barreto’s RxC method and as his King EI analysis. Id. In fact, Ms. Nagel’s support from Latinos

was purportedly three times stronger than it was by Whites under King’s EI and nearly two times

greater under RxC. Pls’s Ex. 121. Far from showing any racial disunity in the community,

Plaintiffs’ slate evidence confirms that race has nothing to do with local non-partisan elections in

Dodge City.

   E. Senate Factor 5

       Realizing that their evidence of discrimination is weak at best, Plaintiffs attempt to read

out the “bear the effects of discrimination” requirement from Senate Factor 5. According to

Plaintiffs, despite Senate Factor 5’s clear charge that there must be evidence of “discrimination in

such areas as education, employment, and health, Senate Factor 5 can nevertheless be “met without

an express finding of causation between past discrimination and present socioeconomic

inequalities.” CM/ECF Doc. 211 at 137. Plaintiffs further go on to say that they “are not required

to prove a causal connection between the [effects of discrimination] and a depressed level of

political participation” and that “the burden is on those who deny the causal nexus [i.e., Dodge

City] to show that the cause is something else.” Id. at 136. Plaintiffs’ view is thus, if there are

disparities in education, employment, and health, as well as disparities in political participation,

between Whites and Latinos, then Senate Factor 5 is met. Plaintiffs are wrong.

       It is important to recognize that there are two different nexuses that Senate Factor 5

contemplates. The first is the nexus between discrimination in the jurisdiction and adverse results

that minorities have allegedly faced in education, employment, and health. The second is the nexus

between those alleged adverse results in education, employment, and health and the minority

group’s participation in the political process. The cases Plaintiffs quote on page 136 and cite in



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footnotes 650 and 651 relate solely to the second nexus. But as for the first nexus, it is well

established that discrimination must have caused the alleged disparities in education, employment,

and health, and it is the Plaintiffs’ burden to show that causation. See Pierce v. N.C. State Bd. of

Elections, --- F. Supp. 3d ----, 2024 WL 307643, at *23 (E.D.N.C. Jan. 26, 2024) (“Dr. Burch’s

report, however, contains no statistical analysis demonstrating that race discrimination by North

Carolina caused the socioeconomic disparities that Dr. Burch discusses in her report. Accordingly,

this factor does not help plaintiffs.” (Emphasis added)), aff’d, --- F.4th ----, 2024 WL 1321267, at

*18 (4th Cir. Mar. 28, 2024) (“The district court found that Plaintiffs presented no evidence

connecting the disparities they reported between black and white North Carolinians to official race

discrimination or unresponsive elected officials. Plaintiffs reply not with evidence but by asserting

this is ‘an obvious reality.’ On this record, we cannot conclude the district court clearly erred.”

(Internal citation omitted)); France v. Pataki, 71 F. Supp. 2d 317, 332 (S.D.N.Y. 1999) (“The fifth

Senate factor requires that as a result of past discrimination, African-American and Latinos suffer

from lower socioeconomic conditions than whites.” (Emphasis added)); see also Gingles, 478 U.S.

at 70 (“Congress intended that the Voting Rights Act eradicate inequalities in political

opportunities exist due to the vestigial effects of past purposeful discrimination.” (Emphasis

added)).

       The Senate Report from which Senate Factor 5 is derived, Senate Report 97-417, confirms

that, while it may be proper to assume the second nexus, one cannot do the same for the first nexus,

stating “‘[t]he courts have recognized that disproportionate educational, employment, income level

and living conditions arising from past discrimination tend to depress minority political

participation.’” Sanchez, 97 F.3d at 1323 (emphasis added) (quoting S. Rep. 97-417, 1982

U.S.C.C.A.N. 177 at 207 n.114). Thus, while there is, understandably, recognition that adverse



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conditions in education, employment, income, and living conditions can depress political

participation, there is no legal support for the conclusion that courts are free to disregard what

caused those conditions when assessing Senate Factor 5. In fact, a number of cases have explained

why this so when the minority group in question is Latino, versus another group that has a

longstanding presence in a community and an undeniable and well-documented history of

discrimination, such as African Americans. See, e.g., Perez v. Pasadena Indep. Sch. Dist., 958 F.

Supp. 1196, 1225 (S.D. Tex. 1997) (“The socioeconomic data before this court does not distinguish

between Hispanics who are recent immigrants and those who have been in this country for longer

periods, particularly those who are citizens. This information is important to this analysis, but was

not presented.”), aff’d, 165 F.3d 368 (5th Cir. 1999); Aldasoro v. Kennerson, 922 F. Supp. 339,

365 (S.D. Cal. 1995) (“[I]t is critical to distinguish between foreign born and native born Hispanics

in addressing this Senate factor” because “the lower socioeconomic status of immigrants, or of

those unable to speak English, is not due to discrimination in this country.”).

       Plaintiffs’ cases are not to the contrary. Tellingly, Plaintiffs do not actually say that any

case has ever explicitly held that the first nexus listed above is not necessary; rather, they merely

say that courts “routinely conclude that Senate Factor 5 is met without an express finding of

causation.” CM/ECF Doc. 211 at 137 (emphasis added). Plaintiffs’ argument on Senate Factor 5

demonstrates why precedent should be evaluated based on what was actually said as opposed to

what was not in one particular section of a decision. Doing the latter here permits Plaintiffs to

imply that their failing to meet the first nexus “is not dispositive,” id. at 138, though, the cases

cited in Plaintiffs’ footnote 653 could not reasonably be read to warrant such a conclusion.

       For starters, 9 of Plaintiffs’ 10 cases in footnote 653 included findings either inside or

outside of Senate Factor 5 that the racial community in question had clearly been disparately



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treated in education, employment, healthcare, or the political process more generally. See 1.

Sanchez v. State of Colo., 97 F.3d 1303, 1322-23 & nn. 34 & 35 (10th Cir. 1996) (stating that the

“the Hispanic Community” in question was “a predominantly native-born Hispanic population,”

that, “[i]n 1977, the Colorado Attorney General found sufficient evidence of discrimination against

Hispanic citizens to warrant referring his report to the Voting Rights Section of the Department of

Justice,” and that “[t]he record include[d] a 1978 letter from the Regional Director of Civil Rights

finding the Saguache County School District segregated students on the basis of national

origin”); 14 2. United States v. Blaine Cnty., Mont., 363 F.3d 897, 914 (9th Cir. 2004) (disregarding

the defendants’ claim that “there [wa]s no causal link between discrimination and whatever

socioeconomic disparities might exist” because there was “extensive evidence of official

discrimination by federal, state, and local governments against Montana’s American Indian

population”); 3. N.A.A.C.P., Spring Valley Branch v. East Ramapo Cent. Sch. Dist., 462 F. Supp.

3d 368, 374 & 413-15 (S.D.N.Y. 2020) (recounting outside of Senate Factor 5 about how the board

in question, which had been overwhelming white, had, among other things “allowed for numerous

Board decisions privileging private school[s, which were 98% White] and/or harmful to public

[schools, which was 92% Black or Latino],” and “eliminated hundreds of public school teaching,

staff, and administrative positions,” which had resulted in “[s]tudents [being] given academically

deficient schedules full of free time and filler[s]” and “[g]raduation rates and test scores [to]

s[i]nk”); 4. United States v. Vill. of Port Chester, 2008 WL 190502, at *16 (S.D.N.Y. Jan. 17,

2008) (stating outside of Senate Factor 5 that “[o]ther courts in this district have cited the




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         It must not be forgotten that the Sanchez case was filed with the district court in 1994. Thus, while 1977 and
1978 are now nearly 50 year ago, at the time that Sanchez was brought, less than 20 years had elapsed since the cited
actions had occurred and no doubt would have been still been in the mind of the then “predominantly native-born
Hispanic population.” Such facts are unlike those here where the alleged discrimination, at the latest, would have
occurred decades before the overwhelming majority of the current-day Dodge City Latino community first arrived.

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‘regrettable history of discrimination in employment, housing and education in the Westchester

County area’”); 5. Luna v. County of Kern, 291 F. Supp. 3d 1088, 1134 (E.D. Cal. 2018) (stating

outside of Senate Factor 5 that the plaintiffs’ discrimination expert presented “compelling evidence

of a history of discrimination” and noting, among other things, that, “[f]rom the beginning of Kern

County’s history, race relations were inseparable from labor relations” and that there was

“[e]vidence presented at trial suggest[ing] that Latino students continue to experience present-day

discrimination in education”); 6. United States v. Osceola Cnty., Fla., 475 F. Supp. 2d 1220, 1235

& n.35 (M.D. Fla. 2006) (stating outside of Senate Factor 5 that there is “evidence of a history of

discrimination against Hispanic voters and candidates in Osceola County” and that

“[d]iscrimination toward Hispanics has not been limited solely to the political arena,” but included

“discrimination in employment” as well); 7. Benavidez v. Irving Indep. Sch. Dist., No. 3:13-CV-

0087-D, 2014 WL 4055366, at *21 (N.D. Tex. Aug. 15, 2014) (stating outside of Senate Factor 5

that a longstanding elected official had testified, uncontrovertedly, that there was “deep-rooted

racial prejudice in the community, and that such prejudice was reflected in school board

elections”); 8. United States v. City of Euclid, 580 F. Supp. 2d 584, 605 (N.D. Ohio 2008) (stating

outside of Senate Factor 5 that “the government showed both that Euclid has a history of

discrimination in the areas of housing and education and that its history in those areas has resulted

in depressed political participation among African–Americans”); 9. Large v. Fremont County, 709

F. Supp. 2d 1176, 1184 & 1186 (D. Wyo. 2010) (stating outside of Senate Factor 5 that “[t]he long

history of discrimination against Indians in the United States, Wyoming, and Fremont County is

undeniable” and describing “culturally erosive policies such as allotment and compulsory boarding

school enrollment” that had been utilized). Thus, the fact that Plaintiffs’ cases did not routinely




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discuss racial discrimination in Senate Factor 5 means nothing—the presence of such

discrimination (and its adverse effects) was abundantly clear, unlike here.

       As for the Plaintiffs’ 10th and last case, Montes v. City of Yakima, 40 F. Supp. 3d 1377

(E.D. Wash. 2014), it does not do what Plaintiffs’ other 9 cases failed to do—namely, rebut the

clear case law that, for Senate Factor 5, discrimination must be shown to have caused the noted

discrepancies. In fact, the Montes court does not contest the fact that discrimination must be shown,

as it stated that it believed that discrimination had been shown. 40 F. Supp. 3d at 1413. The court’s

basis for its discrimination conclusion, though, is not persuasive, as it assumed away the key

question. According to the Montes court, “[w]hile not conclusive proof, marked disparities in

socio-economic status are circumstantial evidence of discrimination.” In other words, the court

assumed that the observed “marked disparities” were caused by discrimination because there were

“marked disparities.” No court has countenanced this type of circular reasoning—probably

because, as set forth above in the Perez and Aldasoro cases, there are a myriad of non-

discriminatory reasons that a largely first-generation Latino community like the one found in

Dodge City may not have the same educational, financial, and insurance attainment that others in

Dodge City have. Likely sensing that its reasoning would not survive scrutiny, the Montes court

stated that “this factor weigh[ed] slightly in Plaintiffs’ favor,” despite many of the identified

disparities in that case being substantially greater than those in this case. Compare CM/ECF Doc.

211 at ¶¶ 258-275 with Montes, 40 F. Supp. 3d at 1413.

       In short, there is no support for Plaintiffs’ proposition that it does not have to show

discrimination in education, employment, healthcare, or the political process more generally to

satisfy Senate Factor 5. Plaintiffs cannot make such a showing here. In addition to the utter dearth

of any evidence of discrimination, the personal stories of the witnesses presented at trial strongly



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indicate that discrimination had no role to play in the disparities that Dr. Bejarano purportedly

found. As noted in Dodge City’s proposed findings and conclusions, Plaintiff Rangel-Lopez, the

son of first-generation immigrants, DFoF ¶ 1, went on from being the salutatorian of his Dodge

City High School class to winning department honors at the University of Kansas, DFoF ¶ 37. Mr.

De La Rosa, who also grew up in Dodge City, went from being a first-generation immigrant

himself to leading some of the largest communities in Kansas. Trial Tr. Vol. III at 271:20-273:19.

Mr. Hernandez, a descendant of Mr. Luis Sanchez, whose oral testimony Plaintiffs’ discrimination

expert Mr. Martinez relied upon for his opinions, see CM/ECF Doc. 211 at ¶ 280, is Dodge City’s

present-day City Manager, “run[ning] the day-to-day operations of the City” and “oversee[ing]

every single department within the City whether it be water, sewer, fire, [or] police.” Trial Tr. Vol

IV at 90:4-14. This history of success has continued with Mr. Hernandez’s own children—one

who was just admitted into pharmacy school within a year of graduating from Dodge City High

School and another that is part of one of the top Junior ROTC programs in the Country. Id at 88:4-

21. These stories of “educational, economic and professional successes [that come from Plaintiffs’

and Defendants’ Latino witnesses alike] belie complaints of lingering disadvantage.” United States

v. Alamosa County, 306 F. Supp. 2d 1016, 1036 (D. Colo. 2004).

        Reading Senate Factor 5 to require causation neither renders it “duplicative of Senate

Factor 1” nor does it lay a burden on a plaintiff that “would be almost impossible to prove” as

Plaintiffs claim. CM/ECF Doc. 211 at 138. As made clear from their plain language, Senate Factor

1 is focused primarily on discrimination that specifically relates to political participation (e.g., “to

register, to vote, or otherwise participate in the democratic process”), while Senate Factor 5 utilizes

a broader lens and focuses primarily on discrimination in areas outside of the political process that

can nevertheless can impact a minority group’s political participation (i.e., “education,



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employment, and health”). Thus, even if a jurisdiction does not discriminate directly when it comes

to voting, Senate Factor 5 is intended to still capture the jurisdiction’s non-political discriminatory

activities that have effectively stifled the minority group’s political voice. Accordingly, requiring

a showing of discrimination for Senate Factor 5, as the factor’s plain language requires, does not

render it redundant of Senate Factor 5, which is focused on something different.

       The claim that requiring evidence of causation between discrimination and disparities

would make Senate Factor 5 “almost impossible to prove” is false. Historically, Senate Factor 5

was not an impediment if there was a well-established minority population in a jurisdiction and a

clear history of discrimination against that population. As more years and decades separate a

jurisdiction’s current day from its allegedly discriminatory past, it is understandable that plaintiffs

will have a steeper burden to show that practices that occurred, in most jurisdictions, many decades

ago have a lingering effect today. To do otherwise would freeze jurisdictions in a long-ago era and

ignore the “substantial efforts [that many jurisdictions have made] to address discrimination during

the last 50 [or more] years.” Alamosa Cnty., 306 F. Supp. 2d at 1038. The difficulty of proving

causation is further compounded when the overwhelming majority of the minority group that a

plaintiff is purportedly bringing a section 2 lawsuit on behalf never experienced the alleged

discrimination. Nevertheless, irrespective of how difficult the showing may be, such difficulties

do not justify ignoring and reading out the discrimination requirement in Senate Factor 5.

   F. Senate Factor 6

       Plaintiffs concede, without qualification, that there has been no evidence of racial appeals

in campaigns. This factor thus unquestionably favors Dodge City.




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   G. Senate Factor 7

       Plaintiffs claim that this Factor favors them because there is a “staggering lack of electoral

success at all levels of government—in Dodge City, Ford County, statewide and federal elections.”

CM/ECF Doc. 211 at 138. According to Plaintiffs, you simply count how many Latino candidates

have won seats on the City Commission, and you disregard all other related facts. Id. at 138-39.

Doing that here, Plaintiffs contend that “two Latino candidates” “over a twenty-four-year period”

is simply insufficient. Id. This position is not supported by the applicable law or record.

       First, Plaintiffs’ straitjacket approach to Senate Factor 7 is inconsistent with the fluid

analysis that Gingles mandates. The fluidity that Gingles (and its progeny) contemplates was

intended to stave off rigidness and permit common sense to be applied to the given facts from a

jurisdiction to determine if that jurisdiction is actually preventing a minority group from

participating in the political process. For instance, when former Commissioner Fernando Jurado

states that he lost his campaign by two votes because, in his opinion, he ran a bad campaign, see

DFoF ¶¶ 48, 62, that fact should be weighed in Senate Factor 7’s equation. Likewise, when

politically involved Latinos in Dodge City say that Ms. Soto ran a bad campaign that, too, should

factor into the assessment of Senate Factor 7, as this too provides context for Ms. Soto’s loss.

Plaintiffs’ single cite to the contrary, Missouri State Conference of the N.A.A.C.P. v. Ferguson-

Florissant Sch. Dist., 894 F.3d 924 939 (8th Cir. 2018), should not be followed because it is

inconsistent with Gingles’ charge and is not a reasonable extension of the cases that it cited, or any

other existing precedent that Dodge City is aware of.

       Second, even if the Court were to avoid the context of the races in which Latinos have run,

which it should not, Plaintiffs cannot get past the fact that half of the Latino candidates that have

campaigned and run in the 20-plus years leading up to the filing of this case have won seats on the

Commission. In even the Eighth Circuit case that Plaintiffs cite for the proposition that context
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cannot be considered when accessing Senate Factor 7, the underlying district court considered the

“success rate” of the Black candidates in the races that they actually ran in (roughly 20%) versus

simply counting up how many Black candidates had been elected to the board in question. See

Missouri State Conference of the N.A.A.C.P. v. Ferguson-Florissant Sch. Dist., 201 F. Supp. 3d

1063-66 (E.D. Mo. 2016). Additionally, in one of the two cases that the Eighth Circuit purportedly

relied upon for its anti-context statement, Harvell v. Blytheville Sch. Dist. No. 5, 71 F.3d 1382,

1390 (8th Cir. 1995), the Court looked at the “minimal electoral success under the present scheme,”

as shown by “only [one] minority victory in nine attempts.” 15 The practice of looking at “success

rate” of those who actually run versus just counting up how many seats minority candidates have

won is consistent with the practice in the Tenth Circuit. See United States v. Alamosa County, 306

F. Supp. 2d 1016, 1023 (D. Colo. 2004) (distinguishing Sanchez, 97 F. 3d 1303, on the ground that

the Latino candidate had “been elected as county commissioner not once, but three times in the

last twenty years” and stating that Latino “candidates have prevailed in 60% of the elections in

which they competed”).

         Here, the record reveals that in the roughly 20-plus years leading up to the filing of this

suit, Latino candidates won half of the seats for which they actually competed. Starting in 1998,

Fernando Jurado won election, but lost in 2000 by 2 votes. Jurado Dep., CM/ECF Doc. 199, Ex.

A at 36:6-13. In 2014 and 2017, Lilliana Zuniga lost, but it is uncontroverted that she did not

actually run in 2017 due to health reasons. Trial Tr. Vol. IV at 78:2-13. In 2019 and 2021, Joe

Nuci won his campaigns. Def’s. Ex. 36 (showing 2019 results); Def’s. Ex. 40 (showing 2021

results). In 2021, Blanco Soto lost. Def’s. Ex. 40. Thus, in total, in the 20-plus years leading up to



15
          In the other case, there was not even “minimal electoral success,” as “not one Indian-preferred candidate was
elected to the state legislature from the area that includes District 26 during the period of 1982 to 2002.” Bone Shirt v.
Hazeltine, 461 F.3d 1011, 1022 (8th Cir. 2006).

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the filing of this suit, Latino candidates won half of the seats for which they actually ran. The

results are the same when only the campaigns that Dr. Barreto reviewed are considered, as Mr.

Jurado’s 50% “success rate” falls off. Noteworthily, the “success rate” for Latinos actually exceeds

the “success rates” of White candidates in the elections that Dr. Barreto reviewed, as only 10 out

of 21 White candidates prevailed during that time. 16

        Likely sensing that no court has apparently found that Senate Factor 7 is met when minority

candidates have a “success rate” of or near 50%, Plaintiffs encourage the Court to look more

broadly—namely, county, state, and federal elections—and consider the “extraordinarily paltry

rate” of Latino candidates being elected in those elections. CM/ECF Doc. 211 at 139. There are

multiple problems with this request. First, by and large, the factual basis for Plaintiffs’ assertion

that Latinos have not held exogenous offices is NALEO and its tables, which, as pointed out in

Dodge City’s findings and conclusions, were batting an even .000% on accurately identifying the

Latinos on Dodge City Commission for the past 24 years. Dr. Barreto’s endorsement

notwithstanding, why would the Court credit any of NALEO’s number for other local offices like

“school board,” “judicial or law enforcement offices,” or “Ford County Commission”? Second, of

the 20 exogenous elections that Dr. Barreto reviewed, 14 did not relate to “public office in the

jurisdiction,” i.e., Dodge City, but, rather, involved statewide or nationwide offices and thus are

not relevant. Third, regardless of what office was question, outside of just the 2020 County Clerk

office, there is no evidence that 19 of Dr. Barreto’s 20 exogenous elections even had a Latino

candidate. Yes, there are a couple people in the local races that have Latino surnames, but the fact

that someone has a Latino surname does not tell us whether they are actually Latino. See United

States v. Alamosa Cnty., Colo., 306 F. Supp. 2d 1016, 1022 (D. Colo. 2004) (discounting the


16
         As there is no evidence in the record regarding 2021 Candidate Salinas’ race, she is not considered in the
calculation.

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expert’s surname analysis its “degree of error [wa]s further compounded due to the long and

extensive history of intermarriage among Hispanic and Anglo residents in Alamosa County”).

Thus, Plaintiffs’ exogenous elections merely show that only one Latino ran an unsuccessful

campaign.

       To be sure, a lack of candidates for City Commission could weigh in a plaintiff’s favor if

there was evidence that the community or the residents therein were actively working to thwart

Latinos from running. But there is no such evidence here. In fact, the evidence is that there had

been attempts to recruit Latino candidates but that they had demurred. Likewise, this is not a

situation where the Latino-candidate cupboard is bare. As shown at trial, Latinos own and operate

many downtown businesses and have leadership positions in community and professional

organizations, such as the Chamber of Commerce, local unions, charitable organizations, political

parties, Main Street Dodge, Engage Dodge, the Cultural Relations Advisory Board, and

educational fields. DFoF ¶ 29. There is no formal slating process, and, to the extent informal

slating occurs, Latinos, candidates with Latino surnames, and Latino preferred candidates have

been included on those slates. DFoF ¶ 172. In short, if Latinos wanted to run in Dodge City, they

can and appear to have the ability to do so successfully.

       Undoubtedly, short of guaranteeing Latino candidates’ electoral success, which section 2

clearly and unequivocally does not do, there will be challenges that Latino candidates, like White

candidates, must overcome to be successful. The numbers bear that out, showing that the “success

rate” for both White and Latino candidates is approximately one-half. A move to districts will not

change that and could quite possibly make it worse or deprive Latinos from experiencing their true

voting prowess. As Mr. De La Rosa said, district-based elections are not a gold bullet. Trial Tr.

Vol. III at 318:16-319:16. While Latino candidates may not have to campaign across the whole



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City, which is miniscule in size (25 square miles) compared to other jurisdictions that Plaintiffs’

cases involved, their odds of success are not necessarily improved because Latino candidates will

now be subject to a winner-take-all system that could pit them against popular incumbents, such

as Mr. Rick Sowers. For instance, as Mr. De La Rosa noted, since Ms. Soto lives in “North Dodge,”

if Ms. Soto were to run again under Plaintiffs’ proposed plan, she quite likely would have to run

against an incumbent like Mr. Sowers. Trial Tr. Vol. IV at 24:15-25:2. Regardless of the quality

of candidate, that would be a “tall order.” Id. Accordingly, the record does not support a finding

that Senate Factor 7 favors Plaintiffs.

   H. Senate Factor 8

       Plaintiffs concede, as they reasonably must, “that the Commission [has been] responsive

to some needs of Latinos.” CM/ECF Doc. 211 at 141. However, relying principally on Dr.

Bejarano, as well as a smattering of sound bites from various fact witnesses, Plaintiffs contend that

this admitted responsiveness is not enough. Plaintiffs’ position does not hold water.

       Starting with Dr. Bejarano, she is not credible. It would take a paid expert who has never

been to Dodge City, Trial Tr. Vol. I at 139:23-140:1, and who never talked to anyone working for

the City, id. at 139:1-22, to say that Dodge City is not responsive to Latinos’ needs. To give Dr.

Bejarano’s testimony some air of being the product of a formal methodology, Plaintiffs claim that:

       In evaluating responsiveness in local offices, political scientists consider (1)
       concerns or preferences expressed by the community or a proxy group, (2) whether
       there is a disproportionate impact of policies on the community, and (3) if local or
       state officials acknowledge the community’s preferences or concerns. Dr. Bejarano
       followed this rubric in evaluating the Commission’s responsiveness to the Latino
       community in Dodge City.

CM/ECF Doc. 211 at ¶ 348. If that is indeed what happened, Dr. Bejarano’s testimony would have

been brief. Looking at factor one, there is not a single Latino concern or preference that any witness

credibly testified was brought before the Dodge City Commission and the Commission ignored.

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Instead, the common refrain from both Plaintiffs’ and Dodge City’s witnesses is that there is no

issue that has divided the racial groups. Trial Tr. Vol. IV at 125:10-18.

       The closest Plaintiffs get is Ms. Scoggins’ 2019 request for information regarding ward-

based elections. Leading up to this request, Ms. Scoggins did indicate that a group of citizens

(which was not identified as being Latino or Latino supporting) were interested in this issue.

However, no group actually ever showed up at a City Commission meeting to support Ms.

Scoggins’ request or to advocate for a change, leaving the Commission to believe that this is an

issue of interest for Ms. Scoggins, but no one else. DFoF ¶ 111. Nevertheless, Plaintiffs want to

turn Ms. Scoggins’ request into some evidence of knowledge about the impermissibility of the

City’s at-large election method, despite no one (including Ms. Scoggins) ever making such an

assertion, and no Latino or Latino group indicating that they believed that their rights were being

violated. City officials, including the City Attorney, looked into the issue and ultimately the

Commission elected not to further pursue Ms. Scoggins’ request. DFoF ¶ 113. Notably, the two

Commissioners who are listed in the minutes as opposing further action on the request were so-

called Latino preferred candidates in the 2017 City Commission election, according to Dr.

Barreto’s own RxC analysis (Warshaw and Delzeit). DFoF ¶ 113; Pls.’ Ex. 121 at 2. Simply put,

prior to this lawsuit being filed, there was no reason for the Commission to believe that district-

based elections were a concern of anyone but Ms. Scoggins.

       In light of the paucity of any testimony supporting the notion that the Commission ignored

any Latino issue brought before it, Plaintiffs turn to Dr. Bejarano’s recitation of a third-party

source’s story regarding “a high-profile shooting” in 2010. According to Dr. Bejarano, the City

did not follow through on things that it said it would in the aftermath of that shooting. However,




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there was not a single witness at trial that described any inadequacy in how the City responded to

the 2010 shooting or that there was any sort of social unrest following that event.

       To the contrary, the evidence in the record reveals a number of proactive things that the

City has done to ensure that Latinos’ interests are being heard and met, including, but not limited

to: (1) offering pay incentives for bilingual employees to ensure that they can meet all Dodge

Citians’ needs; (2) publishing City documents in English and Spanish; (3) being part a member of

the Southwest Kansas Coalition; (4) bringing United States citizenship and immigration services

to Dodge City; (5) providing information about how to become a citizen and how to vote; (6)

sponsoring the International Festival and New Americans Dinner; (7) offering naturalization

scholarships; (8) hosting both Mexican and Guatemalan Consulate Services; (9) putting on a

DACA clinic; and (10) standing up the Cultural Relations Advisory Board, which is intended “to

work on multicultural affairs, issues in the community” and has, among other things, published a

Strategic Plan for Welcoming and Integration for new immigrants to Dodge City. RPFoF ¶¶ 345-

421. These types of Latino-specific actions are precisely what this factor is geared to assess. See,

e.g., France v. Pataki, 71 F. Supp. 2d 317, 333 (S.D.N.Y. 1999) (“When assessing responsiveness,

the Second Circuit has looked to programs and efforts implemented to address the needs of the

minority groups.”).

       Turning to whether there is a disproportionate effect on Latinos from the City’s policies,

there is nothing showing this. Plaintiffs tried to make much of the fact that Latinos seemingly had

more interactions with law enforcement in 7 specific, scattered months that Dr. Bejarano reviewed.

However, far from any gross disparity, the percentages showed that law enforcement actions for

Latinos is roughly proportional to the percentage of Latinos in the total population of Dodge City.

Compare Pls.’ Ex. 112 with Pls.’ Ex. 61. Furthermore, to the extent Latinos had more interaction



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in certain law enforcement interaction categories in a couple of months, Dr. Bejarano’s analysis

does not appear to take into account that the Latino community in Dodge City is significantly

younger than the White community, thus, it should not be surprising that, on a few occasions, such

a thing occurred. DFoF ¶ 19.

       Plaintiffs attack on the City for not monitoring Latino relations more is an interesting one.

As set forth, there is no doubt that the importance of its race relations with Latinos is a matter that

the City is acutely aware of and is proactive to maintain. Furthermore, there can be no doubt that

the City is putting its money where its proverbial mouth is, spending tens of millions of dollars to

revitalize its down town, which is South of Comanche and where many Latinos own and operate

businesses, to improving the quality of life for residents South of Comanche by “complete[ly]

reconfigur[ing] the Wright Park area” and “adding a water feature for [its] residents,” and “redoing

the Hoover Pavilion,” “Friendship Park,” and the “Beeson playground system.” DFoF ¶ 94.

Additionally, other than Plaintiffs’ random and anecdotal musings, there is no evidence of a

disparity between how the City administers its services to its residents. In fact, as Mr. Hernandez

testified, there is a reasoned, objective method that the City utilizes for determining how to spend

its resources on such things as maintaining its infrastructure. DFoF ¶ 94. The fact that the City

does not divert its funds to assess how it is delivering its services to its community of only 27,000

people tells us nothing other than it is attempting to be a good steward of its limited resources.

       Curiously, Plaintiffs cite the fact that that the City has “designat[ed] the entire area south

of Comanche Street as an area of economic need” as evidence of the City’s non-responsiveness.

CM/ECF Doc. 211 at 142. How Plaintiffs think that this helps them in the context of this case is

unclear. Instead of showing a lack of responsiveness, it indicates the exact opposite. As former

City Manager Cherise Tieben testified, “improv[ing] significantly [] the housing stock” is



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something that she spent years working on, and, that effort, coupled with her effort “to get the City

back into the First-Time Home Buyers Program,” not only improved living conditions in Dodge

City but led to “the community [being] far more integrated.” Trial Tr. Vol. III at 242:24-243:6.

        As alluded to above, Ms. Tieben’s successor, Mr. Hernandez (and his team), has continued

and arguably upped Ms. Tieben’s earlier efforts by procuring tens of millions of dollars for projects

that are intended “to revitalize our downtown to bring redevelopment there” and, among other

things, “replac[e] antiquated utilities to make those better for all businesses and the people that

live down there.” Trial Tr. Vol. IV at 74:3-75:7. In addition to spending money, the City has

entered into strategic partnerships with entities like Dodge City Community College, through the

College’s “construction program,” to “build houses in what could . . . be seen as blighted

neighborhoods or [to] improv[e] houses that are in those neighborhoods.” Id. at 75:20-76:20. Thus,

like so much of Plaintiffs’ evidence, the fact that the City has identified the “area south of

Comanche Street as an area of economic need” is only a sliver of the story. What is really

noteworthy, at least with regard to responsiveness, is what the City has done to rectify the identified

need.

        Also curious is Plaintiffs’ dogged reliance on there being a meaningful divide between

“North” and “South” Dodge when it comes to political power in Dodge City. Despite the

candidates that Plaintiffs have long touted as being Latino preferred hailing from “North” Dodge,

Plaintiffs continue to whistle the refrain that folks from “North Dodge” do not represent them—

though, residents from north and south Dodge City consistently vote for the same candidates.

RPFoF ¶¶ 174-89. Likewise, Plaintiffs continue to ignore that Mr. Chuck Taylor is from “South

Dodge.” DFoF ¶ 69. As for conditions in the City, Plaintiffs cherry-pick from primarily their own

testimony where they claim that “South Dodge” has “poorly maintained roads, dilapidated



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housing, worse public resources, less access to fresh food, less affluent schools, and unreliable

public transportation.” CM/ECF Doc. 211 at 142. As certain as death and taxes, there will always

be things that residents can complain of, though. The proof of how serious these issues are in the

minds of those residents is what they do with those concerns. Here, the uncontroverted evidence

in this record is that neither Plaintiffs, nor anyone else for that matter, ever brought any of the

aforementioned perceived issues to the Commission’s attention. See DFoF ¶ 55, 95; Even more

remarkable, Plaintiff Rangel-Lopez worked in the City Manager’s office and never once thought

to raise the alleged issues that he and his friend Plaintiff Coca now profess to be so stark in their

City. While there are undoubtedly things that Dodge City could do to further improve the lives of

its residents, that fact (which is true of all cities) does not reveal that Dodge City has been

unresponsive to Latinos in any cognizable way.

       Finally, although many of the things that the City has done in response to perceived Latino-

related issues are set forth above, it bears mentioning that the City Commission that Plaintiffs

imply is out of touch with the needs of the Latino community appointed a Latino when an opening

on the Commission came up in 2021. DFoF ¶ 65. While such action could possibly be dismissed

if a suit like this was pending, but see Solomon v. Liberty Cnty. Comm’rs, 221 F.3d 1218, 1232

(11th Cir. 2000) (refusing to “adopt a bright-line rule limiting the probative value of minority

electoral success[] when the minority candidate is elected during the pendency of section 2

litigation”), no such action was on file or even suggested when the Commission unanimously

appointed Ms. Soto to the Commission. As there was no showing that anyone in the Latino

community had made such a request, this fact does not fit squarely within Senate Factor 8, it

nevertheless seems relevant.




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   I. Senate Factor 9

       Despite Dodge City implementing at-large City Commission elections over 50 years ago,

and current and former City Commissioners, current and former City Managers, and a Dodge City

resident that has led both the local Republican and Democratic Party alike lauded the benefits of

such an election method, Plaintiffs accuse Dodge City of “not introduc[ing] any convincing

testimony explaining why the City must continue to use the at-large method of election[s].”

CM/ECF Doc. 143. According to Plaintiffs, at-large elections in Dodge City “fail[] to correspond

in any meaningful way to the legitimate interests [they] claim[] to have been advancing.” Id.

       The benefits of at-large elections should be obvious. As Commissioner Sowers stated,

commissioners represent the whole City, not just a discrete subsection of that City. Trial Tr. Vol.

IV at 127:15-128:1. There is nothing here revealing that at-large elections for City Commission

were adopted for an elicit purpose or to permanently entrench White voters’ interests (whatever

that could mean) for generations to come. No, the process in question has been in place for 50

years now and was established well before a significant Latino population had been formed. DFoF

¶ 96. As the cases have long said, there is nothing inherently nefarious about having at-large

elections and there is nothing here that suggests that this process was initiated or maintained for

such a reason.

       Plaintiffs’ insinuation that the interest that Dodge City’s witnesses uniformly discussed and

explained is pretextual is unmoored from the record. Simply put, prior to this lawsuit, no one had

ever seriously challenged the purpose behind at-large elections. There is no evidence of City

Commissioners or other City leaders claiming an interest in one situation and asserting a different

interest in a different context. Ms. Scoggins’ testimony about what other commissioners

purportedly told her is not to the contrary. Ms. Scoggins’ testimony on this matter was limited to

just saying that no other commissioners saying that “unity” was the basis for maintaining the at-
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large method. See Trial Tr. Vol. III at 168:15-18. However, this question confuses what was the

thrust of Fernando Jurado’s earlier campaigns and the professed justification of at-large elections.

The former was about bringing people together for a particular candidate or issue; the latter is

about having elected officials that look for out what is best for the City as a whole as opposed to

subsections of it. On this second point, which is what Dodge City’s witnesses testified to, the

testimony is uncontroverted.

   J. Proportionality

       There is a reason that Plaintiffs bury their “proportionality” argument on page 145 of a

146-page document and never raised it in the Pretrial Order as a valid consideration: it seemingly

violates section 2’s clear prohibition against plaintiffs utilizing the Voting Rights Act to force

proportional representation. See 52 U.S.C. § 10301(b) (“[N]othing in this section establishes a

right to have members of a protected class elected in numbers equal to their proportion in the

population.”). In order to make this single-paragraph argument, Plaintiffs turn Johnson v.

DeGrandy, 512 U.S. 997 (1994), and LULAC v. Perry, 548 U.S. 399, 436 (2006), on their head,

as those cases dealt with Defendants arguing that there could be no section 2 because the minority

group in question had already achieved a seat share that was proportional to their percentage of

the voting-age population. In other words, proportionality was a shield utilized by the sued

jurisdiction, not a sword wielded by the plaintiff, as Plaintiffs attempt to do here.

       In Johnson, the Supreme Court declared: “We hold that no violation of § 2 can be found

here, where, in spite of continuing discrimination and racial bloc voting, minority voters form

effective voting majorities in a number of districts roughly proportional to the minority voters’

respective shares in the voting-age population.” 512 U.S. at 1000. The Supreme Court stressed in

Johnson, though, that proportionality was not necessarily “dispositive” or “safe harbor” in all cases



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and that, in some, it may be overcome. Id. at 1000 & 1018. LULAC presented just such a case.

There, like the Supreme Court in DeGrandy, the lower court, a split three-judge panel, found that

the plaintiffs’ claim was barred based on what it referred to “DeGrandy proportionality.” Session

v. Perry, 298 F. Supp. 451, 492-94 (E.D. Tex. 2004). When the case made it up to the Supreme

Court, the Court found that proportionality was not enough to overcome the plaintiffs’ section 2

claim. 17 LULAC, 548 U.S. at 436. In short, neither DeGrandy nor LULAC involved an offensive

use of proportionality by a Plaintiff and should not be read to permit what Plaintiffs are trying to

do here, as 52 U.S.C. § 10301(b) prohibits such action.

        Even if proportionality could be used in the way that Plaintiffs are attempting to use in this

case, it still would not help Plaintiffs because proportionality is met here. Despite Latinos making

up less than 50% of the electorate, 50% of their preferred candidates for City Commission in the

years Dr. Barreto reviewed have won seats on the Commission. Accordingly, proportionality

would not favor Plaintiffs even if it was considered, which it should not.

                                               CONCLUSION

        For the reasons stated herein, the Court should grant judgment in Dodge City’s favor.




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         The LULAC case involved two separate orders from the same three-judge panel. The first order, which is
cited above, is the one relating to “DeGrandy proportionality.” The second order, Henderson v. Perry, 399 F. Supp.
2d 756 (E.D. Tex. 2005), related to political gerrymandering.

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                                 CERTIFICATE OF SERVICE

         I certify that on the 5th day of April 2024, the foregoing was electronically filed with the
Clerk of the Court by using the Court's e-Filing system which will send notification of electronic
filing to counsel for all parties of record, and a true and correct copy was served by electronic mail
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